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 PROPOSED ATTORNEYS FOR DEBTOR
 AND DEBTOR IN POSSESSION


                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

  In re:                                                  )        Chapter 11 Case
                                                          )
  LION STAR NACOGDOCHES HOSPITAL,                         )        Case No. 23-43535-MXM-11
  LLC d/b/a NACOGDOCHES MEMORIAL                          )
  HOSPITAL                                                )
                                                          )
                            Debtor.                       )        Emergency Hearing Requested


             DEBTOR’S EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS
         (I) AUTHORIZING THE DEBTOR TO OBTAIN POSTPETITION FINANCING ON
       A SECURED, SUPERPRIORITY BASIS; (II) AUTHORIZING THE DEBTOR TO USE
        CASH COLLATERAL; (III) SCHEDULING A FINAL HEARING; (IV) MODIFYING
               THE AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF

           Emergency relief has been requested. Relief is requested not later than
           November 21, 2023.

           If you object to the relief requested or you believe that emergency
           consideration is not warranted, you must appear at the hearing if one is set,
           or file a written response prior to the date that relief is requested in the
           preceding paragraph. Otherwise, the Court may treat the pleading as
           unopposed and grant the relief requested.

           A hearing will be conducted on this matter on November 21, 2023 at 2:00
           p.m. in Courtroom 128, United States Courthouse, 501 West 10th Street, Fort
           Worth, Texas 76102.

           Audio communication will be by use of the Court’s dial-in facility. You
           may access the facility at Dial-In: 650.479.3207, Meeting ID: 474 603 746.
           Video communication will be by use of the Cisco WebEx platform.
           Connect via the Cisco WebEx application or click the link on Judge



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          Mullin’s home page. Click the settings icon in the upper right corner and
          enter your name under the personal information setting.

          Hearing appearances must be made electronically in advance of
          electronic hearings. To make your appearance, click the “Electronic
          Appearance” link on Judge Mullin’s home page. Select the case name,
          complete the required fields and click “Submit” to complete your
          appearance.

 TO THE HONORABLE MARK X. MULLIN:

         COMES NOW Lion Star Nacogdoches Hospital LLC d/b/a Nacogdoches Memorial

 Hospital (the “Debtor”), as debtor in possession, and pursuant to Sections 105, 362, 363, 364,

 503(b), and 507 of Title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002,

 4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for

 entry of interim order, substantially in the form attached hereto as Exhibit “A” (the “Interim

 Order”) and a final order (the “Final Order,” and together, the “DIP Orders”) to be submitted to

 the Court for approval in connection with the final hearing on the Motion (the “Final Hearing”), (i)

 authorizing the Debtor to obtain postpetition financing on a secured, superpriority basis; (ii)

 authorizing the Debtor to use Cash Collateral; (iii) scheduling a final hearing; (iv) modifying the

 automatic stay, and (v) granting related relief. In support of the Motion, the Debtor respectfully

 represents as follows:

                                       JURISDICTION AND VENUE

         1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. sections

 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. section 157(b). Venue is proper

 before this Court pursuant to 28 U.S.C. sections 1408 and 1409.

         2.       The basis for the relief requested herein are Sections 105, 361, 362, 363(c),

 363(e), 364(c), 364(e), 503(b), and 507 of the Bankruptcy Code and Bankruptcy Rules 2002,

 4001, 6004, and 9014.

                                               BACKGROUND

         3.       On November 17, 2023, (the “Petition Date”), the Debtor commenced this case


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 by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy Code. The Debtor

 continues to manage and operate its business as a debtor in possession pursuant to sections

 1107 and 1108 of the Bankruptcy Code. No trustee, examiner, or committee has been

 appointed in this case.

         4.       The Debtor is a Texas limited liability company that owns and operates the

 Nacogdoches Memorial Hospital located at 1204 N. Mound Street, Nacogdoches, Texas (the

 “Hospital”). The Hospital is a 231-patient room facility that provides, among other services,

 emergency care, general surgery, cardiac care, geriatric care and maternity care. The Hospital

 serves the East Texas communities in and around Nacogdoches County and employs more

 than 600 health care providers and support staff.

         5.       Additional information regarding the Debtor and this chapter 11 case, including

 the Debtor’s business operations, capital structure, financial condition, and the reasons for and

 objective of this chapter 11 case is set forth in the First Day Declaration of Ed King filed herein

 (the “Declaration”).

                                            RELIEF REQUESTED

         6.       By this Motion, the Debtor seeks entry of the Interim Order substantially in the

 form attached hereto as Exhibit “A”, and after the Final Hearing, entry of a Final Order:

         (a)      authorizing the Debtor to obtain postpetition financing on a secured, superpriority
                  basis pursuant to the Superpriority Debtor-In-Possession Credit and Security
                  Agreement substantially in the form attached hereto as Exhibit “B” (the “DIP
                  Credit Agreement”) between the Debtor, as Borrower, and eCapital Healthcare
                  Corp. (the “DIP Lender”), as Lender providing for:

                  (i) a revolving credit facility in the principal amount of up to $10,000,000 (the “DIP
                      Facility”); and

                  (ii) the roll-up of the Pre-Petition Obligations (as defined below), such that,
                       effective immediately upon the making of an advance under the DIP Credit
                       Agreement, the Pre-Petition Obligations shall be automatically deemed to
                       constitute loans under the DIP Credit Agreement (on a dollar-for-dollar basis)
                       which shall be due and payable in accordance with the terms and conditions
                       set forth in the DIP Credit Agreement as if originally funded thereunder (such
                       aggregate amount advance, the “Roll-Up Amount”);


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         (b)      authorizing the Debtor to execute, deliver and perform under the DIP Credit
                  Agreement and any security agreements, control agreements and other Loan
                  Documents (as defined in the DIP Credit Agreement) related to the DIP Facility
                  (collectively, the “DIP Facility Documents”);

         (c)      authorizing the Debtor, pursuant to the Interim Order, to borrow up to the interim
                  amount of $1,300,000 plus the Roll-Up Amount pursuant to the DIP Credit
                  Agreement and Interim Order;

         (d)      granting to the DIP Lender on account of the DIP Facility and all obligations of the
                  Debtor incurred under the DIP Facility Documents and DIP Orders (collectively,
                  the “DIP Obligations”), an allowed superpriority administrative expense claim,
                  subject to the Carve Out (as provided in the DIP Orders);

         (e)      granting to the DIP Lender automatically perfected security interests in and lien on
                  all of the DIP Collateral (as defined below), including all property constituting “cash
                  collateral” as defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”);

         (f)      authorizing the Debtor to pay the principal, interest, fees, expenses and other
                  amounts due and owing under the DIP Facility as provided in the DIP Orders;

         (g)      authorizing the Debtor to use Cash Collateral in accordance with the terms of the
                  DIP Documents, the DIP Orders and the applicable Budget;

         (h)      approving the forms of adequate protection to be provided to the Pre-Petition
                  Lender (as defined below) to protect the Pre-Petition Lender’s interest in
                  Prepetition Collateral as provided in the DIP Orders;

         (i)      approving certain stipulations, waivers and releases as provided in the DIP Credit
                  Agreement and DIP Orders;

         (j)      authorizing the Debtor, subject to entry of the Final DIP Order and the Carve Out,
                  to waive any right to surcharge the DIP Collateral pursuant to section 506(c) of the
                  Bankruptcy Code;

         (k)      providing that, subject to entry of the Final DIP Order, the DIP Lender shall be
                  entitled to all the rights and benefits of the “equities of the case” exception under
                  section 552(b) of the Bankruptcy Code;

         (l)      modifying the automatic stay imposed by section 362 of the Bankruptcy Code to
                  the extent necessary to implement the provisions of the DIP Facility Documents,
                  subject to the terms of the DIP Orders;

         (m)      scheduling the Final Hearing to consider entry of the Final DIP Order authorizing
                  and approving, on a final basis, the relief requested herein and approving the form
                  and manner of the notice thereof; and



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           (n)     waiving any applicable stay (including under Bankruptcy Rule 6004) to provide for
                   the immediate effectiveness of the DIP Orders.

                               MATERIAL TERMS OF THE DIP FACILITY1

           7.      Pursuant to Bankruptcy Rule 4001 and local rules of procedure, the Debtor

 submits the following summary of material terms of the DIP Facility, as set forth in the DIP

 Orders and the DIP Facility Documents:

                                          Summary of Material Term
        DIP Credit
     Agreement Parties      Borrower: Lion Star Nacogdoches Hospital, LLC

          DIP Credit        Lender: eCapital Healthcare Corp.
     Agreement Preamble
         DIP Facility       Secured superpriority debtor-in-possession revolving credit facility in the
          DIP Credit        aggregate principal amount of up to $10,000,000, including a Roll-Up of Pre-
       Agreement §2.1       Petition Credit Obligations.

     Interim Order ¶2(a),   The Debtor may borrow up to $1,300,000 plus the Roll Up Amount on an interim
          DIP Credit        basis and up to a total of $10,000,000 on a final basis, which may be increased
      Agreement §2.1(e)     as provided in section 2.1(e) of the DIP Credit Agreement.
           Roll-Up          Roll-Up. Effective immediately upon the making of an Advance under this
                            Agreement (such date, the “Roll-Up Date”), and without any further action by any
          DIP Credit        party to this Agreement or the other Loan Document, the Bankruptcy Court or
      Agreement §2.1(b)     any other Person, (i) the Pre-Petition Obligations shall be automatically deemed
                            to constitute Loans under this Agreement (on a dollar-for-dollar basis) (such
                            Loans, the “Rolled-Up Loans”) which shall be due and payable in accordance
                            with the terms and conditions set forth in this Agreement as if originally funded
                            hereunder on the date of such Advance (such aggregate amount advance, the
                            “Roll-Up Amount”) and (ii) from and after the Roll-Up Date, Pre-Petition
                            Obligations shall be automatically and irrevocably reduced by the Roll-Up
                            Amount.

                            As of the date of filing of this Chapter 11 Case (the “Petition Date”), the aggregate
      Interim Order ¶J(i)   principal amount outstanding under the Pre-Petition Credit Facility was not less
                            than $4,664,661.94 (collectively, together with accrued and unpaid interest,
                            outstanding letters of credit and bankers’ acceptances, any reimbursement
                            obligations (contingent or otherwise) in respect of letters of credit and bankers’
                            acceptances, any fees, expenses and disbursements (including, without
                            limitation, attorneys’ fees, accountants’ fees, auditor fees, appraisers’ fees and
                            financial advisors’ fees, and related expenses and disbursements), treasury,
                            cash management, bank product and derivative obligations, indemnification
                            obligations, guarantee obligations, and other charges, amounts and costs of
                            whatever nature owing, whether or not contingent, whenever arising, accrued,
                            accruing, due, owing, or chargeable in respect of any of the Debtor’s obligations
                            pursuant to, or secured by, the Pre-Petition Credit Documents, including all
                            interest, fees (including amendment fees), prepayment premiums, costs and
                            other charges allowable under section 506(b) of the Bankruptcy Code, the “Pre-

 1
  This concise statement is qualified in its entirety by reference to the applicable provisions of the DIP
 Facility Documents or Interim Order, as applicable.

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                           Petition Credit Obligations”).
   Borrowing Limits        Advances. Subject to the provisions of this Agreement, Lender shall make
    and Conditions         Advances to Borrower under the Revolving Facility from time to time during the
                           Term, and not more than once per each week unless agreed to by Lender and
       DIP Credit          subject to the processing fees set forth in Section 2.4; provided that,
   Agreement, §§ 1.2,      notwithstanding any other provision of this Agreement (but subject to the
       2.1(a), 4.1         provisions of this Section 2.1(a)), the principal amount at any one time
                           outstanding under the Revolving Facility shall not exceed the Revolving Loan
                           Limit. The Revolving Facility is a revolving credit facility, which may be drawn,
                           repaid, and redrawn from time to time as permitted under this Agreement. Any
                           determination as to whether there is availability within the Borrowing Base for
                           Advances shall be made by Lender in its discretion and is final and binding upon
                           Borrower. Unless otherwise permitted by Lender, each Advance requested by
                           Borrower shall be in an amount of at least $25,000. Subject to the provisions of
                           this Agreement, Borrower may request Advances under the Revolving Facility
                           up to and including the Availability. Lender may, in Lender’s sole discretion,
                           withhold from Advances made to Borrower such amounts as may be necessary
                           to pay interest on the Revolving Facility and other Obligations hereunder. In
                           addition, Advances under the Revolving Facility automatically may, in the
                           discretion of Lender, be made for the payment of interest on the Revolving
                           Facility and other Obligations on the date when due to the extent of Availability
                           and as provided for herein.

                           “Availability” shall mean the Revolving Loan Limit less all Revolving Loans
                           outstanding less cash on hand, minus any reserves against Availability imposed
                           by the Lender in its discretion.

                           “Borrowing Base” shall mean, as of any date of determination: (a) the Net
                           Collectible Value of Eligible Receivables of the Borrower, as such Net Collectible
                           Value is determined by the Lender with reference to the most recent Borrowing
                           Certificate, other factors deemed relevant by the Lender and otherwise in
                           accordance with the Agreement; provided, however, that if as of such date of
                           determination the most recent Borrowing Certificate is of a date more than four
                           (4) Business Days before such date, the Borrowing Base shall be determined by
                           Lender; minus (b) the amount of any Carve-Outs, reserves, or adjustments
                           against the Borrowing Base provided for in this Agreement or determined by the
                           Lender from time to time.

                           The obligations of the DIP Lender to consummate the transactions contemplated
                           by the DIP Credit Agreement and to make Advances thereunder are subject to
                           the satisfaction of further standard conditions as outlined in section 4.1 (a-q) of
                           the DIP Credit Agreement.
   Use of DIP Facility     Use of Cash Collateral. Subject to the terms and conditions of this Interim Order,
       and Cash            the DIP Facility, and the DIP Documents and in accordance with the Budget
   Collateral, Budget,     (subject to such variances as permitted in the DIP Documents), the Debtor is
   Variance, Budget        authorized to use Cash Collateral until the Termination Date (as defined herein).
       Covenant
                           Budget Maintenance. The use of borrowings under the DIP Facility and Cash
   Interim Order ¶¶ 3,     Collateral shall be in accordance with the Budget depicting on a weekly basis,
           5, 6            cash revenues, receipts, expenses and disbursements, net cash flows, inventory
                           receipts and other items set forth therein, for the first thirteen (13) week period
       DIP Credit          following the Effective Date (as defined in the DIP Documents) which shall be in
     Agreement §1.2        form and substance satisfactory to, and approved by the DIP Lender in its sole
                           discretion prior to the Effective Date. The Budget shall be updated by the Debtor


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                           (with the consent and/or at the reasonable request of the DIP Lender) from time
                           to time in accordance with the DIP Documents. No such updated, modified, or
                           supplemented budget shall be effective until so approved (which approval shall
                           be deemed given unless the DIP Lender objects in writing (for which email shall
                           suffice) to Debtor’s counsel within five (5) business days following actual receipt
                           thereof), and once approved, shall thereafter be deemed the “Budget”; provided,
                           however, that in the event that the DIP Lender and the Debtor cannot agree as
                           to an updated, modified or supplemented budget, the prior approved Budget
                           shall continue in effect for this Chapter 11 Case, and such disagreement shall
                           give rise to an Event of Default under the DIP Credit Agreement and this Interim
                           Order once the period covered by the prior approved Budget has terminated.
                           A copy of any Budget (or updated Budget) shall be delivered to counsel for a
                           Committee (if appointed) and the U.S. Trustee after (or if) it has been approved
                           by the DIP Lender.

                           Budget Compliance. The Debtor shall at all times comply with the Budget,
                           subject to the variances set forth in the DIP Credit Agreement. The Debtor shall
                           provide all reports and other information as required in the DIP Credit Agreement
                           (subject to the applicable grace periods provided therein). The Debtor’s failure
                           to comply with the Budget (including the variances set forth in the DIP Credit
                           Agreement and in this Interim Order) or to provide the reports and other
                           information required in the DIP Credit Agreement and this Interim Order shall
                           constitute an Event of Default (as defined herein) following the expiration of any
                           applicable cure period set forth in the DIP Credit Agreement or in this Interim
                           Order.
                           (i) By no later than 5:00 p.m. (prevailing Eastern Time) on November 30, 2023
                           and every second Thursday thereafter, the Debtors shall deliver to the DIP
                           Lender a variance report (in substantially the same format as the Budget)
                           showing actual cash receipts, disbursements and other applicable information
                           for the immediately preceding calendar week (ending on the immediately
                           preceding Friday) noting therein all variances and including explanations for all
                           such variances, on a line-item basis, from values set forth for such period(s) in
                           the Budget or the most current Budget, as applicable (each, a “Variance
                           Report”), provided, that each Variance Report delivered on a Testing Date (as
                           defined herein) shall include a cumulative variance report (in substantially the
                           same format as the Initial Approved Budget) showing actual cash receipts,
                           disbursements and other applicable information for the immediately preceding
                           week period (ending on the immediately preceding Friday) (the “Budget Period;”
                           provided, that for the first four weeks following the Petition Date, the Budget
                           Period shall begin on the Petition Date and end on the Testing Date), noting
                           therein all variances and including explanations for all such variances, on a line-
                           item and aggregate basis, from values set forth for such period(s) in the most
                           current approved Budget.
                           (ii) Budget Covenants. The permitted variances listed below (collectively, the
                           “Permitted Variances”) shall be tested on a rolling four-week basis, which shall
                           first be reported on November 30, 2023, and on the Thursday of every second
                           week thereafter (with respect to the immediately preceding Budget Period) (each
                           such date, a “Testing Date”). The budget-related covenants under this Section
                           6(d) are collectively referred to herein as the “Budget Covenants”.

                           “Permitted Variance” shall mean a variance of no more than twelve and one half
                           percent (12.5%) between the projected Net Operating Cash Flow as set forth
                           and the actual Net Operating Cash Flow.
          Fees             Facility Fee. On the Closing Date, and as a condition of Closing, the Borrower
                           shall pay to the Lender one percent (1.0%) of the Facility Cap as a nonrefundable


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      DIP Credit           fee (such fee and the fee payable pursuant to Section 2.1(e) are referred to here
   Agreement §§ 3.1-       in as the “Facility Fee”).
        3.5, 3.8
                           Unused Line Fee. The Borrower shall pay to the Lender monthly an unused line
                           fee (the “Unused Line Fee”) in an amount equal to eight and one third basis
                           points (i.e., 0.0833%) per month of the difference derived by subtracting (i) the
                           average daily balance under the Revolving Facility outstanding during the
                           preceding month, from (ii) the Facility Cap. The Unused Line Fee shall be
                           payable monthly in arrears but in no event later than the first day of each
                           successive calendar month (starting with the first full calendar month following
                           the Closing Date). The final payment shall be pro-rated to the date of payment
                           in full and shall be paid on that date as part of the Obligations.

                           Collateral Management Fee. The Borrower shall pay the Lender as additional
                           interest a monthly collateral management fee (the “Collateral Management Fee”)
                           for monitoring and servicing the Revolving Facility, equal to one fourth of one
                           percent (i.e., 0.25%) per month, calculated on the basis of the average daily
                           balance under the Revolving Facility outstanding during the preceding month.
                           The Collateral Management Fee shall be payable monthly in arrears but in no
                           event later than the first calendar day of each successive calendar month
                           (starting with the first full calendar month following the Closing Date). The final
                           payment shall be pro-rated to the date of payment in full and shall be paid on
                           that date as part of the Obligations.

                           Termination Fee. Upon a termination of the Revolving Facility for any reason,
                           Borrower shall pay Lender (in addition to the then outstanding principal, accrued
                           interest and other Obligations (other than indemnity obligations with respect to
                           which no claim has been made) relating to the Revolving Facility pursuant to the
                           terms of this Agreement and any other Loan Documents), as yield maintenance
                           for the loss of bargain and not as a penalty, an amount equal to the Termination
                           Fee. Notwithstanding any other provision of any Loan Document, no Termination
                           Fee as described above shall be due and payable if (i) Borrower refinances the
                           Obligations (in whole or in part) with Lender (which, for purposes of this Section
                           3.4, shall include Lender and any of its parents, subsidiaries or Affiliates), (ii) this
                           Agreement terminates in accordance with its terms at the end of its Term, or (iii)
                           Borrower terminates this Agreement within ten (10) days after Borrower provides
                           written notice to Lender of a default by Lender hereunder, and such default by
                           Lender remains uncured as of the date of such termination.

                           Software Interface Fee. Upon the first occurrence of an Event of Default,
                           Borrower shall pay to Lender a nonrefundable fee of $5,000 for the setup and
                           implementation of the software interface used by Lender to calculate the
                           Borrowing Base. Payment of the setup fee shall be made, at the discretion of
                           Lender: (i) by application of available funds in the Concentration Account
                           pursuant to Section 2.5, (ii) by application of Advances under the Revolving
                           Facility pursuant to Section 2.1, or (iii) upon two Business Days’ notice, directly
                           by Borrower. Commencing with the first calendar month in which an Event of
                           Default occurs, Borrower shall pay Lender a monthly software interface fee (the
                           “Software Interface Fee”) for maintaining and servicing the software interface
                           used by Lender to calculate the Borrowing Base, equal to $1,000 per month. The
                           Software Interface Fee shall be payable monthly in arrears but in no event later
                           than the first day of each successive calendar month.

                           Structuring Fee. On the Closing Date, Borrower shall pay Lender one and two-

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                           tenths of one percent (1.2%) of the Facility Cap as a nonrefundable structuring
                           fee, which shall be deemed fully earned and paid upon Closing.

                           DIP Lender’s Fees and Expenses. Without duplication of amounts required to
                           be paid pursuant to the DIP Facility Documents, upon entry of this Interim Order,
                           the Debtor shall pay in cash all fees, expenses, and disbursements payable to
    Interim Order ¶ 8      the DIP Lender. The post-petition payment of the fees, expenses, and
                           disbursements set forth in the foregoing sentence shall be made within ten (10)
                           days (which time period may be extended by the applicable professional in its
                           sole discretion) upon the receipt by the Debtor, the creditors’ committee (if any)
                           and the U.S. Trustee (the “Review Period”) of invoices therefor (the “Invoiced
                           Fees”) and without the necessity of filing formal fee applications, including such
                           amounts arising before or after the Petition Date. The invoices for such Invoiced
                           Fees shall include (i) a summary of the work performed during the relevant
                           compensation period; (ii) the name of, hourly rate (if applicable) of, and number
                           of hours worked by each professional and paraprofessional who worked on the
                           matter during the relevant compensation period; and (iii) the total fee amount
                           being requested. The Debtor, the Committee (if any), and the U.S. Trustee may
                           object to any portion of the Invoiced Fees within the Review Period by written
                           notice to the applicable professional or by filing with the Court a motion or other
                           pleading, on at least ten (10) days prior written notice to the applicable DIP
                           Lender and the applicable professional of any hearing on such motion or other
                           pleading, setting forth the specific objections to the disputed Invoiced Fees in
                           reasonable narrative detail and the bases for such objections; provided, that
                           payment of any undisputed portion of Invoiced Fees shall be paid within the time
                           frame set forth above and shall not be delayed based on any objections thereto;
                           provided, further, that the applicable parties shall endeavor in good faith to
                           consensually resolve any dispute prior to the filing of any such motion or
                           pleading.
      DIP Collateral       Subject to the Carve-Out, “DIP Collateral” shall mean the Debtor’s right, title, and
    (including claims      interest in and to the following, whether now owned or hereafter created,
  arising under chapter    acquired or arising, and wherever located:
   5 of the Bankruptcy
          Code)            (i)      all Accounts (including healthcare insurance receivables) and related
                                    property;
  Interim Order ¶10(b)
                           (ii)     all of the Debtor’s deposit accounts;

                           (iii)    all books and records, whether or not related to any Collateral;

                           (iv)     all other personal property and fixtures of Debtor, including all goods,
                                    inventory, Equipment, furniture, fixtures, General Intangibles (including,
                                    without limitation, payment intangibles and software), chattel paper
                                    (whether tangible or electronic), supporting obligations, investment
                                    property, financial assets, documents, instruments (including any
                                    promissory notes), securities, securities accounts, contract rights or rights
                                    to payment of money, leases, permits, license agreements, franchise
                                    agreements, commercial tort claims, stock in direct and indirect
                                    subsidiaries, machinery, cash, letter-of-credit rights (whether or not the
                                    letter of credit is evidenced by a writing), Intellectual Property, copyrights,
                                    trademarks, patents, and tradestyles, and

                           (v)      any and all claims, rights, and interests in any of the above and all
                                    substitutions for, additions, attachments, accessories, accessions, and
                                    improvements to Superpriority Debtor-in-Possession Credit and Security


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                                  Agreement, and replacements, products, proceeds, and insurance
                                  proceeds of any or all of the foregoing.
  Liens and Priorities     DIP Superpriority Claims. Subject and subordinate to the Carve-Out as set forth
                           in this Interim Order, upon entry of this Interim Order, the DIP Lender is hereby
      Interim Order        granted, pursuant to Section 364(c)(1) of the Bankruptcy Code, allowed
     ¶¶ 9 and 10(a)        superpriority administrative expense claims in the Chapter 11 Case and any
                           successor cases (collectively, the “DIP Superpriority Claims”) for all DIP
                           Obligations. Except as set forth herein, the DIP Superpriority Claims shall have
                           priority over any and all other obligations, liabilities, and indebtedness of each
                           Debtor other than the Carve-Out, including without limitation any and all
                           administrative expense claims and unsecured claims against the Debtor or its
                           estate in the Chapter 11 Case and any successor cases, at any time existing or
                           arising, of any kind or nature whatsoever, including, without limitation,
                           administrative expenses of the kinds specified in or ordered pursuant to Sections
                           105, 326, 328, 330, 331, 364, 503(a), 503(b), 507(a), 507(b), 546(c) (subject to
                           entry of a Final Order), 546(d), 726, 1113 and 1114 of the Bankruptcy Code, and
                           any other provision of the Bankruptcy Code, as provided under Section 364(c)(1)
                           of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit
                           of the estate pursuant to Section 551 of the Bankruptcy Code shall be pari passu
                           with or senior to the DIP Superpriority Claims.

                           DIP Liens. (a) As security for the full and timely payment of the DIP Facility,
                           subject to the Carve-Out, the DIP Lender is hereby granted, pursuant to Sections
                           364(c)(2), (c)(3), and (d)(1) of the Bankruptcy Code, a first priority, senior,
                           perfected priming lien upon the DIP Collateral (defined below), which liens shall
                           constitute valid, enforceable, non-avoidable, fully perfected, and first-priority
                           security interests in and liens upon all DIP Collateral (the “DIP Liens”). The DIP
                           Liens securing the DIP Obligations are valid, automatically perfected, non-
                           avoidable, senior in priority, and superior to any security, mortgage, collateral
                           interest, lien, or claim to any of the DIP Collateral, except that the DIP Liens shall
                           be subject to the Carve-Out as set forth in this Interim Order and shall otherwise
                           be junior only to Permitted Prior Liens. Other than as set forth herein or in the
                           DIP Documents, the DIP Liens shall not be made subject to or pari passu with
                           any lien or security interest heretofore or hereinafter granted in the Chapter 11
                           Case or any successor cases and shall be valid and enforceable against any
                           trustee appointed in the Chapter 11 Case or any successor cases, upon the
                           conversion of any of the Chapter 11 Case to a case under Chapter 7 of the
                           Bankruptcy Code (or in any other successor case), and/or upon the dismissal of
                           any of the Chapter 11 Case or successor cases. The DIP Liens shall not be
                           subject to Sections 510, 549, or 550 of the Bankruptcy Code. No lien or interest
                           avoided and preserved for the benefit of the estate pursuant to Section 551 of
                           the Bankruptcy Code shall be pari passu with or senior to the DIP Liens.
       Carve Out           Carve Out. Notwithstanding anything in this Interim Order, the DIP Facility
                           Documents, or any other order of this Court to the contrary, all claims and liens
    Interim Order ¶12      granted hereunder to or for the benefit of the DIP Lender, including the DIP
                           Superpriority Claims and the DIP Liens, shall be subject to payment of the Carve-
                           Out. As used in this Interim Order and the DIP Credit Agreement, the term
                           “Carve-Out” means the (i) amounts payable pursuant to 28 U.S.C. § 1930(a)(6)
                           and any fees payable to the Clerk of the Bankruptcy Court, plus interest thereon;
                           (ii) the amounts payable to Forshey & Prostok, LLP (“Forshey Prostok”) as
                           Debtor’s bankruptcy counsel pursuant to Sections 327, 328 and 503(b), in an
                           amount not to exceed $800,000 (plus any amount held by Forshey Prostok as a
                           prepetition retainer); and (iii) the amounts payable to professionals other than
                           Forshey Prostok employed at the expense of the Debtor’s estate of this Chapter
                           11 Case pursuant to Sections 327, 328, 503(b), or 1103 of the Bankruptcy Code,


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                           in an amount not to exceed $200,000 (which amount has been fully funded as a
                           prepetition retainer), or as otherwise provided in an approved Budget.

       Adequate            (a) Adequate Protection Liens. Pursuant to Sections 361, 363(e), and 364(d)
     Protection for        of the Bankruptcy Code, as adequate protection of the interests of the Pre-
   Prepetition Lender      Petition Lender against any Diminution in Value, the Debtor hereby grants to the
                           Pre-Petition Lender a continuing, valid, binding, enforceable, and perfected
                           postpetition security interests in and liens on all DIP Collateral (the “Adequate
      Interim Order        Protection Liens”).
         ¶ 3(a-e),
                           (b) Priority of Adequate Protection Liens. The Adequate Protection Liens shall
                           be subject to the Carve-Out and shall otherwise be junior (in order of priority)
                           only to the DIP Liens. The Adequate Protection Liens shall otherwise be senior
                           to all other security interests in or liens on any of the Debtor’s assets.

                            (c) Except as provided herein, the Adequate Protection Liens shall not be made
                           subject to or pari passu with any lien or security interest heretofore or hereinafter
                           in the Chapter 11 Case or any successor cases and shall be valid and
                           enforceable against any trustee appointed in any of the Chapter 11 Case or any
                           successor cases, or upon the dismissal of any of the Chapter 11 Case or
                           successor cases. The Adequate Protection Liens shall not be subject to
                           Sections 510, 549, or 550 of the Bankruptcy Code. No lien or interest avoided
                           and preserved for the benefit of the estate pursuant to Section 551 of the
                           Bankruptcy Code shall be pari passu with or senior to the Pre-Petition Liens or
                           the Adequate Protection Liens.

                           (d) Adequate Protection Superpriority Claim. Subject and subordinate to the
                           Carve- Out as set forth in this Interim Order, as further adequate protection of
                           the interests of the Pre-Petition Lender in the Prepetition Collateral against any
                           Diminution in Value, the Pre-Petition Lender is hereby granted as and to the
                           extent provided by Section 507(b) of the Bankruptcy Code an allowed
                           superpriority administrative expense claim in each of the Chapter 11 Case and
                           any successor cases (the “Adequate Protection Superpriority Claim”).

                           (e) Priority of the Adequate Protection Superpriority Claim. Except as set forth
                           herein, the Adequate Protection Superpriority Claim shall have priority over all
                           administrative expense claims and unsecured claims against the Debtor or its
                           estate, now existing or hereafter arising, of any kind or nature whatsoever,
                           including, without limitation, administrative expenses of the kinds specified in or
                           ordered pursuant to Sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a),
                           506(c) (subject to entry of the Final Order), 507(b), 546(c), 546(d), 726, 1113
                           and 1114 of the Bankruptcy Code; provided, however, that the Adequate
                           Protection Superpriority Claim shall be subject to the Carve-Out as set forth in
                           this Interim Order and junior to the DIP Claim, and subject the lien priorities set
                           forth herein.
      Interest Rate        Interest accrues daily on the principal amount outstanding at a rate per annum
                           equal to the Prime Rate plus the Applicable Margin.
      DIP Credit
   Agreement §§ 1.2,       “Prime Rate” means the rate of interest announced, from time to time, within
      2.3 and 3.7          Wells Fargo Bank at its principal office in San Francisco as its “prime rate.”

                           “Applicable Margin” means two percent (2%).

                           Upon the occurrence and during the continuation of an Event of Default, the
                           Applicable Rate of interest in effect at such time with respect to the Obligations

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                           shall be increased by three percent (3%) per annum (the “Default Rate”).
   Events of Default       The occurrence of any one or more of the following shall constitute an “Event of
                           Default:”
       DIP Credit
    Agreement § 8.1        (a) Borrower shall fail to pay any amount on the Obligations or provided for in
                               any Loan Document when due and such failure shall not be cured within five
                               (5) calendar days of when due (whether on any payment date, at maturity, by
                               reason or acceleration, by notice of intention to prepay, by required
                               prepayment or otherwise);
                           (b) Any representation, statement or warranty made or deemed made by the
                               Borrower in any Loan Document or in any other certificate, document, report
                               or opinion delivered in conjunction with any Loan Document to which it is a
                               party, (i) shall not be true and correct in all material respects, or (ii) shall have
                               been false or misleading in any material respect on the date when made or
                               deemed to have been made (except to the extent already qualified by
                               materiality, in which case it shall be true and correct in all respects and shall
                               not be false or misleading in any respect);
                           (c) Borrower or any other party thereto other than the Lender shall be in violation,
                               breach or default of, or shall fail to perform, observe or comply with any
                               covenant, obligation or agreement set forth in any Loan Document and such
                               violation, breach, default or failure shall not be cured within the applicable
                               period set forth in the applicable Loan Documents; provided that, with respect
                               to the affirmative covenants set forth in Article VI (other than Sections 6.2,
                               6.9, 6.11, 6.16 and 6.17 for which there shall be no cure period, unless
                               otherwise set forth herein), there shall be a fifteen (15) calendar day cure
                               period commencing from the earlier of (i) receipt by such Person of written
                               notice of such breach, default, violation or failure, and (ii) the time at which
                               such Person or any officer thereof knew or became aware, or should have
                               known or been aware, of such failure, violation, breach or default;
                           (d) Any of the Loan Documents ceases to be in full force and effect, or any Lien
                               created thereunder ceases to constitute a valid perfected first priority Lien on
                               the Collateral, or the Lender ceases to have a valid perfected first priority
                               security interest in any material portion of the Collateral;
                           (e) The Lender’s administrative expense claim in the Bankruptcy Case becomes
                               subject (or subordinate) to another administrative expense claim;
                           (f) One or more judgments or decrees is rendered against Borrower in an
                               amount in excess of $10,000 individually or $25,000 in the aggregate at one
                               time outstanding, which is/are not satisfied, stayed, bonded, vacated or
                               discharged of record within thirty (30) calendar days of being rendered;
                           (g) (i) Any Change of Control occurs or any agreement or commitment to cause
                               or that may result in any such Change of Control is entered into without the
                               written consent of the Lender; (ii) any Material Adverse Effect or Material
                               Adverse Change occurs; (iii) any Liability Event occurs, or (iv) Borrower
                               ceases any material portion of its business operations as currently
                               conducted;
                           (h) Any Indebtedness of Borrower is declared to be due and payable or is
                               required to be prepaid (other than by a regularly scheduled payment) prior to
                               the stated maturity thereof;
                           (i) The Lender receives any indication or evidence that Borrower may have
                               directly or indirectly been engaged in any type of activity which, in the
                               Lender’s judgment, might result in forfeiture of any property to a
                               Governmental Authority which shall have continued unremedied for a period
                               of five (5) business days after written notice from the Lender;
                           (j) Borrower or any of its respective members or senior officers is criminally

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                               indicted or convicted under any law that could lead to a forfeiture of any
                               portion of its respective assets;
                           (k) The Bankruptcy Case shall be converted to a case under Chapter 7 of the
                               Bankruptcy Code or be dismissed or a motion requesting such relief shall
                               have been filed by the Borrower;
                           (l) The Borrower files or supports, or the Bankruptcy Court enters an order
                               confirming a proposed plan of reorganization or liquidation or sale of
                               substantially all of the Borrower’s assets that does not provide for the
                               indefeasible payment in full and in cash of the Obligations, unless otherwise
                               agreed in writing by the Lender in its sole discretion;
                           (m)Any attempt by the Borrower to obtain, or if any other party in interest obtains,
                               an order of the Bankruptcy Court or other judgment, and the effect of such
                               order or judgment is to, (i) invalidate, reduce or otherwise impair the Lender’s
                               claims, or (ii) amend, supplement, stay, vacate or otherwise modify the
                               Revolving Facility or the Financing Orders without consent of the Lender;
                           (n) The Borrower requests approval of any post-petition financing, other than
                               pursuant to the Revolving Facility, that would not immediately repay all
                               Obligations, in full, in cash, on the date of the closing of such post-petition
                               financing, unless otherwise agreed by the Lender;
                           (o) The entry of an order granting liens or claims that are senior or pari passu to
                               the Liens granted in favor of the Lender under the Loan Documents;
                           (p) The Borrower supports or files a motion in support of any order granting liens
                               or claims that are senior or pari passu to the Liens granted in favor of the
                               Lender under the Loan Documents;
                           (q) The Borrower shall assert that any of the Liens securing the Obligations are
                               invalid, or any such Liens granted to the Lender shall be determined to be
                               invalid;
                           (r) Any report is filed by a patient care ombudsman or state long-term care
                               ombudsman in the Bankruptcy Case indicating that patient care has
                               significantly declined or has been materially compromised;
                           (s) Any creditor or party in interest shall be granted relief from the automatic stay
                               with respect to any assets used in operation of the Borrower’s business;
                           (t) The Borrower shall default in the due performance or observance by it of any
                               term, covenant or agreement contained in the Interim Financing Order or the
                               Final Financing Order;
                           (u) From and after the date of entry thereof, the Interim Financing Order or the
                               Final Financing Order approving this Agreement and the Revolving Facility
                               shall cease to be in full force and effect;
                           (v) A Final Financing Order approving this Agreement and the Revolving Facility
                               has not been entered by the Bankruptcy Court within forty-five (45) days of
                               the Petition Date, unless otherwise agreed to by the Lender;
                           (w) The Borrower applies for an order substituting any assets for all or any portion
                               of the Collateral, or
                           (x) The Lease is determined to be terminated or otherwise invalid by a court of
                               competent jurisdiction.
      Termination          Termination by the Lender. Subject to the Lender’s right to terminate and cease
                           making Advances upon the occurrence and during the continuance of an Event
       DIP Credit          of Default, this Agreement shall continue in full force and effect until the full
    Agreement §§1.2,       performance and indefeasible payment in cash of all Obligations (other than
         11.1              indemnity obligations with respect to which no claim has been made), unless
                           terminated sooner as provided in this Section 11.1.

                           Termination by Borrower. Borrower may terminate this Agreement at any time

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                           upon not less than thirty (30) calendar days’ prior written notice to the Lender
                           and upon full performance and indefeasible payment in full in cash of all
                           Obligations (other than indemnity obligations with respect to which no claim has
                           been made) on or prior to such 30th calendar day after receipt by the Lender of
                           such written notice. Borrower may elect to terminate this Agreement in its
                           entirety only. No section of this Agreement or type of Loan available hereunder
                           may be terminated singly.

                           All of the Obligations (other than indemnity obligations with respect to which no
                           claim has been made) shall be immediately due and payable upon the
                           Termination Date.

                           “Termination Date” shall mean the earlier to occur of (a) the end of the Term, (b)
                           any date on which the Lender accelerates the maturity of the Loans pursuant to
                           Article VIII, or (c) the termination date stated in any notice of termination of this
                           Agreement provided by Borrower in accordance with Section 11.1.

                           “Term” shall mean the period commencing on the date set forth on the first page
                           hereof and ending on the earlier to occur of (i) the effective date of a plan of
                           reorganization of the Borrower confirmed by the Bankruptcy Court; (ii)
                           consummation of a sale or other disposition of a material portion of the
                           Borrower’s assets pursuant to 11 U.S.C. 363 or otherwise; (iii) the Borrower’s
                           filing of a motion or other pleading seeking, or consenting to, conversion to a
                           proceeding under Chapter 7 of the Bankruptcy Code; (iv) conversion to a
                           proceeding under Chapter 7 of the Bankruptcy Code; (v) a dismissal by the
                           Bankruptcy Court of the Borrower’s Bankruptcy Case; (vi) the Borrower’s filing
                           of a motion or other pleading seeking the dismissal of the Bankruptcy Case under
                           Section 1112 of the Bankruptcy Code or otherwise; (vii) twelve (12) months from
                           Closing, or (viii) any date on which the Loans are accelerated during the
                           continuance of an Event of Default.
    Modification of        Modification of the Automatic Stay. The automatic stay provisions of Section 362
    Automatic Stay         of the Bankruptcy Code and any other restriction imposed by order of the Court
                           or applicable law are hereby modified without further notice, application, or order
    Interim Order ¶ 7      of the Court, but only to the extent necessary to permit the DIP Lender, subject
                           in all respects to the DIP Facility Documents and this Interim Order, to perform
                           any act authorized or permitted under or by virtue of this Interim Order: (i) to
                           implement the DIP Facility authorized by this Interim Order and pursuant to the
                           terms of the DIP Facility Documents; (ii) to take any act reasonably necessary to
                           create, validate, evidence, attach, or perfect any DIP Lien, security interest, right,
                           or claim in the DIP Collateral, and (iii) authorize the Debtor to pay, and the DIP
                           Lender to retain and apply, payments made in accordance with the terms of this
                           Interim Order. For the avoidance of doubt, upon the occurrence of an Event of
                           Default and in the event the automatic stay has not otherwise terminated as it
                           relates to the DIP Lender, the DIP Lender shall seek relief from the Court, which
                           shall be heard on an emergency basis (which basis is agreed upon in advance
                           by the Debtor) prior to taking any act otherwise prohibited by the automatic stay
                           pursuant to section 362(a) of the Bankruptcy Code.

         Certain           Validity, Perfection, and Priority of Pre-Petition Liens and Pre-Petition
      Stipulations,        Obligations. The Debtor acknowledges and agrees that as of the Petition Date
      Releases and         (i) the Pre-Petition Liens on the Pre-Petition Collateral were valid, binding,
        Waivers;           enforceable, non-avoidable, and properly perfected and were granted to, or for
                           the benefit of, the Pre-Petition Lender for fair consideration and reasonably
                           equivalent value; (ii) the Pre-Petition Liens were senior in priority over any and
      Interim Order        all other liens on the Pre-Petition Collateral, subject only to liens senior by


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            ¶J             operation of law or permitted by the Pre-Petition Credit Documents (solely to the
                           extent any such liens were valid, properly perfected, non-avoidable, and senior
                           in priority to the Pre-Petition Liens as of the Petition Date, the “Permitted Liens”);
                           (iii) the Pre-Petition Obligations constitute legal, valid, binding, and non-
                           avoidable obligations of the Debtor enforceable in accordance with the terms of
                           the applicable Pre-Petition Credit Documents; (iv) no offsets, recoupments,
                           challenges, objections, defenses, claims, or counterclaims of any kind or nature
                           to any of the Pre-Petition Liens or Pre-Petition Obligations exist, and no portion
                           of the Pre-Petition Liens or Pre-Petition Obligations is subject to any challenge
                           or defense including, without limitation, avoidance, disallowance, disgorgement,
                           recharacterization, or subordination (equitable or otherwise) pursuant to the
                           Bankruptcy Code or applicable non-bankruptcy law; (v) the Debtor and its estate
                           have no claims, objections, challenges, causes of action, and/or choses in
                           action, including, without limitation, avoidance claims under Chapter 5 of the
                           Bankruptcy Code or applicable state law equivalents or actions for recovery or
                           disgorgement, against the Pre-Petition Lender or any of its respective affiliates,
                           agents, attorneys, advisors, professionals, officers, directors, and employees
                           arising out of, based upon or related to the Pre-Petition Credit Facility; (vi) the
                           Debtor waives, discharges, and releases any right to challenge any of the Pre-
                           Petition Obligations, the priority of the Debtor’s obligations thereunder, and the
                           validity, extent, and priority of the liens securing the Pre-Petition Obligations, and
                           (vii) the aggregate value of the Pre-Petition Collateral exceeds the amount of the
                           Pre-Petition Obligations and the claims of the Pre-Petition Lender arising under,
                           or secured by, the Pre-Petition Credit Documents constitute allowed, secured
                           claims within the meaning of Sections 502 and 506 of the Bankruptcy Code.
       Challenge           The admissions, stipulations, agreements, releases, and waivers set forth in
       Deadlines           Paragraph J of this Interim Order (collectively, the “Pre-Petition Stipulations”) are
                           and shall be binding on the Debtor, any subsequent trustee, responsible person,
                           examiner with expanded powers, any other estate representative, and all
  Interim Order ¶ 19(a)    creditors and parties-in-interest and all of its successors in interest and assigns,
                           including, without limitation, a Committee (if appointed), unless, and solely to the
                           extent that, a party-in-interest with standing (other than the Debtor, as to which
                           any Challenge (as defined herein) is irrevocably waived and relinquished) (i) has
                           timely filed the pleadings, and timely commenced the proceeding required under
                           the Bankruptcy Code, Bankruptcy Rules and Local Bankruptcy Rules
                           challenging the Pre-Petition Stipulations (each such proceeding or pleading
                           commencing a proceeding or other contested matter, a “Challenge”) by no later
                           than (A) for a Committee, (if appointed), sixty (60) days from the date of formation
                           of a Committee (if appointed), or (B) seventy-five (75) days following the entry of
                           the Interim Order for any other party in interest with derivative standing (the
                           earlier to occur of (A) and (B), the “Challenge Deadline”), as such applicable date
                           may be extended in writing from time to time in the sole discretion of the Pre-
                           Petition Lender (with respect to the Pre-Petition Credit Documents), or by this
                           Court for good cause shown pursuant to an application filed by a party-in-interest
                           prior to the expiration of the Challenge Deadline, and (ii) this Court enters
                           judgment in favor of the plaintiff or movant in any such timely commenced
                           Challenge proceeding and any such judgment has become a final judgment that
                           is not subject to any further review or appeal. Notwithstanding the foregoing, if
                           a chapter 11 trustee is appointed or the Chapter 11 Case is converted to chapter
                           7 prior to the expiration of the Challenge Deadline, (i) the chapter 11 trustee or
                           chapter 7 trustee, as applicable, shall have until the later of the Challenge
                           Deadline or the tenth (10th) day after the appointment of the chapter 11 trustee
                           or the conversion of the Chapter 11 Case to chapter 7, as applicable, to
                           commence a Challenge, subject to any further extension by order of the Court
                           for cause, and (ii) if the Committee has asserted a Challenge prior to the
                           Challenge Deadline, the chapter 11 trustee or chapter 7 trustee will stand in the

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                           shoes of the Committee in such Challenge.
  Surcharge/Equities       Section 506(c) Claims. Subject to entry of a Final Financing Order, no costs or
     of the Case           expenses of administration which have been or may be incurred in the Chapter
                           11 Case at any time shall be charged against the DIP Lender or the Pre-Petition
                           Lender, or any of their respective claims, the DIP Collateral, or the Pre-Petition
      Interim Order        Collateral pursuant to Sections 105 or 506(c) of the Bankruptcy Code, or
         ¶¶ 28-29          otherwise, without the prior written consent of the DIP Lender, or the Pre-Petition
                           Lender, as applicable, and no such consent shall be implied from any other
                           action, inaction, or acquiescence by any such agents or lenders.

                           Section 552(b). Subject to entry of a Final Financing Order, the Pre-Petition
                           Lender shall be entitled to all of the rights and benefits of Section 552(b) of the
                           Bankruptcy Code, and the “equities of the case” exception under Section 552(b)
                           of the Bankruptcy Code shall not apply to the Prepetition Lender, with respect to
                           proceeds, product, offspring or profits of any of the Pre-Petition Collateral.
    Indemnification        [T]he Pre-Petition Lender and the DIP Lender, and, solely in their capacities as
                           such, each of their respective successors, assigns, affiliates parents,
       DIP Credit          subsidiaries, partners, controlling persons, representatives, agents, attorneys,
    Agreement §13.4        advisors, financial advisors, consultants, professionals, officers, directors,
                           members, managers, heirs, predecessors, successors, and assigns, shall be
                           and hereby are indemnified and held harmless by the Debtor in respect of any
   Interim Order ¶ 25      claim or liability incurred in respect thereof or in any way related thereto, provided
                           that no such parties will be indemnified for any cost, expense, or liability to the
                           extent determined in a final, non-appealable judgment of a court of competent
                           jurisdiction to have resulted primarily from such parties’ gross negligence or
                           willful misconduct. Except as provided herein, no exception or defense exists in
                           contract, law, or equity as to any obligation set forth, as the case may be, in this
                           Paragraph 25, in the Pre-Petition Credit Documents, or in the DIP Loan
                           Documents, to the Debtor’s obligation to indemnify and/or hold harmless the Pre-
                           Petition Lender, or the DIP Lender, as the case may be.


                                 THE PREPETITION CREDIT FACILITY

         8.       The Debtor, as borrower, and eCapital Healthcare Corp. (f/k/a CNH Finance

 Fund I, L.P., “eCapital”), as lender (in such capacity, the “Pre-Petition Lender”), are parties to

 that certain Credit and Security Agreement, dated as of July 16, 2021 (as amended, restated,

 supplemented, or otherwise modified, the “Pre-Petition Credit Agreement,” and collectively with

 the Loan Documents (as defined in the Pre-Petition Credit Agreement) and other related

 agreements and documents, the “Pre-Petition Credit Documents”).

         9.       Pursuant to the Pre-Petition Credit Agreement, the Pre-Petition Lender provided

 revolving credit and other financial accommodations to the Debtor pursuant to the Pre-Petition

 Loan Documents (the “Pre-Petition Credit Facility”).

         10.      The Pre-Petition Credit Facility provided the Debtor with Revolving Loan

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 Commitments (as defined in the Pre-Petition Credit Agreement) subject to, among other things,

 a Facility Cap of $10,000,000. As of the Petition Date, the aggregate principal amount

 outstanding under the Pre-Petition Credit Facility was not less than $4,664,661.94 (collectively,

 with all other outstanding obligations allowable under the Pre-Petition Credit Facility, the “Pre-

 Petition Credit Obligations”).

         11.      As more fully set forth in the Pre-Petition Credit Documents, prior to the Petition

 Date, the Debtor granted to the Pre-Petition Lender a first priority security interest in and

 continuing lien on (the “Pre-Petition Liens”) the Pre-Petition Collateral, which includes the

 Debtor’s interest in all accounts and other personal property, subject only to the Permitted Liens

 (as such terms are defined in the Pre-Petition Credit Agreement). All of the Debtor’s cash,

 including any cash in deposit accounts of the Debtor, wherever located, constitutes Cash

 Collateral of the Pre-Petition Lender.

                                     OTHER SECURED CREDITORS

         12.      Several regional taxing authorities under the umbrella of the Nacogdoches

 Appraisal District hold ad valorem tax liens on the Debtor’s personal property. In addition, the

 Debtor is party to various security agreements and capital leases secured by specific

 equipment, including the following:

                       Secured Creditor                              Collateral

            GE Government Finance, Inc                Optima CT 660, Optima MR450, and
                                                      Mobile Optima 220 X-Ray
            Intuitive Surgical, Inc.;                 da Vinci Xi Surgical System Robot

            Med One Capital Funding, LLC;             TabloXT, Alpinion X-Cube 90, Alaris
                                                      System Model 8015 Point of Care
                                                      Units, 8100 LVP Alaris System
                                                      Model 8100 LVP Pumping Modules,
                                                      Alaris System Model 8110 Syringe
                                                      Modules and 914-0170 IV Strands
            Ortho-Clinical Diagnostics, Inc           2 Vitros 5600 Integrated Systems




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                                                 ARGUMENT

 A.      Entering into the DIP Facility is an Exercise of the Debtor’s Sound Business
         Judgment

         13.      The Court should authorize the Debtor to enter the DIP Facility Documents

 and obtain access to the DIP Facility as an exercise of the Debtor’s sound business judgment

 and in the interest of patient care and safety.

         14.      Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured or

 superpriority financing under certain circumstances, as described in greater detail below.

 Provided that an agreement to obtain secured credit does not run afoul of the provisions of

 and policies underlying the Bankruptcy Code, courts routinely grant debtors considerable

 deference in acting in accordance with their sound business judgment in obtaining such credit.

 See In re Estrada, 16-80003-G3-11, 2016 WL 745536, at *3 (Bankr. S.D. Tex. Feb. 24, 2016)

 (“In determining whether to approve a motion to obtain credit, courts generally permit debtors in

 possession to exercise their basic business judgment consistent with their fiduciary duties.”); In

 re Barbara K. Enters., Inc., Case No. 08-11474, 2008 WL 2439649, at *14 (Bankr. S.D.N.Y.

 June 16, 2008) (explaining that courts defer to a debtor’s business judgment “so long as a

 request for financing does not ‘leverage the bankruptcy process’ and unfairly cede control of the

 reorganization to one party in interest.”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr.

 S.D.N.Y. 1990) (“Cases consistently reflect that the court’s discretion under section 364 [of the

 Bankruptcy Code] is to be utilized on grounds that permit [a debtor’s] reasonable business

 judgment to be exercised so long as the financing agreement does not contain terms that

 leverage the bankruptcy process and powers or its purpose is not so much to benefit the estate

 as it is to benefit a party- in-interest”).

         15.      Moreover, the Court may appropriately take into consideration non-economic

 benefits to the Debtor offered by a proposed postpetition facility. For example, in In re ION Media

 Networks, Inc., the Bankruptcy Court for the Southern District of New York held that:


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         Although all parties, including the Debtors and the Committee, are naturally
         motivated to obtain financing on the best possible terms, a business decision
         to obtain credit from a particular lender is almost never based purely on
         economic terms. Relevant features of the financing must be evaluated,
         including noneconomic elements such as the timing and certainty of closing,
         the impact on creditor constituencies, and the likelihood of a successful
         reorganization. This is particularly true in a bankruptcy setting where
         cooperation and established allegiances with creditor groups can be a vital part
         of building support for a restructuring that ultimately may lead to a confirmable
         reorganization plan. That which helps foster consensus may be preferable to a
         notionally better transaction that carries the risk of promoting unwanted conflict.
 Case No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009).

         16.      The Debtor’s execution of the DIP Facility Documents is an exercise of its

 sound business judgment that warrants approval by the Court. The Debtor has determined that it

 will very likely return a higher value to stakeholders by continuing its business operations.

 However, to maintain adequate working capital for operations and for general corporate

 purposes, it requires immediate access to reasonably priced financing. The DIP Lender is willing

 to provide such financing. As provided in the Declaration, the DIP Facility offered by the DIP

 Lender provided the most favorable credit facility the Debtor was able to find. The Debtor has

 also determined that it is advantageous to enter into a DIP facility with a lender that already has a

 working relationship with the Debtor and on credit terms that are substantially similar to the

 prepetition credit facility. Accordingly, the Debtor negotiated the DIP Facility with the DIP Lender

 in good faith, at arm’s length, and with the assistance of outside counsel to obtain the required

 postpetition financing on terms favorable to the Debtor.

         17.      The Debtor believes that the Court’s consideration of non-economic factors, as

 permitted by ION Media, is especially appropriate here. The Debtor is a community hospital and

 has continuing care obligations to current and future patients. If the Debtor’s access to DIP

 funding is denied, the Debtor will be forced to cease operations essentially immediately and with

 little warning. Such an event would lead to the layoff of hundreds of employees and place any

 overnight patients (the Debtor has 231 patient rooms) at unnecessary risk until their care can be

 transferred, which is not assured. Moreover, patients with already-scheduled procedures will be

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 unduly harmed by needing to reschedule their care with other providers. Such a cessation of

 operations and care will almost certainly eliminate any possibility of reorganizing and of

 providing any distribution to creditors above the value of its assets that secured creditors

 might receive in liquidation.

         18.      Moreover, it is unlikely another lender would be in a position to provide as

 favorable a financing arrangement as currently available under the DIP Facility because (a)

 the DIP Lender (as the Pre-Petition Lender) currently holds a first priority perfected lien on

 substantially all of Debtor’s assets and (b) the DIP Facility provides favorable terms to the

 Debtor which no other lender would be able to match under the circumstances. The Debtor

 submits that these factors provide additional and ample reason to approve the DIP Facility.

         19.      Accordingly, the Debtor determined in its sound business judgment that the

 DIP Facility provides a greater amount of financing on more favorable terms than any other

 reasonably available alternative. Thus, the Debtor submits that entering into the DIP Facility

 Documents constitutes an exercise of its sound business judgment that should be approved

 by the Court.

 B.      The Roll-Up of the Prepetition Obligations is an Appropriate Exercise of the
         Debtor’s Business Judgment and Should be Approved

         20.      The proposed DIP Facility proposes a Roll-Up of the Pre-Petition Obligations

 as set forth in more detail in the DIP Credit Agreement.

         21.      In the instant case, the proposed Roll-Up is a sound exercise of the

 Debtor’s business judgment for the following reasons:

         (a)      The negotiation and subsequent granting of the Roll-Up is required as a
                  condition for the DIP Lender to provide the liquidity necessary to continue the
                  Debtor’s operations;

         (b)      The prepetition debt facility is a revolving line of credit that relies on generated
                  accounts receivables as the basis for providing continued funding. If the Roll-
                  Up is denied but the post-petition financing is otherwise approved, on a
                  post-petition basis, the Debtor will be required to rely solely on post-

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                  petition generated accounts receivables to access funding. Even a brief
                  reduction of accounts receivables generation would jeopardize the Debtor’s
                  ability to pay post-petition obligations as it would restrict the Debtor’s ability to
                  draw on the line of credit. On the other hand, if the DIP Lender is entitled to roll-
                  up its prepetition obligations, the DIP Lender can look to all Eligible Receivables
                  (as defined in the DIP Credit Agreement) from which to make its lending
                  decision, whether those receivables were generated pre- or postpetition;

         (c)      The DIP Lender already holds the senior lien on the DIP Collateral and,
                  therefore, the positions of other creditors, both secured and unsecured will be
                  unharmed;

         (d)      The DIP Lender’s prepetition liens appear to be properly secured and perfected.
                  The DIP Lender does not appear to be using a Roll-Up for the purpose of
                  correcting any prepetition perfection concerns;

         (e)      The DIP Lender has required a Roll-Up as a condition to extending postpetition
                  financing. If the Court were to deny the Roll-Up and the DIP Lender
                  subsequently terminated the DIP Agreement, the Debtor would not have access
                  to needed working capital funds, which possibly could cause the immediate
                  cessation of the Debtor’s operations and jeopardize patient care;

         (f)      The Roll-Up is intended to continue postpetition the relationship the DIP
                  Lender and Debtor have had prepetition. The Roll-Up thus offers advantages
                  for the Debtor in accounting and practical efficiencies; and

         (g)      Other creditors will be adequately protected because they will be entitled
                  postpetition to the same priority vis-à-vis the DIP Collateral as they were
                  prepetition.

         22.      The terms of the Roll-Up in the DIP Facility are reasonable and necessary

 components of the DIP Facility. The DIP Facility—including the Roll-Up—represents the best

 financing option available to address the Debtor’s liquidity needs under these circumstances.

 The terms and conditions of the DIP Facility are reasonable, appropriate, and reflective of the

 current market for debtor-in possession financing under these circumstances.

         23.      Finally, similar debtor-in-possession financing facilities have been approved in

 a variety of cases in this and other districts, which included features similar to the proposed

 Roll-Up in the DIP Orders. In re A’Gaci, LLC, No. 19-51919 (RBK) (Bankr. W.D. Tex. Sep.


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 9, 2019) (Docket No. 144); In re Fresh Acquisitions, LLC, No. 21-30721 (HDH) (Bankr. N.D.

 Tex. Apr. 20, 2021) (authorizing the roll-up of approximately $500,000 prepetition debt and

 approximately $3 million of new money); In re CiCis Holdings, Inc., No. 21-30146 (SGJ) (Bankr.

 N.D. Tex. Feb. 18, 2021) (authorizing roll-up of approximately $6 million of prepetition debt

 and approximately $3 million of new money); In re Gulfport Energy Corp., No. 20-35562 (DRJ)

 (Bankr. S.D. Tex. Dec. 18, 2020) (authorizing roll-up of approximately $158 million of

 prepetition debt and approximately $105 million of new money); In re Studio Movie Grill

 Holdings, LLC, No. 20-32633 (SGJ) (Bankr. N.D. Tex. Dec. 1, 2020) (authorizing roll-up of

 approximately $48 million of prepetition debt and approximately $23.5 million of new money);

 In re Lilis Energy Inc., No. 20-33274 (MI) (Bankr. S.D. Tex. Aug. 21, 2020) (authorizing roll-up

 of approximately $15 million of prepetition debt and approximately $15 million of new money);

 In re Trivascular Sales LLC, No. 20-31840 (SGJ) (Bankr. N.D. Tex. Aug. 20, 2020) (authorizing

 roll-up of approximately $100 million of prepetition debt and $30 million of new money); In re

 Tuesday Morning Corp., Case No. 20-31476 (HDH) (Bankr. N.D. Tex. Jun. 26, 2020)

 (authorizing roll-up of approximately $48 million of prepetition debt and approximately $52

 million of new money); In re Unit Corp., No. 20-32740 (DRJ) (Bankr. S.D. Tex. Jun. 19, 2020)

 (authorizing roll-up of approximately $88 million of prepetition debt and approximately $36

 million of new money); In re Am. Comm. Lines, Inc., No. 20-30981 (MI) (Bankr. S.D. Tex. Feb.

 7, 2020) (authorizing roll-up of approximately $536 million of prepetition debt and

 approximately $6.4 million new money); In re McDermott Int’l, Inc., No. 20-30336 (DRJ) (Bankr.

 S.D. Tex. Jan. 21, 2020) (authorizing roll-up of approximately $500 million of prepetition debt).

 C.      The Debtor Should be Authorized to Obtain Postpetition Financing on a Secured
         and Superpriority Basis

         24.      Section 364 of the Bankruptcy Code authorizes a debtor to obtain, in certain

 circumstances, postpetition financing on a secured or superpriority basis, or both. Specifically,

 section 364(c) of the Bankruptcy Code provides, in pertinent part, that the Court, after notice

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 and a hearing, may authorize a debtor that is unable to obtain credit allowable as an

 administrative expense under section 503(b)(1) of the Bankruptcy Code to obtain credit or incur

 debt:

         (1)    with priority over any or all administrative expenses of the kind specified in
                section 503(b) or 507(b) of [the Bankruptcy Code];

         (2)    secured by a lien on property of the estate that is not otherwise subject to a
                lien, or

         (3)    secured by a junior lien on property of the estate that is subject to a lien.

 11 U.S.C. § 364(c).

         25.      To satisfy the requirements of section 364(c) of the Bankruptcy Code, a debtor

 need only demonstrate “by a good faith effort that credit was not available” to the debtor on an

 unsecured or administrative expense basis. Bray v. Shenandoah Fed. Savs. & Loan Ass’n (In

 re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986). “The statute imposes no duty to seek

 credit from every possible lender before concluding that such credit is unavailable.” Id.; see

 also Pearl-Phil GMT (Far East) Ltd. v. Caldor Corp., 266 B.R. 575, 584 (S.D.N.Y. 2001)

 (superpriority administrative expenses authorized where the debtor could not obtain credit as

 an administrative expense). When few lenders are likely to be able and willing to extend the

 necessary credit to a debtor, “it would be unrealistic and unnecessary to require [the debtor]

 to conduct such an exhaustive search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113

 (Bankr. N.D. Ga. 1988), aff’d sub nom., Anchor Savs. Bank FSB v. Sky Valley, Inc., 99 B.R.

 117, 120 n. 4 (N.D. Ga. 1989); see also Ames Dep’t Stores, 115 B.R. at 40 (approving financing

 facility and holding that the debtor made reasonable efforts to satisfy the standards of section

 364(c) where it approached four lending institutions, was rejected by two, and selected the

 more favorable of the two offers it received).

         26.      Section 364(d)(1) provides:

         The court, after notice and a hearing, may authorize the obtaining of credit or the
         incurring of debt secured by a senior or equal lien on property of the estate that

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         is subject to a lien only if —

                  (A) the trustee is unable to obtain such credit otherwise, and

                  (B) there is adequate protection of the interest of the holder of the lien on
                      the property of the estate on which such senior or equal lien is
                      proposed to be granted.

 11 U.S.C. § 364(d)(1).

         27.      As of the date of the filing of the instant Motion, the Debtor has been unable

 to obtain sufficient postpetition financing in the form of unsecured credit, solely as an

 administrative expense, or secured by a junior or equal lien. General industry practice,

 especially in light of rising interest rates, which has reduced financing availability generally,

 precludes the Debtor from obtaining postpetition financing in the amount required on terms

 other than on a first priority, secured, and superpriority basis except as described above and

 in the DIP Agreement.

         28.      Second, the Debtor needs the funds to be provided under the DIP Facility

 to preserve the value of its estate for the benefit of all creditors and other parties in interest.

 Absent the DIP Facility, the Debtor will be unable to operate its business or prosecute the

 Chapter 11 Case, which will threaten the Debtor’s going concern value. Providing the Debtor

 with the liquidity necessary to preserve its going concern value through the pendency of the

 Chapter 11 Case is in the best interest of all stakeholders.

         29.      Third, the terms of the DIP Facility Documents are reasonable and adequate

 to ensure the Debtor’s ongoing ability to operate in Chapter 11. Indeed, the DIP Facility will

 provide the Debtor with sufficient and necessary liquidity to allow the Debtor to maintain its

 operations and relationships with key constituents during the Chapter 11 Case. Accordingly,

 the terms of the DIP Facility are reasonable and the DIP Facility is sufficient to support the

 Debtor’s operations and restructuring activities through the pendency of the Chapter 11 Case.




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         30.      Fourth, the Debtor and the DIP Lender negotiated the DIP Facility in good

 faith and at arm’s-length, and the Debtor’s entry into the DIP Facility Documents is an exercise

 of its sound business judgment and is in the best interests of its estate, creditors, and other

 parties in interest.

         31.      The Court should therefore (a) authorize the Debtor to provide the DIP Lender

 liens on the DIP Collateral as provided in section 364(c)(2), (3), and 364(d); and (b) grant

 the DIP Obligations superpriority administrative expense status as provided for in section

 364(c)(1) of the Bankruptcy Code.

 D.      The DIP Lender Should be Deemed a Good Faith Lender under Section 364(e)
         of the Bankruptcy Code.

         32.      Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to

 collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

 authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

 appeal. Specifically, section 364(e) provides that:

         The reversal or modification on appeal of an authorization under this section [364
         of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this
         section of a priority or a lien, does not affect the validity of any debt so incurred,
         or any priority or lien so granted, to an entity that extended such credit in good
         faith, whether or not such entity knew of the pendency of the appeal, unless
         such authorization and the incurring of such debt, or the granting of such priority
         or lien, were stayed pending appeal.

 11 U.S.C. § 364(e).

         33.      As explained herein, the DIP Facility is the result of the Debtor’s reasonable

 and informed determination that the DIP Lender offered the most favorable terms on which to

 obtain needed postpetition financing, and of extended arm’s-length, good faith negotiations

 between the Debtor and the DIP Lender. The terms and conditions of the DIP Facility are fair

 and reasonable, and the proceeds under the DIP Facility will be used only for purposes that

 are permissible under the Bankruptcy Code. Further, no consideration is being provided to any

 party to the DIP Facility other than as described herein. Accordingly, the Court should find that

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 the DIP Lender is a “good faith” lender within the meaning of section 364(e) of the Bankruptcy

 Code and is entitled to all of the protections afforded by that section.

 E.      The Debtor Requires Immediate Access to the DIP Facility

         34.      The Court may grant interim relief in respect of a motion filed pursuant to

 section 363(c) or 364 of the Bankruptcy Code where, as here, interim relief is “necessary

 to avoid immediate and irreparable harm to the estate pending a final hearing.” FED.

 R. BANKR. P. 4001(b)(2) and (c)(2).

         35.      The Debtor and its estate will suffer immediate and irreparable harm if the

 interim relief requested herein is not granted promptly. An extended delay in obtaining the DIP

 Facility would jeopardize the Debtor’s ability to satisfy its postpetition obligations and provide

 safe patient care and would threaten the Debtor’s viability; thus, causing significant harm to the

 Debtor’s estates and creditors. Accordingly, the Debtor has an immediate need for access to

 the DIP Facility to, among other things, permit the orderly continuation of the operation of its

 business, to make payroll, and to satisfy other working capital and operational needs, all of

 which are required to preserve and maintain the Debtor’s going concern value for the benefit

 of all parties in interest.

 F.      The Debtor Should be Authorized to Use Cash Collateral.

         36.      Section 363(c)(2)(A) of the Bankruptcy Code permits a debtor in possession to

 use cash collateral with the consent of the secured party. Here, the DIP Lender consents to

 the use of Cash Collateral, both in its capacity as the DIP Lender and as the Pre-Petition

 Lender, subject to the terms and limitations set forth in the Interim Order. As described above

 and in the Declaration, access to Cash Collateral on an interim basis is essential to the

 continued operation of the Debtor’s business. Thus, the use of Cash Collateral is in the best

 interests of the Debtor’s estate and its stakeholders, including the Prepetition Lender and the

 DIP Lender and should be approved.


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                                     REQUEST FOR FINAL HEARING

         37.      Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtor requests

 that the Court set a date for the Final Hearing and set a deadline for filing objections to the

 Motion prior to the Final Hearing.

                                              LIMITED NOTICE

         38.      Notice of this Motion has been provided to (a) the office of the United States

 Trustee for the Northern District of Texas; (b) the holders of the twenty (20) largest unsecured

 claims against the Debtor; (c) counsel for the PrePetition and DIP Lender; (d) parties that have

 filed a UCC Financing Statement with respect to the Debtor’s assets; (e) counsel for the

 Nacogdoches Hospital District; and (f) all parties that have filed a Notice of Appearance herein

 as set forth in the Certificate of Service below. The Debtor submits that no other or further

 notice need be provided.

                                                CONCLUSION

         39.      Accordingly, for all of the reasons set forth above, prompt entry of the Interim

 Order is necessary to avoid immediate and irreparable harm to the Debtor’s estate and is

 consistent with, and warranted under, Bankruptcy Rule 4001(b)(2) and (c)(2). In addition, to

 implement the terms of the DIP Facility, the Debtor requests a waiver of the notice

 requirements under Bankruptcy Rule 6004(a) and any stay of an order granting the relief

 requested herein pursuant to Bankruptcy Rule 6004(h) or otherwise so that the Interim Order

 may be immediately effective and enforceable upon its entry.

         WHEREFORE, the Debtor respectfully requests entry of an order granting (a) the relief

 requested herein and (b) such other and further relief as is just and proper.

 Dated: November 19, 2023.                           Respectfully submitted,

                                                     /s/ Lynda L. Lankford
                                                     Jeff P. Prostok
                                                     State Bar No. 16352500
                                                     Lynda L. Lankford


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                                                                                  State Bar No. 11935020
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                                                                                  llankford@forsheyprostok.com
                                                                                  dross@forsheyprostok.com

                                                                                  PROPOSED ATTORNEYS FOR DEBTOR
                                                                                  AND DEBTOR IN POSSESSION



                                                              CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon
 the parties listed on the attached service list via United States Mail, first class postage prepaid,
 or via ECF electronic Notice, if available, on November 19, 2023. I further certify that a true and
 correct copy of the foregoing document was additionally served via email upon the parties listed
 below on November 19, 2023:


 Erin Schmidt, Trial Attorney
 United States Trustee
 erin.schmidt2@usdoj.gov

 Elizabeth A. Young, Trial Attorney
 United States Trustee
 elizabeth.a.young@usdoj.gov

 Ed Green, Esq.
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                                                                                                /s/ Lynda L. Lankford
                                                                                                Lynda L. Lankford


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                          EXHIBIT “A”
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

            In re:                              )
                                                )
         LION STAR NACOGDOCHES HOSPITAL, )            Case No. 23-
         LLC d/b/a NACOGDOCHES MEMORIAL         )
         HOSPITAL,                              )     Chapter 11 Case
                                                )
                         Debtor.                )
        ______________________________________________________________________________

         INTERIM ORDER (I) AUTHORIZING THE DEBTOR TO OBTAIN POSTPETITION
          FINANCING ON A SECURED, SUPERPRIORITY BASIS; (II) AUTHORIZING THE
          DEBTOR TO USE CASH COLLATERAL; (III) SCHEDULING A FINAL HEARING;
            (IV) MODIFYING THE AUTOMATIC STAY, AND (V) GRANTING RELATED
                                           RELIEF1
        ______________________________________________________________________________

                     CAME ON FOR CONSIDERATION Lion Star Nacogdoches Hospital, LLC (the

        “Debtor”) or (“Lion Star”) with its Motion for Entry of Interim and Final Orders (I) Authorizing

        the Debtor to Obtain Postpetition Financing on a Secured, Superpriority Basis; (II) Authorizing



        1
         Capitalized terms not defined herein shall have the meaning ascribed to them in the Superpriority Debtor-In-
        Possession Credit and Security Agreement.

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        the Debtor to Use Cash Collateral; (III) Scheduling a Final Hearing; (IV) Modifying the

        Automatic Stay, and (V) Granting Related Relief (the “Motion”), filed in the above-captioned case,

        seeking, among other things, entry of an interim order (this “Interim Order”), under Sections 105,

        361, 362, 363(c)(2), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), and 364(e) of Title 11 of the United

        States Code (the “Bankruptcy Code”), Rules 2002, 4001, and 6003 of the Federal Rules of

        Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Court Rules of the United States

        Bankruptcy Court for the Northern District of Texas (the “Local Bankruptcy Rules”): (i)

        authorizing the Debtor to obtain postpetition financing on a secured superpriority basis; (ii)

        authorizing the Debtor to use Cash Collateral; (iii) scheduling a final hearing pursuant to

        Bankruptcy Rules 4001(b) and 4001(c), (iv) modifying the automatic stay, and (v) granting related

        relief. The Bankruptcy Court conducted an interim hearing on [_____], 2023 (the “Interim

        Hearing”).

                   The Court, having considered the Motion and the evidence submitted at the Interim

        Hearing and in accordance with Bankruptcy Rules 2002, 4001(b), (c), and (d), and Local

        Bankruptcy Rule 9014, due and proper notice of the Motion and the Interim Hearing having been

        given; and it appearing that approval of the interim relief requested in the Motion is necessary to

        avoid immediate and irreparable harm to the Debtor and its bankruptcy estate pending the Final

        Hearing, and all objections, if any, to the entry of this Interim Order having been withdrawn,

        resolved or overruled by the Court; and after due deliberation and consideration, and for good and

        sufficient cause appearing therefor:

             IN ADDITION TO ANY FINDINGS AND CONCLUSIONS ANNOUNCED ON
        THE RECORD AT THE INTERIM HEARING, WHICH ARE INCORPORATED
        HEREIN BY REFERENCE, THE COURT MAKES THE FOLLOWING FINDINGS OF
        FACT AND CONCLUSIONS OF LAW:




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                   A.   Jurisdiction and Venue. The Court has jurisdiction over this proceeding pursuant to

        28 U.S.C. § 1334. Consideration of the Motion constitutes a core proceeding under 28 U.S.C. §

        157(b)(2). Venue for the above-captioned chapter 11 case (the “Chapter 11 Case”) and the

        proceeding on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                   B.   Committee Formation/Trustee. An official committee of unsecured creditors (the

        “Committee”) has not been appointed. No request for the appointment of a trustee or examiner has

        been made.

                   C.   Notice. The Debtor has provided sufficient notice of the Interim Hearing and the

        relief requested in the Motion to all necessary creditors and parties in interest.

                   D.   No Control. By virtue of any of the actions taken with respect to, in connection

        with, related to, or arising from the Pre-Petition Credit Documents, the DIP Lender does not control

        the Debtor or its properties or operations, have authority to determine the manner in which any

        Debtor’s operations are conducted, or are control persons or insiders of the Debtor.

                   E.   No Credit Available on More Favorable Terms. The Debtor has been unable to

        obtain more favorable terms and conditions than those provided in this Interim Order: (a) adequate

        unsecured credit allowable under Section 503(b)(1) of the Bankruptcy Code as an administrative

        expense; (b) credit for money borrowed with priority over any or all administrative expenses of

        the kind specified in Sections 503(b) or 507(b) of the Bankruptcy Code, or (c) credit for money

        borrowed secured by a lien on property of the estate that is not otherwise subject to a lien. The

        Debtor is unable to obtain credit for borrowed money without granting the DIP Liens and the DIP

        Superpriority Claims (each defined below) to (or for the benefit of) the DIP Lender.

                   F.   Extension of Financing. The DIP Lender is willing and able to provide financing to

        the Debtor in accordance with the Superpriority Debtor-In-Possession Credit and Security



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        Agreement and all other related documents attached hereto as Exhibit A (collectively, the “DIP

        Facility Documents”) and subject to (i) the entry of this Interim Order and (ii) findings by this

        Court that such financing is essential to the Debtor’s estate (and the continued operations of the

        Debtor), that the DIP Lender is a good faith financier, and that the DIP Lender’s claims,

        superpriority claims, security interests and liens and other protections granted pursuant to and in

        connection with this Interim Order will not be affected by any subsequent reversal, modification,

        vacatur, stay or amendment of, as the case may be, this Interim Order as provided in Section 364(e)

        of the Bankruptcy Code.

                   G.   Business Judgment and Good Faith Pursuant to Section 364(e). The terms and

        conditions of this Interim Order and the DIP Facility Documents are fair, reasonable, and the best

        available under the circumstances, reflect the Debtor’s exercise of prudent business judgment, and

        are supported by reasonably equivalent value and consideration; all obligations incurred under this

        Interim Order and the DIP Facility Documents (collectively, the “DIP Obligations”), payments

        made, and transfers or grants of security set forth in this Interim Order and the DIP Facility

        Documents by the DIP Lender are granted to or for the benefit of the DIP Lender for fair

        consideration and reasonably equivalent value, and are granted contemporaneously with the

        making of the loans and/or commitments and other financial accommodations secured thereby; the

        terms of the DIP Facility Documents and all other related agreements and documents (collectively,

        the “DIP Facility”) were negotiated in good faith and at arm’s length among the DIP Lender and

        the Debtor, and the use of the proceeds to be extended under the DIP Facility will be so extended

        in good faith and for valid business purposes and uses, as a consequence of which the DIP Lender

        is entitled to the protection and benefits of Section 364(e) of the Bankruptcy Code.

                   H.   Relief Essential; Best Interest of Bankruptcy Estate. The relief provided in this



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        Interim Order is necessary, essential, and appropriate for the continued operation of the Debtor’s

        business and the management and preservation of its assets and property. It is in the best interest

        of the Debtor’s bankruptcy estate that the Debtor be allowed to enter into the DIP Facility

        Documents, incur the DIP Facility, grant the liens and claims contemplated herein and under the

        DIP Facility Documents to the DIP Lender, subject to the terms of this Interim Order.

                   I.     Roll-Up. The DIP Roll-Up under the DIP Facility Documents reflects the Debtor’s

        exercise of prudent business judgment consistent with its fiduciary duties. Without the DIP

        Roll-Up, the DIP Lender would not have provided the DIP Facility or extended credit to the

        Debtor. Further, the DIP Roll-Up (i) creates greater availability under the DIP Facility and (ii)

        benefits the Debtor and its estate because it enables the Debtor to obtain financing critical to

        administering this Chapter 11 Case and funding the Debtor’s operations.

                   J.     Debtor’s Stipulations. After consultation with its attorneys and financial advisors,

        the Debtor, on its behalf and on behalf of its estate, admits, stipulates, acknowledges, and agrees

        as follows (paragraphs J(i) through J(xii) below are referred to herein, collectively, as the “Debtor’s

        Stipulations”):

                          i)     Pre-Petition Credit Facility. Pursuant to that certain Credit and Security
                                 Agreement, dated as of July 16, 2021 (as amended, restated, supplemented,
                                 or otherwise modified from time to time, the “Pre-Petition Credit
                                 Agreement,” and collectively with the Loan Documents (as defined in the
                                 Pre-Petition Credit Agreement) and any other agreements and documents
                                 executed or delivered in connection therewith, each as may be amended,
                                 restated, supplemented, waived or otherwise modified from time to time,
                                 the “Pre-Petition Credit Documents”), among (i) the Debtor and (ii)
                                 eCapital (in such capacity, the “Pre-Petition Lender”), the Pre-Petition
                                 Lender provided revolving credit and other financial accommodations to the
                                 Debtor pursuant to the Pre-Petition Loan Documents (the “Pre-Petition
                                 Credit Facility”).

                          ii)    Pre-Petition Obligations. The Pre-Petition Credit Facility provided the
                                 Debtor with, among other things, the Revolving Loan Commitments (as
                                 defined in the Pre-Petition Credit Agreement). As of the date of filing of
                                 this Chapter 11 Case (the “Petition Date”), the aggregate principal amount

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                          outstanding under the Pre-Petition Credit Facility was not less than
                          $4,664,661.94 (collectively, together with accrued and unpaid interest,
                          outstanding letters of credit and bankers’ acceptances, any reimbursement
                          obligations (contingent or otherwise) in respect of letters of credit and
                          bankers’ acceptances, any fees, expenses and disbursements (including,
                          without limitation, attorneys’ fees, accountants’ fees, auditor fees,
                          appraisers’ fees and financial advisors’ fees, and related expenses and
                          disbursements), treasury, cash management, bank product and derivative
                          obligations, indemnification obligations, guarantee obligations, and other
                          charges, amounts and costs of whatever nature owing, whether or not
                          contingent, whenever arising, accrued, accruing, due, owing, or chargeable
                          in respect of any of the Debtor’s obligations pursuant to, or secured by, the
                          Pre-Petition Credit Documents, including all interest, fees (including
                          amendment fees), prepayment premiums, costs and other charges allowable
                          under section 506(b) of the Bankruptcy Code, the “Pre-Petition Credit
                          Obligations”).

                   iii)   Pre-Petition Liens and Pre-Petition Collateral. As more fully set forth in
                          the Pre-Petition Credit Documents, prior to the Petition Date, the Debtor
                          granted to the Pre-Petition Lender, for the benefit of itself, a first priority
                          security interest in and continuing lien on (the “Pre-Petition Liens”) the Pre-
                          Petition Collateral, subject only to the Permitted Liens (as defined in the
                          Pre-Petition Credit Agreement).

                   iv)    Validity, Perfection, and Priority of Pre-Petition Liens and Pre-Petition
                          Obligations. The Debtor acknowledges and agrees that as of the Petition
                          Date (i) the Pre-Petition Liens on the Pre-Petition Collateral were valid,
                          binding, enforceable, non-avoidable, and properly perfected and were
                          granted to, or for the benefit of, the Pre-Petition Lender for fair
                          consideration and reasonably equivalent value; (ii) the Pre-Petition Liens
                          were senior in priority over any and all other liens on the Pre-Petition
                          Collateral, subject only to liens senior by operation of law or permitted by
                          the Pre-Petition Credit Documents (solely to the extent any such liens were
                          valid, properly perfected, non-avoidable, and senior in priority to the Pre-
                          Petition Liens as of the Petition Date, the “Permitted Liens”); (iii) the Pre-
                          Petition Obligations constitute legal, valid, binding, and non-avoidable
                          obligations of the Debtor enforceable in accordance with the terms of the
                          applicable Pre-Petition Credit Documents; (iv) no offsets, recoupments,
                          challenges, objections, defenses, claims, or counterclaims of any kind or
                          nature to any of the Pre-Petition Liens or Pre-Petition Obligations exist, and
                          no portion of the Pre-Petition Liens or Pre-Petition Obligations is subject to
                          any challenge or defense including, without limitation, avoidance,
                          disallowance, disgorgement, recharacterization, or subordination (equitable
                          or otherwise) pursuant to the Bankruptcy Code or applicable non-
                          bankruptcy law; (v) the Debtor and its estate have no claims, objections,
                          challenges, causes of action, and/or choses in action, including, without
                          limitation, avoidance claims under Chapter 5 of the Bankruptcy Code or

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                               applicable state law equivalents or actions for recovery or disgorgement,
                               against the Pre-Petition Lender or any of its respective affiliates, agents,
                               attorneys, advisors, professionals, officers, directors, and employees arising
                               out of, based upon or related to the Pre-Petition Credit Facility; (vi) the
                               Debtor waives, discharges, and releases any right to challenge any of the
                               Pre-Petition Obligations, the priority of the Debtor’s obligations thereunder,
                               and the validity, extent, and priority of the liens securing the Pre-Petition
                               Obligations, and (vii) the aggregate value of the Pre-Petition Collateral
                               exceeds the amount of the Pre-Petition Obligations and the claims of the
                               Pre-Petition Lender arising under, or secured by, the Pre-Petition Credit
                               Documents constitute allowed, secured claims within the meaning of
                               Sections 502 and 506 of the Bankruptcy Code.

                        v)     Cash Collateral. All of the Debtor’s cash, including any cash in deposit
                               accounts of the Debtor, wherever located, constitutes Cash Collateral of the
                               Pre-Petition Lender.

                        vi)    Default by the Debtor. The Debtor acknowledges and stipulates that it is in
                               default of its obligations under the Pre-Petition Credit Documents as a result
                               of the commencement of this Chapter 11 Case, and that an Event of Default
                               has occurred under the Pre-Petition Credit Documents; provided, the DIP
                               Lender rights related to declaring an Event of Default under other provisions
                               of the Pre-Petition Credit Documents are fully reserved.

                   K.   Findings regarding postpetition financing:

                        i)     Request for Postpetition Financing. The Debtor seeks authority to (i) use
                               Cash Collateral on the terms described herein, and (ii) enter into the DIP
                               Credit Agreement on the terms described herein and in the DIP Facility
                               Documents, to administer its Chapter 11 Case, and to fund the Debtor’s
                               operations. At the Final Hearing, the Debtor will seek final approval of the
                               DIP Facility and use of Cash Collateral pursuant to a proposed final order
                               (the “Final Order”), which shall be in form and substance acceptable to the
                               DIP Lender. Notice of the Final Hearing and Final Order will be provided
                               in accordance with this Interim Order.

                        ii)    Need for Postpetition Financing and Use of Cash Collateral. The Debtor
                               has an immediate and critical need to use Cash Collateral on an interim basis
                               and to obtain credit on an interim basis pursuant to the DIP Facility in order
                               to, among other things, enable the orderly continuation of its operations and
                               administer and preserve the value of its estate. The ability of the Debtor to
                               maintain business relationships with its vendors, suppliers, and customers,
                               to pay its employees, and otherwise finance its operations requires the
                               availability of working capital from the DIP Facility and the use of Cash
                               Collateral, the absence of either of which would immediately and
                               irreparably harm the Debtor, its estate, and parties-in-interest. The Debtor
                               does not have sufficient available sources of working capital and financing

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                          to operate its businesses or maintain its properties in the ordinary course of
                          business without the DIP Facility and use of Cash Collateral.

                   iii)   No Credit Available on More Favorable Terms. The DIP Facility is the best
                          source of debtor-in-possession financing available to the Debtor. Given its
                          current financial condition, financing arrangements, and capital structure,
                          the Debtor has been and continues to be unable to obtain financing from
                          sources other than the DIP Lender on terms more favorable than the DIP
                          Facility. The Debtor is unable to obtain unsecured credit allowable under
                          Section 503(b)(1) of the Bankruptcy Code as an administrative expense.
                          The Debtor has also been unable to obtain: (i) unsecured credit solely
                          having priority over that of administrative expenses of the kind specified in
                          Sections 503(b), 507(a) and 507(b) of the Bankruptcy Code; (ii) credit
                          secured solely by a lien on property of the Debtor and its estate that is not
                          otherwise subject to a lien, or (iii) credit secured solely by a junior lien on
                          property of the Debtor and its estate that is subject to a lien.

                   iv)    Use of Proceeds of the DIP Facility. As a condition to entry into the DIP
                          Credit Agreement, the extension of credit under the DIP Facility and the
                          authorization to use Cash Collateral, the Pre-Petition Lender requires, and
                          the Debtor has agreed, that proceeds of the DIP Facility shall be used, in
                          each case in a manner consistent with the terms and conditions of this
                          Interim Order and the DIP Facility Documents and in accordance with the
                          Budget (as the same may be modified from time to time consistent with the
                          terms of the DIP Facility Documents) and subject to such variances as
                          permitted in the DIP Credit Agreement.

                   v)     Application of Proceeds of Collateral. As a condition to entry into the DIP
                          Credit Agreement, the extension of credit under the DIP Facility and
                          authorization to use Cash Collateral, the Debtor and the DIP Lender have
                          agreed that as of and commencing on the date of the Interim Hearing, the
                          Debtor shall apply the proceeds of DIP Collateral in accordance with this
                          Interim Order and the Budget.

                   vi)    Roll-up of Pre-Petition Obligations into Obligations. The DIP Lender
                          would not otherwise consent to the use of its Cash Collateral or the
                          subordination of its liens to the DIP Liens, and the DIP Lender would not
                          be willing to provide the DIP Facility or extend credit to the Debtor
                          thereunder without the inclusion of the DIP Roll-Up in the DIP Obligations.
                          Moreover, the reduction of the Pre-Petition Obligations upon entry of this
                          Interim Order and, upon entry of the Final Order, the roll-up of all
                          outstanding Pre-Petition Obligations into DIP Obligations will enable the
                          Debtor to obtain urgently needed financing that they need to administer this
                          Chapter 11 Case and fund its operations.

                   vii)   Certain Conditions to DIP Facility. The DIP Lender’s willingness to make
                          the DIP Loan is conditioned upon, among other things: (i) the Debtor

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                                obtaining Court approval to enter into the DIP Loan Documents and to incur
                                all of the respective obligations thereunder, and to confer upon the DIP
                                Lender all applicable rights, powers, and remedies thereunder in each case
                                as modified by this Interim Order; (ii) the provision of adequate protection
                                of the Pre-Petition Lender’s interests in the Pre-Petition Collateral pursuant
                                to Sections 361, 363, and 364 of the Bankruptcy Code, and (iii) the granting
                                of continuing, valid, binding, enforceable, non-avoidable, and automatically
                                and properly perfected postpetition security interests in the DIP Collateral
                                (as defined below) to the DIP Lender, as security for the prompt payment
                                of the DIP Facility and all other obligations of the Debtor under the DIP
                                Loan Documents.

                   L.    Sections 506(c) and 552(b). In light of: (i) the DIP Lender’s agreement that its

        liens and superpriority claims shall be subject to the Carve-Out, (a) subject to the entry of a Final

        Order, the DIP Lender is entitled to a waiver of any “equities of the case” exception under Section

        552(b) of the Bankruptcy Code, and (ii) subject to the entry of a Final Financing Order, the DIP

        Lender is entitled to a waiver of the provisions of Section 506(c) of the Bankruptcy Code.

                   NOW, THEREFORE, upon the Motion and the record before this Court with respect to

        the Motion, including the record made during the Interim Hearing, and good and sufficient cause

        appearing therefor, IT IS ORDERED, ADJUDGED, AND DECREED that:

                         Motion Granted. The Motion is granted on an interim basis in accordance with the

        terms and conditions set forth in this Interim Order. Any objections to the Motion with respect to

        the entry of this Interim Order to the extent not withdrawn, waived, or otherwise resolved, and all

        reservation of rights included therein, are hereby denied and overruled.

                         DIP Facility.

                   (a)   The Debtor is expressly and immediately authorized to enter into the DIP Facility

        Documents and to incur the obligations thereunder and to perform in accordance with the DIP

        Facility in accordance with and subject to this Interim Order, the Interim DIP Budget, and the DIP

        Facility Documents, to enter into, execute and/or deliver all DIP Facility Documents and all other

        instruments, certificates, agreements and documents, and to take all actions, which may be

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        reasonably required or otherwise necessary for the performance by the Debtor under the DIP

        Facility Documents, including the creation and perfection of the DIP Liens described and provided

        for herein. The Debtor is hereby immediately authorized to borrow up to the interim amount of

        $1,300,000 plus the Roll Up Amount (as defined in the DIP Credit Agreement) of the total

        available $10,000,000 under the DIP Facility, which funds shall be used solely as expressly

        provided in this Interim Order and the Interim DIP Budget attached hereto as Exhibit “B.” The

        DIP Facility shall (i) be evidenced by the books and records of the DIP Lender, this Interim Order,

        and the DIP Facility Documents; (ii) bear interest and incur fees at the rates set forth in the DIP

        Facility Documents; (iii) be secured in the manner specified below and under the applicable DIP

        Facility Documents; (iv) be payable in accordance with the applicable DIP Facility Documents;

        and (v) otherwise be governed by the terms set forth in this Interim Order and the DIP Facility

        Documents.

                   (b)   The Debtor shall pay to the DIP Lender principal and interest as such payments

        come due as provided in the DIP Facility Documents and in accordance with the procedures set

        forth therein. In consideration of the financial accommodations made by the DIP Lender under this

        Order and the DIP Facility Documents, in accordance with Paragraph 3 of this Order and the

        Interim DIP Budget, the Debtor is hereby authorized, without further order of this Court and as set

        forth in the DIP Facility Documents, to pay to the DIP Lender all reasonable fees and charges

        provided for in the DIP Facility Documents.

                   (c)   Except as otherwise set forth in the DIP Facility Documents, the DIP Lender shall

        not have any obligation to make any loan or advance under the DIP Facility Documents, unless all

        of the conditions precedent to the making of such extensions of credit under the applicable DIP

        Facility Documents and this Interim Order have been satisfied in full or waived by the DIP Lender



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        in its respective sole discretion.

                   (d)   The DIP Facility Documents may from time to time be amended, modified, or

        supplemented by the parties thereto without notice or a hearing if: (a) the amendment,

        modification, or supplement is: (i) in accordance with the DIP Facility Documents; (ii) beneficial

        to the Debtor; (iii) not prejudicial in any material respect to the rights of third parties, and (iv) does

        not increase the amount of the DIP Facility or extend the “Termination Date” (as defined in the

        DIP Facility Documents); (b) the amendment, modification or supplement is filed with the Court,

        and (c) a copy (which may be provided through electronic mail or facsimile) of the substantially

        final amendment, modification or supplement is provided to the U.S. Trustee at least three (3) days

        (or such shorter period agreed to by the U.S. Trustee) prior to the effective date of such amendment,

        modification or supplement. Except as otherwise provided in this paragraph, no waiver,

        modification, or amendment of any of the provisions of any DIP Facility Documents shall be

        effective unless set forth in writing, signed on behalf of the Debtor, and with the necessary consents

        required under and executed in accordance with the DIP Facility Documents, and approved by the

        Court on notice.

                   (e)   To the extent that the terms of this Order, or a final order, conflict with the terms

        of the DIP Facility Documents, the terms of this Order or a final order will control.

                         Use of Cash Collateral. Subject to the terms and conditions of this Interim Order,

        the DIP Facility, and the DIP Facility Documents and in accordance with the Budget (subject to

        such variances as permitted in the DIP Facility Documents), the Debtor is authorized to use Cash

        Collateral until the Termination Date (as defined herein). Nothing in this Interim Order shall

        authorize the disposition of any assets of the Debtor or its estates outside the ordinary course of

        business or the Debtor’s use of any Cash Collateral or other proceeds resulting therefrom, except



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        as permitted in this Interim Order (subject to the Carve-Out), the DIP Facility, the DIP Facility

        Documents, and in accordance with the Budget (subject to such variances as permitted in the DIP

        Facility Documents).

                   (a)   Adequate Protection Liens. Pursuant to Sections 361, 363(e), and 364(d) of the

        Bankruptcy Code, as adequate protection of the interests of the Pre-Petition Lender against any

        Diminution in Value, the Debtor hereby grants to the Pre-Petition Lender a continuing, valid,

        binding, enforceable, and perfected postpetition security interests in and liens on all DIP Collateral

        (the “Adequate Protection Liens”).

                   (b)   Priority of Adequate Protection Liens. The Adequate Protection Liens shall be

        subject to the Carve-Out and shall otherwise be junior (in order of priority) only to the DIP Liens.

        The Adequate Protection Liens shall otherwise be senior to all other security interests in or liens

        on any of the Debtor’s assets.

                   (c)   Except as provided herein, the Adequate Protection Liens shall not be made subject

        to or pari passu with any lien or security interest heretofore or hereinafter in the Chapter 11 Case

        or any successor cases and shall be valid and enforceable against any trustee appointed in any of

        the Chapter 11 Case or any successor cases, or upon the dismissal of any of the Chapter 11 Case

        or successor cases. The Adequate Protection Liens shall not be subject to Sections 510, 549, or

        550 of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit of the estate

        pursuant to Section 551 of the Bankruptcy Code shall be pari passu with or senior to the Pre-

        Petition Liens or the Adequate Protection Liens.

                   (d)   Adequate Protection Superpriority Claim. Subject and subordinate to the Carve-

        Out as set forth in this Interim Order, as further adequate protection of the interests of the Pre-

        Petition Lender in the Prepetition Collateral against any Diminution in Value, the Pre-Petition



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        Lender is hereby granted as and to the extent provided by Section 507(b) of the Bankruptcy Code

        an allowed superpriority administrative expense claim in each of the Chapter 11 Case and any

        successor cases (the “Adequate Protection Superpriority Claim”).

                   (e)   Priority of the Adequate Protection Superpriority Claim. Except as set forth herein,

        the Adequate Protection Superpriority Claim shall have priority over all administrative expense

        claims and unsecured claims against the Debtor or its estate, now existing or hereafter arising, of

        any kind or nature whatsoever, including, without limitation, administrative expenses of the kinds

        specified in or ordered pursuant to Sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a), 506(c)

        (subject to entry of the Final Order), 507(b), 546(c), 546(d), 726, 1113 and 1114 of the Bankruptcy

        Code; provided, however, that the Adequate Protection Superpriority Claim shall be subject to the

        Carve-Out as set forth in this Interim Order and junior to the DIP Claim, and subject the lien

        priorities set forth herein.

                         Adequate Protection Reservation. Subject to the Carve-Out as set forth in this

        Interim Order, nothing herein shall impair or modify the application of Section 507(b) of the

        Bankruptcy Code in the event that the adequate protection provided hereunder to the Prepetition

        Lender is insufficient to compensate for any diminution in value of its interest in the Pre-Petition

        Collateral. The receipt by the Pre-Petition Lender of the adequate protection provided herein shall

        not be deemed an admission that the interests of the Pre-Petition Lender are adequately protected.

        Further, this Interim Order shall not prejudice or limit the rights of the Pre-Petition Lender to seek

        additional relief with respect to the use of Cash Collateral or for additional adequate protection in

        a manner consistent with the Pre-Petition Credit Documents, and all parties-in-interests’ rights are

        reserved with respect thereto.




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                       Budget Maintenance. The use of borrowings under the DIP Facility and Cash

        Collateral shall be in accordance with the Budget depicting on a weekly basis, cash revenues,

        receipts, expenses and disbursements, net cash flows, inventory receipts and other items set forth

        therein, for the first thirteen (13) week period following the Effective Date (as defined in the DIP

        Facility Documents) which shall be in form and substance satisfactory to, and approved by the

        DIP Lender in its sole discretion prior to the Effective Date. The Budget shall be updated by the

        Debtor (with the consent and/or at the reasonable request of the DIP Lender) from time to time in

        accordance with the DIP Facility Documents. No such updated, modified, or supplemented budget

        shall be effective until so approved (which approval shall be deemed given unless the DIP Lender

        objects in writing (for which email shall suffice) to Debtor’s counsel within five (5) business days

        following actual receipt thereof), and once approved, shall thereafter be deemed the “Budget”;

        provided, however, that in the event that the DIP Lender and the Debtor cannot agree as to an

        updated, modified or supplemented budget, the prior approved Budget shall continue in effect for

        this Chapter 11 Case, and such disagreement shall give rise to an Event of Default under the DIP

        Credit Agreement and this Interim Order once the period covered by the prior approved Budget

        has terminated. A copy of any Budget (or updated Budget) shall be delivered to counsel for a

        Committee (if appointed) and the U.S. Trustee after (or if) it has been approved by the DIP Lender.

                       Budget Compliance. The Debtor shall at all times comply with the Budget, subject

        to the variances set forth in the DIP Credit Agreement. The Debtor shall provide all reports and

        other information as required in the DIP Credit Agreement (subject to the applicable grace periods

        provided therein). The Debtor’s failure to comply with the Budget (including the variances set

        forth in the DIP Credit Agreement and in this Interim Order) or to provide the reports and other

        information required in the DIP Credit Agreement and this Interim Order shall constitute an Event



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        of Default (as defined herein) following the expiration of any applicable cure period set forth in

        the DIP Credit Agreement or in this Interim Order.

                       (i)     By no later than 5:00 p.m. (prevailing Eastern Time) on November 30, 2023

        and every second Thursday thereafter, the Debtors shall deliver to the DIP Lender a variance report

        (in substantially the same format as the Budget) showing actual cash receipts, disbursements and

        other applicable information for the immediately preceding calendar week (ending on the

        immediately preceding Friday) noting therein all variances and including explanations for all such

        variances, on a line-item basis, from values set forth for such period(s) in the Budget or the most

        current Budget, as applicable (each, a “Variance Report”), provided, that each Variance Report

        delivered on a Testing Date (as defined herein) shall include a cumulative variance report (in

        substantially the same format as the Initial Approved Budget) showing actual cash receipts,

        disbursements and other applicable information for the immediately preceding week period

        (ending on the immediately preceding Friday) (the “Budget Period;” provided, that for the first

        four weeks following the Petition Date, the Budget Period shall begin on the Petition Date and end

        on the Testing Date), noting therein all variances and including explanations for all such variances,

        on a line-item and aggregate basis, from values set forth for such period(s) in the most current

        approved Budget.

                       (ii)    Budget Covenants. The permitted variances listed below (collectively, the

        “Permitted Variances”) shall be tested on a rolling four-week basis, which shall first be reported

        on November 30, 2023, and on the Thursday of every second week thereafter (with respect to the

        immediately preceding Budget Period) (each such date, a “Testing Date”). The budget-related

        covenants under this Section 6(d) are collectively referred to herein as the “Budget Covenants”.




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                       Modification of the Automatic Stay. The automatic stay provisions of Section 362

        of the Bankruptcy Code and any other restriction imposed by order of the Court or applicable law

        are hereby modified without further notice, application, or order of the Court, but only to the extent

        necessary to permit the DIP Lender, subject in all respects to the DIP Facility Documents and this

        Interim Order, to perform any act authorized or permitted under or by virtue of this Interim Order:

        (i) to implement the DIP Facility authorized by this Interim Order and pursuant to the terms of the

        DIP Facility Documents; (ii) to take any act reasonably necessary to create, validate, evidence,

        attach, or perfect any DIP Lien, security interest, right, or claim in the DIP Collateral, and (iii)

        authorize the Debtor to pay, and the DIP Lender to retain and apply, payments made in accordance

        with the terms of this Interim Order. For the avoidance of doubt, upon the occurrence of an Event

        of Default and in the event the automatic stay has not otherwise terminated as it relates to the DIP

        Lender, the DIP Lender shall seek relief from the Court, which shall be heard on an emergency

        basis (which basis is agreed upon in advance by the Debtor) prior to taking any act otherwise

        prohibited by the automatic stay pursuant to section 362(a) of the Bankruptcy Code.

                       DIP Lender’s Fees and Expenses. Without duplication of amounts required to be

        paid pursuant to the DIP Facility Documents, upon entry of this Interim Order, the Debtor shall

        pay in cash all fees, expenses, and disbursements payable to the DIP Lender. The post-petition

        payment of the fees, expenses, and disbursements set forth in the foregoing sentence shall be made

        within ten (10) days (which time period may be extended by the applicable professional in its sole

        discretion) upon the receipt by the Debtor, the creditors’ committee (if any) and the U.S. Trustee

        (the “Review Period”) of invoices therefor (the “Invoiced Fees”) and without the necessity of filing

        formal fee applications, including such amounts arising before or after the Petition Date. The

        invoices for such Invoiced Fees shall include (i) a summary of the work performed during the



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        relevant compensation period; (ii) the name of, hourly rate (if applicable) of, and number of hours

        worked by each professional and paraprofessional who worked on the matter during the relevant

        compensaton period; and (iii) the total fee amount being requested. The Debtor, the Committee

        (if any), and the U.S. Trustee may object to any portion of the Invoiced Fees within the Review

        Period by written notice to the applicable professional or by filing with the Court a motion or other

        pleading, on at least ten (10) days prior written notice to the applicable DIP Lender and the

        applicable professional of any hearing on such motion or other pleading, setting forth the specific

        objections to the disputed Invoiced Fees in reasonable narrative detail and the bases for such

        objections; provided, that payment of any undisputed portion of Invoiced Fees shall be paid within

        the time frame set forth above and shall not be delayed based on any objections thereto; provided,

        further, that the applicable parties shall endeavor in good faith to consensually resolve any dispute

        prior to the filing of any such motion or pleading.

                       DIP Superpriority Claims. Subject and subordinate to the Carve-Out as set forth in

        this Interim Order, upon entry of this Interim Order, the DIP Lender is hereby granted, pursuant to

        Section 364(c)(1) of the Bankruptcy Code, allowed superpriority administrative expense claims in

        the Chapter 11 Case and any successor cases (collectively, the “DIP Superpriority Claims”) for all

        DIP Obligations. Except as set forth herein, the DIP Superpriority Claims shall have priority over

        any and all other obligations, liabilities, and indebtedness of each Debtor other than the Carve-

        Out, including without limitation any and all administrative expense claims and unsecured claims

        against the Debtor or its estate in the Chapter 11 Case and any successor cases, at any time existing

        or arising, of any kind or nature whatsoever, including, without limitation, administrative expenses

        of the kinds specified in or ordered pursuant to Sections 105, 326, 328, 330, 331, 364, 503(a),

        503(b), 507(a), 507(b), 546(c) (subject to entry of a Final Order), 546(d), 726, 1113 and 1114 of



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        the Bankruptcy Code, and any other provision of the Bankruptcy Code, as provided under Section

        364(c)(1) of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit of the

        estate pursuant to Section 551 of the Bankruptcy Code shall be pari passu with or senior to the

        DIP Superpriority Claims.

                         DIP Liens.

                   (a)   As security for the full and timely payment of the DIP Facility, subject to the Carve-

        Out, the DIP Lender is hereby granted, pursuant to Sections 364(c)(2), (c)(3), and (d)(1) of the

        Bankruptcy Code, a first priority, senior, perfected priming lien upon the DIP Collateral (defined

        below), which liens shall constitute valid, enforceable, non-avoidable, fully perfected, and first-

        priority security interests in and liens upon all DIP Collateral (the “DIP Liens”). The DIP Liens

        securing the DIP Obligations are valid, automatically perfected, non-avoidable, senior in priority,

        and superior to any security, mortgage, collateral interest, lien, or claim to any of the DIP

        Collateral, except that the DIP Liens shall be subject to the Carve-Out as set forth in this Interim

        Order and shall otherwise be junior only to Permitted Prior Liens. Other than as set forth herein or

        in the DIP Facility Documents, the DIP Liens shall not be made subject to or pari passu with any

        lien or security interest heretofore or hereinafter granted in the Chapter 11 Case or any successor

        cases and shall be valid and enforceable against any trustee appointed in the Chapter 11 Case or

        any successor cases, upon the conversion of any of the Chapter 11 Case to a case under Chapter 7

        of the Bankruptcy Code (or in any other successor case), and/or upon the dismissal of any of the

        Chapter 11 Case or successor cases. The DIP Liens shall not be subject to Sections 510, 549, or

        550 of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit of the estate

        pursuant to Section 551 of the Bankruptcy Code shall be pari passu with or senior to the DIP

        Liens.



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                   (b)   Subject to the Carve-Out, “DIP Collateral” shall mean the Debtor’s right, title, and

        interest in and to the following, whether now owned or hereafter created, acquired or arising, and

        wherever located:


                         (i)     all Accounts (including healthcare insurance receivables) and related
                                 property;

                         (ii)    all of the Debtor’s deposit accounts;

                         (iii)   all books and records, whether or not related to any Collateral;

                         (iv)    all other personal property and fixtures of Debtor, including all goods,
                                 inventory, Equipment, furniture, fixtures, General Intangibles (including,
                                 without limitation, payment intangibles and software), chattel paper
                                 (whether tangible or electronic), supporting obligations, investment
                                 property, financial assets, documents, instruments (including any
                                 promissory notes), securities, securities accounts, contract rights or rights
                                 to payment of money, leases, permits, license agreements, franchise
                                 agreements, commercial tort claims, stock in direct and indirect
                                 subsidiaries, machinery, cash, letter-of-credit rights (whether or not the
                                 letter of credit is evidenced by a writing), Intellectual Property, copyrights,
                                 trademarks, patents, and tradestyles, and

                         (v)     any and all claims, rights, and interests in any of the above and all
                                 substitutions for, additions, attachments, accessories, accessions, and
                                 improvements to Superpriority Debtor-in-Possession Credit and Security
                                 Agreement, and replacements, products, proceeds, and insurance proceeds
                                 of any or all of the foregoing.

                   (c)   Except as expressly permitted in the respective DIP Facility Documents or this

        Interim Order, and absent full payment and satisfaction of all obligations of the Debtor under the

        DIP Facility, the Debtor shall not (i) grant or impose any liens on the DIP Collateral or (ii) except

        as permitted in the respective DIP Facility Documents, prime or seek to prime the DIP Liens and

        shall not offer any other parties any lien on the DIP Collateral. In addition, the Debtor shall not

        incur, create, assume, become, or be liable in any manner with respect to, or permit to exist, any

        secured indebtedness, except as expressly permitted under the DIP Facility Documents and the

        Budget, and this Interim Order.


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                   (d)   Subject to the Carve-Out, the DIP Liens shall not be subject to Sections 510, 549,

        or 550 of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit of any

        estate pursuant to Section 551 of the Bankruptcy Code shall be made pari passu with or senior to

        the DIP Liens.

                         Collateral Covenants. The Debtor shall not sell, transfer, lease, encumber, or

        otherwise dispose of any portion of the DIP Collateral except in the ordinary course of business

        and other than as permitted in the DIP Facility Documents without the prior written order of the

        Bankruptcy Court and no such consent shall be implied from any other action, inaction or

        acquiescence by the DIP Lender or an order of this Court.

                         Carve Out. Notwithstanding anything in this Interim Order, the DIP Facility

        Documents, or any other order of this Court to the contrary, all claims and liens granted hereunder

        to or for the benefit of the DIP Lender, including the DIP Superpriority Claims and the DIP Liens,

        shall be subject to payment of the Carve-Out. As used in this Interim Order and the DIP Credit

        Agreement, the term “Carve-Out” means the (i) amounts payable pursuant to 28 U.S.C.

        § 1930(a)(6) and any fees payable to the Clerk of the Bankruptcy Court, plus interest thereon; (ii)

        the amounts payable to Forshey & Prostok, LLP (“Forshey Prostok”) as Debtor’s bankruptcy

        counsel pursuant to Sections 327, 328 and 503(b), in an amount not to exceed $800,000 (plus any

        amount held by Forshey Prostok as a prepetition retainer); and (iii) the amounts payable to

        professionals other than Forshey Prostok employed at the expense of the Debtor’s estate of this

        Chapter 11 Case pursuant to Sections 327, 328, 503(b), or 1103 of the Bankruptcy Code, in an

        amount not to exceed $200,000 (which amount has been fully funded as a prepetition retainer), or

        as otherwise provided in an approved Budget.




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                       Termination of DIP Financing. The Debtor’s authorization to use the DIP Facility

        shall immediately terminate upon the occurrence of a “Termination Event”, which shall mean the

        earliest to occur of (i) 30 days after the entry of this Interim Order (unless a Final Order approved

        by the DIP Lender has been entered as of such date); (ii) the expiration of five (5) business days

        (the “Default Notice Period”) following the provision of written notice to the Debtor (with a copy

        of such notice provided to counsel for the Debtor and the U.S. Trustee) upon the occurrence of an

        Event of Default (as defined in the DIP Facility Documents) and such Event of Default remains

        uncured at the expiration of such Default Notice Period unless the Bankruptcy Court determines

        no such Event of Default has occurred following the filing of a motion or proceeding during such

        Default Notice Period requesting such a determination; (iii) the occurrence of a Maturity Date as

        that term is defined in the DIP Facility Documents, and (d) the date on which neither this Interim

        Order nor the Final Order is in full force and effect. The DIP Lender shall have no further

        obligation to fund hereunder if a Chapter 11 trustee is appointed or an examiner with enlarged

        powers is appointed.

                       Perfection of Liens. This Interim Order shall be sufficient and conclusive evidence

        of the creation, validity, perfection, and priority of the DIP Liens without the necessity of

        executing, filing, or recording any mortgage, security agreement, pledge agreement, financing

        statement, or other instrument or document, or the taking of any other act that otherwise may be

        required under state or federal law, rule, or regulation of any jurisdiction to validate or perfect the

        DIP Liens or to entitle the DIP Lender to the priorities granted herein. The Debtor may execute,

        and the DIP Lender is hereby authorized to execute, file, and/or record mortgages, security

        agreements, pledge agreements, financing statements, and/or other instruments or documents to

        evidence the DIP Liens, and the Debtor is hereby authorized, promptly upon a demand by the DIP



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        Lender made in accordance with the terms of the DIP Facility Documents, to execute, file, and/or

        record any such mortgages, security agreements, pledge agreements, financing statements, or other

        instruments or documents as the DIP Lender may request; provided, however, that no such

        execution, filing, or recordation shall be necessary or required in order to create or perfect the DIP

        Liens, and further, if the DIP Lender, in its sole discretion, shall choose to execute, file, and/or

        record such mortgages, security agreements, pledge agreements, financing statements, or other

        instruments or documents, or otherwise confirm perfection of such DIP Liens, all such instruments

        and documents shall be deemed to have been filed or recorded as of the Petition Date. A copy of

        this Interim Order may, at the discretion of the DIP Lender, be filed with or recorded in any filing

        or recording office in addition to or in lieu of such mortgages, security agreements, pledge

        agreements, financing statements, or other instruments or documents, and each and every federal,

        state, and local governmental agency, department, or office is hereby directed to accept a copy of

        this Interim Order and any and all documents and instruments necessary and appropriate to

        consummate the transactions contemplated by this Interim Order and the DIP Facility Documents,

        for filing and recording, and to deem this Interim Order to be in proper form for filing and

        recording. Notwithstanding the foregoing, pursuant to any applicable law, the DIP Lender is

        hereby authorized (but not required) to file or record financing statements and other filing or

        recording documents or instruments with respect to the DIP Collateral and DIP Liens as applicable,

        without the Debtor’s signature in such form and in such offices as the DIP Lender determines

        appropriate to perfect the security interests of the DIP Lender under the DIP Facility Documents

        and this Interim Order, and the DIP Lender is authorized to use collateral descriptions such as “all

        personal property” or “all assets,” in each case “whether now owned or hereafter acquired,” words




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        of similar import or any other description the DIP Lender so choose in any such financing

        statements.

                       Limitation of Liability. In determining to extend credit under the DIP Facility, or

        in exercising any rights or remedies pursuant to this Interim Order and the DIP Facility Documents,

        the DIP Lender shall not be deemed to be in control of the Debtor’s operations or to be acting as a

        “responsible person” or “owner or operator” with respect to the operation or management of the

        Debtor (as such terms, or any similar terms, are used in the United States Comprehensive

        Environmental Response, Compensation and Liability Act, 29 U.S.C. §§ 9601, et seq., as

        amended, or any similar federal or state statute).

                       Collateral Rights. Except as expressly permitted in this Interim Order and the DIP

        Facility Documents, in the event that any person or entity that holds a lien or security interest in

        DIP Collateral that is junior or subordinate to the DIP Liens in such DIP Collateral receives or is

        paid the proceeds of such DIP Collateral, or receives any other payment with respect thereto from

        any other source, prior to payment in full and in cash and the complete satisfaction of the DIP

        Facility, such junior or subordinate lienholder shall be deemed to have received, and shall hold,

        the proceeds of any such DIP Collateral in trust for the DIP Lender, and shall immediately turnover

        such proceeds to the DIP Lender for application in accordance with this Interim Order and the DIP

        Facility Documents.

                       Credit Bidding. In connection with any sale process authorized by the Court, (i)

        the DIP Lender and (ii) subject to entry of a Final Order, the DIP Lender or any assignee or

        designee of any of the foregoing, shall be authorized to credit bid, consistent with the applicable

        DIP Facility Documents and/or Pre-Petition Credit Documents, some or all of its claims for its

        respective priority collateral (each a “Credit Bid”) pursuant to Section 363(k) of the Bankruptcy



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        Code. Subject to entry of a Final Order, the DIP Lender and the Pre-Petition Lender shall be

        deemed a “Qualified Bidder” with respect to its rights to acquire all or any of the assets by Credit

        Bid

                       Survival of Interim Order. The provisions of this Interim Order and any actions

        taken pursuant hereto (a) shall survive the entry of any order: (i) confirming any chapter 11 plan

        in this Chapter 11 Case; (ii) converting the Chapter 11 Case to a successor case, or (iii) dismissing

        the Chapter 11 Case, and (b) shall continue in full force and effect notwithstanding the entry of

        any such order, and the claims, liens, and security interests granted pursuant to this Interim Order

        shall maintain its priority as provided by this Interim Order until all of the DIP Facility approved

        hereunder are indefeasibly paid in full and discharged in accordance with this Interim Order and

        the DIP Facility Documents.

                       Effect of Stipulations on Third Parties.

                                       Generally. The admissions, stipulations, agreements, releases, and

        waivers set forth in Paragraph J of this Interim Order (collectively, the “Pre-Petition Stipulations”)

        are and shall be binding on the Debtor, any subsequent trustee, responsible person, examiner with

        expanded powers, any other estate representative, and all creditors and parties-in-interest and all

        of its successors in interest and assigns, including, without limitation, a Committee (if appointed),

        unless, and solely to the extent that, a party-in-interest with standing (other than the Debtor, as to

        which any Challenge (as defined herein) is irrevocably waived and relinquished) (i) has timely

        filed the pleadings, and timely commenced the proceeding required under the Bankruptcy Code,

        Bankruptcy Rules and Local Bankruptcy Rules challenging the Pre-Petition Stipulations (each

        such proceeding or pleading commencing a proceeding or other contested matter, a “Challenge”)

        by no later than (A) for a Committee, (if appointed), sixty (60) days from the date of formation of



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        a Committee (if appointed), or (B) seventy-five (75) days following the entry of the Interim Order

        for any other party in interest with derivative standing (the earlier to occur of (A) and (B), the

        “Challenge Deadline”), as such applicable date may be extended in writing from time to time in

        the sole discretion of the Pre-Petition Lender (with respect to the Pre-Petition Credit Documents),

        or by this Court for good cause shown pursuant to an application filed by a party-in-interest prior

        to the expiration of the Challenge Deadline, and (ii) this Court enters judgment in favor of the

        plaintiff or movant in any such timely commenced Challenge proceeding and any such judgment

        has become a final judgment that is not subject to any further review or appeal. Notwithstanding

        the foregoing, if a chapter 11 trustee is appointed or the Chapter 11 Case is converted to chapter 7

        prior to the expiration of the Challenge Deadline, (i) the chapter 11 trustee or chapter 7 trustee, as

        applicable, shall have until the later of the Challenge Deadline or the tenth (10th) day after the

        appointment of the chapter 11 trustee or the conversion of the Chapter 11 Case to chapter 7, as

        applicable, to commence a Challenge, subject to any further extension by order of the Court for

        cause, and (ii) if the Committee has asserted a Challenge prior to the Challenge Deadline, the

        chapter 11 trustee or chapter 7 trustee will stand in the shoes of the Committee in such Challenge.

                                       Binding Effect. To the extent no Challenge is timely commenced by

        the Challenge Deadline, or to the extent such proceeding does not result in a final and non-

        appealable judgment or order of this Court that is inconsistent with the Pre-Petition Stipulations,

        then, without further notice, motion, or application to, order of, or hearing before, this Court and

        without the need or requirement to file any proof of claim, the Pre-Petition Stipulations shall,

        pursuant to this Interim Order, become binding, conclusive, and final on any person, entity, or

        party in interest in the Chapter 11 Case, and its successors and assigns, and in any successor case

        for all purposes and shall not be subject to challenge or objection by any party-in-interest,



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        including, without limitation, a trustee, responsible individual, examiner with expanded powers,

        or other representative of the Debtor’s estate. Notwithstanding anything to the contrary herein, if

        any such proceeding is timely commenced, the Pre-Petition Stipulations shall nonetheless remain

        binding on all other parties-in-interest and preclusive as provided in subparagraph (a) above except

        to the extent that any Pre-Petition Stipulations are expressly the subject of a timely filed Challenge,

        which Challenge is successful as set forth in a final judgment as provided in subparagraph (a)

        above. To the extent any such Challenge proceeding is timely commenced, the Pre-Petition Lender

        shall be entitled to payment of the reasonable and documented related costs and expenses,

        including, but not limited to, reasonable and documented attorneys’ fees, incurred under the Pre-

        Petition Credit Documents in defending themselves in any such proceeding as adequate protection.

        Upon a successful Challenge brought pursuant to this paragraph, the Court may fashion any

        appropriate remedy. If, as a result of any successful Challenge, the Pre-Petition Lender is required

        to disgorge, turn over, or otherwise pay to the estate of the Debtor any amount with the effect that

        the claim of such Pre-Petition Lender is reinstated as a Pre-Petition Obligation, such amount so

        paid to the Debtor shall be immediately paid to the DIP Lender for application and payment of the

        DIP Obligations.

                       Cash Collection. From and after the date of the entry of this Interim Order, all

        collections and proceeds of any DIP Collateral or services provided by Debtor and all Cash

        Collateral that shall at any time come into the possession, custody, or control of Debtor, or to

        which Debtor is now or shall become entitled at any time, shall be promptly deposited in the same

        lock-box and/or deposit accounts into which the collections and proceeds of the Pre-Petition

        Collateral were deposited under the Pre-Petition Credit Documents (or in such other accounts as

        are designated by the DIP Lender from time to time) (collectively, the “Cash Collection



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        Accounts”), which accounts (except as otherwise set forth in the DIP Credit Agreement) shall be

        subject to the sole dominion and control of the DIP Lender. All proceeds and other amounts in the

        Cash Collection Accounts shall be remitted to the DIP Lender for application in accordance with

        the DIP Facility Documents and this Interim Order. Unless otherwise agreed to in writing by the

        DIP Lender, or otherwise provided for herein, the Debtor shall maintain no accounts except those

        identified in any cash management order entered by the Court (a “Cash Management Order”). The

        Debtor and the financial institutions where the Debtor’s Cash Collection Accounts are maintained

        (including those accounts identified in any Cash Management Order) are authorized and directed

        to remit, without offset or deduction, funds in such Cash Collection Accounts upon receipt of any

        direction to that effect from the DIP Lender.

                       No Third-Party Rights. Except as explicitly provided for herein, this Interim Order

        does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,

        indirect, or incidental beneficiary.

                       Subsequent Reversal or Modification. This Interim Order is entered pursuant to,

        inter alia, Section 364 of the Bankruptcy Code and Bankruptcy Rules 4001(b) and (c), granting

        the DIP Lender all protections afforded by Section 364(e) of the Bankruptcy Code. If any or all of

        the provisions of this Interim Order are hereafter reversed, modified, vacated, or stayed, that action

        will not affect (i) the validity of any obligation, indebtedness, or liability incurred hereunder by

        the Debtor to the DIP Lender, or (ii) the validity and enforceability of any lien, claim, obligation,

        or priority authorized or created under this Interim Order or pursuant to the DIP Facility

        Documents as of such date. Notwithstanding any such reversal, stay, modification, or vacatur, any

        postpetition indebtedness, obligation, or liability incurred by the Debtor to the DIP Lender, prior

        to written notice being delivered to the DIP Lender, of the effective date of such action, shall be



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        governed in all respects by the original provisions of this Interim Order, and the DIP Lender shall

        be entitled to all the rights, remedies, privileges, and benefits granted herein and in the DIP Facility

        Documents with respect to all such indebtedness, obligations, or liability.

                        No Waiver. This Interim Order shall not be construed in any way as a waiver or

        relinquishment of any rights that the DIP Lender may have to bring or be heard on any matter

        brought before this Court.

                        Binding Effect; Successors and Assigns. Except as otherwise provided in the DIP

        Facility Documents, the provisions of this Interim Order shall be binding upon and inure to the

        benefit of the DIP Lender, the Debtor, and their respective successors and assigns (including any

        trustee or fiduciary hereafter appointed or elected as a legal representative of the Debtor, its estate,

        or with respect to the property of its estate) whether in this Chapter 11 Case, in any successor case,

        or upon dismissal of any this Chapter 11 Case or successor case; provided, however, that the DIP

        Lender shall have no obligation to extend any financing to, or permit the use of cash collateral or

        DIP Collateral by, any chapter 7 or chapter 11 trustee or similar representative person appointed

        for the Debtor’s estate.

                        Indemnification.

                   a)   The DIP Lender has acted in good faith, and without negligence or violation of

        public policy or law, in respect of all actions taken by them in connection with or related in any

        way to negotiating, implementing, documenting, or obtaining the requisite approvals of the DIP

        Facility, including in respect of the granting of the DIP Liens and the Adequate Protection Liens,

        any challenges or objections to the DIP Facility, and all documents related to any and all

        transactions contemplated by the foregoing. Accordingly, the Pre-Petition Lender and the DIP

        Lender, and, solely in their capacities as such, each of their respective successors, assigns, affiliates



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        parents, subsidiaries, partners, controlling persons, representatives, agents, attorneys, advisors,

        financial advisors, consultants, professionals, officers, directors, members, managers, heirs,

        predecessors, successors, and assigns, shall be and hereby are indemnified and held harmless by

        the Debtor in respect of any claim or liability incurred in respect thereof or in any way related

        thereto, provided that no such parties will be indemnified for any cost, expense, or liability to the

        extent determined in a final, non-appealable judgment of a court of competent jurisdiction to have

        resulted primarily from such parties’ gross negligence or willful misconduct. Except as provided

        herein, no exception or defense exists in contract, law, or equity as to any obligation set forth, as

        the case may be, in this Paragraph 25, in the Pre-Petition Credit Documents, or in the DIP Loan

        Documents, to the Debtor’s obligation to indemnify and/or hold harmless the Pre-Petition Lender,

        or the DIP Lender, as the case may be.

                       No Proof of Claim. The DIP Lender shall not be required to file proofs of claim in

        this Chapter 11 Case or any successor case in order to maintain its respective claims with respect

        to the DIP Facility, all of which shall be due and payable in accordance with this Interim Order,

        and the DIP Facility Documents, without the necessity of filing any such proof of claim; the

        statements of claim in respect of the respective DIP Facility set forth in this Interim Order, together

        with the evidence accompanying the Motion, and presented at the Interim Hearing, are deemed

        sufficient to and do constitute proofs of claim in respect of such obligations and such secured

        status.

                       Monitoring of Collateral. The DIP Lender and its consultants and advisors shall be

        given reasonable access to the Debtor’s books, records, assets, and properties.

                       Section 506(c) Claims. Subject to entry of a Final Financing Order, no costs or

        expenses of administration which have been or may be incurred in the Chapter 11 Case at any time



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        shall be charged against the DIP Lender or the Pre-Petition Lender, or any of their respective

        claims, the DIP Collateral, or the Pre-Petition Collateral pursuant to Sections 105 or 506(c) of the

        Bankruptcy Code, or otherwise, without the prior written consent of the DIP Lender, or the Pre-

        Petition Lender, as applicable, and no such consent shall be implied from any other action,

        inaction, or acquiescence by any such agents or lenders.

                       Section 552(b). Subject to entry of a Final Financing Order, the Pre-Petition Lender

        shall be entitled to all of the rights and benefits of Section 552(b) of the Bankruptcy Code, and the

        “equities of the case” exception under Section 552(b) of the Bankruptcy Code shall not apply to

        the Prepetition Lender, with respect to proceeds, product, offspring or profits of any of the Pre-

        Petition Collateral.

                       Order Effective Immediately. Notwithstanding Bankruptcy Rules 4001(a)(3),

        6004(h), 6006(d), 7062, 9024, or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules

        of Civil Procedure, this Interim Order shall be immediately effective and enforceable upon its

        entry, and there shall be no stay of execution or effectiveness of this Interim Order.

                       Final Hearing. The Debtor will file a proposed final order and Budget by ___, 2023.

        Pursuant to Bankruptcy Rule 4001(d)(2), any objection to the entry of a Final Order on the Motion

        must be filed on or before ___, 2023 (the “Objection Deadline”). Objections shall be in writing

        and shall be filed with the Clerk of the Bankruptcy Court so that any such objections are received

        on or before the Objection Deadline. The Final Hearing to consider entry of the Final Order and

        final approval of the DIP Facility is scheduled for _____, 2023, at __:__ __ __m at room [__], U.S.

        Courthouse, 501 W. Tenth Street, Fort Worth, Texas 76102 and through the Court’s Cisco WebEx

        Meeting application at [__].




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                                  Service of this Interim Order. Within five (5) business days upon entry of this

        Interim Order, the Debtor shall serve, by United States mail, first-class postage prepaid, notice of

        the entry of this Interim Order and of the Final Hearing (the “Final Hearing Notice”), together with

        copies of this Interim Order and the Motion, on all creditors and parties in interest included on the

        Creditor Matrix filed in this Chapter 11 Case.

                                  Retention of Jurisdiction. The Bankruptcy Court has and will retain jurisdiction to

        interpret and enforce this Interim Order according to its terms.


                                                                      ### END OF ORDER ###

        Order Submitted By:

        [__]
        L:\JPROSTOK\Lion Star Nacogdoches Hospital, LLC #6429\Pleadings\Proposed Interim Order FP 11.19.23 3 pm.docx




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                       Exhibit A to Interim Order
                       DIP CREDIT AGREEMENT


                               See Exhibit B
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Nacogdoches Memorial Hospital
13 Week Cash Flow Projection
Sunday, November 19, 2023




              Week Ending           11/24/23        12/01/23       12/08/23      12/15/23        12/22/23       12/29/23      01/05/24      01/12/24       01/19/24      01/26/24        02/02/24      02/09/24        02/16/24

Beginning Cash                  $         ‐     $         ‐    $       1,800 $      11,800 $        61,800 $       39,800 $     109,800 $       1,600 $       21,600 $      88,600 $       126,600 $      13,400 $       198,400


Draws                           $ 1,825,000 $ 1,250,000 $ 2,425,000 $              800,000 $ 1,750,000 $ 1,000,000 $ 1,855,000 $              800,000 $ 1,700,000 $ 1,000,000 $ 1,725,000 $ 1,000,000 $ 1,500,000

Total Cash Inflow               $ 1,825,000 $ 1,250,000 $ 2,425,000 $              800,000 $ 1,750,000 $ 1,000,000 $ 1,855,000 $              800,000 $ 1,700,000 $ 1,000,000 $ 1,725,000 $ 1,000,000 $ 1,500,000

Salaries & Wages                $ 1,150,000                   $ 1,150,000                  $ 1,150,000                    $ 1,050,000                 $ 1,050,000                  $ 1,050,000                     $ 1,050,000
Benefits                        $   155,000 $         155,000 $   155,000 $        155,000 $   155,000 $          155,000 $   155,000 $       155,000 $   155,000 $        155,000 $   155,000 $         155,000   $   155,000
Insurance                       $    42,000                   $    35,000                  $    42,000                    $    35,000                             $         42,000             $          35,000
Contract Labor                  $    25,000 $          25,000 $    25,000 $         25,000 $    25,000 $           25,000 $    25,000 $        25,000 $    25,000 $         25,000 $    25,000 $          25,000   $      25,000
Physician Payroll                           $         350,000             $        170,000             $          350,000             $       170,000             $        350,000             $         170,000
Supplies                        $   140,000 $         140,000 $   140,000 $        140,000 $   140,000 $          140,000 $   130,000 $       130,000 $   130,000 $        130,000 $   130,000 $         130,000   $     130,000
Physician Fees                  $    60,000 $          60,000 $    60,000 $         60,000 $    60,000 $           60,000 $    60,000 $        60,000 $    60,000 $         60,000 $    60,000 $          50,000   $      50,000
Purchased Services              $    50,000 $          50,000 $    50,000 $         50,000 $    50,000 $           50,000 $    45,000 $        45,000 $    45,000 $         45,000 $    45,000 $          45,000   $      45,000
Equipment Rent                                                $    50,000                                                                      50,000                                          $          50,000
Building Rent                                 $        64,200                                                             $      64,200                                            $    64,200
Repairs & Maintenance           $      50,000 $        50,000 $    50,000 $         50,000 $        50,000 $       50,000 $      50,000 $      50,000 $       50,000 $      50,000 $    50,000 $          50,000 $        50,000
Marketing
Utilities                       $      40,000 $        40,000 $       40,000 $      40,000 $        40,000 $       40,000 $      40,000 $      40,000 $       40,000 $      40,000 $        40,000 $      40,000 $        40,000
Other Operating                 $      40,000 $        40,000 $       40,000 $      40,000 $        40,000 $       40,000 $      35,000 $      35,000 $       35,000 $      35,000 $        35,000 $      35,000 $        35,000
Property Taxes
Interest Payments               $      20,000 $        20,000 $       20,000 $      20,000 $        20,000 $       20,000 $      20,000 $      20,000 $       20,000 $      20,000 $        20,000 $      20,000 $        20,000
ER                                            $       254,000                                                             $     254,000                                            $       154,000
UC/Chirp Fees/LPPF                                            $      600,000
Patient Refunds                 $      10,000 $        10,000 $       10,000 $      10,000 $        10,000 $       10,000 $      10,000 $      10,000 $       10,000 $      10,000 $        10,000 $      10,000 $        10,000
Fixed Assets
Travel Expenses                 $      13,000                                                $      13,000                                             $      13,000                                               $      13,000
Deposits                                                                     $     (100,000) $     100,000
DIP Fees                        $      30,000 $        50,000 $       50,000 $       50,000 $       25,000 $       25,000 $      25,000 $      25,000 $       25,000 $      25,000 $        25,000 $      25,000 $        25,000
Trustee Fees                                                                                                                                          $      144,000
Legal/Professional                                                                                          $     200,000                                                            $     200,000

Total Cash Outlays              $ 1,825,000 $ 1,248,200 $ 2,415,000 $              750,000 $ 1,772,000 $          930,000 $ 1,963,200 $       780,000 $ 1,633,000 $        962,000 $ 1,838,200 $         815,000 $ 1,623,000
Net Change in Cash              $       ‐   $     1,800 $    10,000 $               50,000 $   (22,000) $          70,000 $ (108,200) $        20,000 $    67,000 $         38,000 $ (113,200) $         185,000 $ (123,000)

Ending Cash                     $         ‐     $       1,800 $       11,800 $      61,800 $        39,800 $      109,800 $       1,600 $      21,600 $       88,600 $     126,600 $        13,400 $     198,400 $        75,400
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                       SUPERPRIORITY DEBTOR-IN-POSSESSION
                         CREDIT AND SECURITY AGREEMENT


                                         between



                      LION STAR NACOGDOCHES HOSPITAL, LLC

                                     as the Borrower


                                           and


                             eCAPITAL HEALTHCARE CORP.


                                      as the Lender



                                        Dated as of
                                       [     ], 2023




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                                         SUPERPRIORITY DEBTOR-IN-POSSESSION
                                           CREDIT AND SECURITY AGREEMENT

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        ANNEX I

        Financial and Loan Covenants

                                                EXHIBITS

        Exhibit A          -       Borrowing Certificate

        Exhibit B          -       Compliance Certificate

        Exhibit C          -       Budget


                                                SCHEDULES

        Schedule 2.4       -       Borrower’s Account for Funding Wires

        Schedule 2.5       -       Borrower’s Deposit Accounts

        Schedule 5.3       -       Organizational Information

        Schedule 5.4       -       Real Property Owned or Leased

        Schedule 5.6       -       Litigation

        Schedule 5.16      -       Insurance

        Schedule 5.17A     -       Corporate Names

        Schedule 5.17B     -       Business and Collateral Locations

        Schedule 5.20      -       Exceptions to Healthcare Law Compliance Representations

        Schedule 5.23      -       Material Contracts

        Schedule 5.24      -       Third-Party Payor Billing Numbers

        Schedule 7.3       -       Liens




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                                SUPERPRIORITY DEBTOR-IN-POSSESSION
                                  CREDIT AND SECURITY AGREEMENT

                THIS SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT AND SECURITY
        AGREEMENT (this “Agreement”) dated as of [         ], 2023, is entered into by and between LION
        STAR NACOGDOCHES HOSPITAL, LLC, a Texas limited liability company (together, the
        “Borrower”), as Borrower, being debtor and debtor-in-possession in a case pending under Chapter
        11 of the Bankruptcy Code (the “Bankruptcy Case”), and eCAPITAL HEALTHCARE CORP.,
        a Delaware corporation, f/k/a CNH FINANCE FUND I, L.P., a Delaware limited partnership (the
        “Lender”).

                                                    RECITALS

                        WHEREAS, on [__], 2023 (the “Petition Date”), the Borrower filed a voluntary
        petition with the Bankruptcy Court for the [__] district of Texas. The Borrower has continued to
        be in possession of its assets and in the management of its business pursuant to Sections 1107(a)
        and 1108 of the Bankruptcy Code;

                        WHEREAS, the Borrower has requested and the Lender has agreed to make
        available to the Borrower a secured debtor-in-possession revolving credit facility in the maximum
        principal amount of $10,000,000.00 (the “Revolving Facility”) to provide the Borrower with the
        funds necessary for it to meet its working capital needs, professional fees and expenses, and other
        expenses set forth in the Budget upon the terms and conditions set forth herein and subject to the
        approval of the Bankruptcy Court;

                     WHEREAS, prior to the Petition Date, the Lender provided financing to the
        Borrower pursuant to the Pre-Petition Credit Agreement (as defined herein);

                       WHEREAS, as of the close of business on [__], 2023, the Lender under the
        Pre-Petition Credit Agreement was owed $[__] in the outstanding principal with respect to Loans
        (as such term is defined in the Pre-Petition Credit Agreement) plus interest, fees, costs and
        expenses and all other Pre-Petition Obligations under the Pre-Petition Credit Agreement;

                         WHEREAS, the Pre-Petition Obligations, under and as defined in the Pre-Petition
        Credit Agreement, are secured by a security interest in certain existing and after-acquired assets
        of the Borrower as more fully set forth in the Pre-Petition Credit Agreement and such security
        interest is perfected and, with certain exceptions, as described in the Pre-Petition Credit Agreement
        has priority over other security interests;

                      WHEREAS, the Lender’s willingness to extend financial accommodations to the
        Borrower as more fully set forth in this Agreement and the other Loan Documents, is done solely
        as an accommodation to the Borrower and at the Borrower’s request and in furtherance of the
        Borrower enterprise;

                        WHEREAS, to secure the Borrower’s obligations hereunder, the Borrower will
        grant to the Lender, valid, perfected and enforceable superpriority Liens, senior to all other security
        interests in the Collateral, approved pursuant to Sections 364(c)(1) and (d)(1) of the Bankruptcy



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        Code, which Liens are a material and necessary condition of the Lender’s willingness to provide
        the credit contemplated herein; and

                     WHEREAS the Lender is willing to make the Revolving Facility available to the
        Borrower upon the terms and subject to the conditions set forth herein.

                                                     AGREEMENT

               NOW THEREFORE, in consideration of the foregoing and for other good and valuable
        consideration, the receipt and adequacy of which hereby are acknowledged, the Borrower and the
        Lender hereby agree as follows:

        I. DEFINITIONS

                   1.1      General Terms

                For purposes of this Agreement, in addition to the definitions above and elsewhere in this
        Agreement, the terms listed below shall have the meanings set forth. All capitalized terms used
        which are not specifically defined shall have meanings provided in Article 9 of the UCC to the
        extent the same are used or defined therein. Unless otherwise specified herein, any agreement or
        contract referred to herein shall mean such agreement as modified, amended or supplemented from
        time to time. Unless otherwise specified, as used in the Loan Documents or in any certificate,
        report, instrument or other document made or delivered pursuant to any of the Loan Documents,
        all accounting terms not defined elsewhere in this Agreement shall have the meanings given to
        such terms in and shall be interpreted in accordance with GAAP applied on a basis consistent with
        the most recent audited consolidated financial statements of the Borrower delivered to the Lender
        on or prior to the Closing Date.

                   1.2      Specific Terms

               “Account Debtor” shall mean “account debtor,” as defined in Article 9 of the UCC, and
        any other obligor in respect of an Account.

                “Accounts” shall mean all of Borrower’s (i) accounts (as that term is defined in the UCC),
        (ii) Payment Intangibles, and (iii) all other rights of payment, collection or reimbursement (whether
        owed directly to Borrower or assigned to Borrower by a patient or other third party), whenever
        due, that arose out of, or will arise out of, the rendering of services, the provision of room, board
        or other daily living assistance, or the sale, assignment, lease or license of Equipment, prosthetics,
        pharmaceutical or other Goods, whether before or after the date of this Agreement and including,
        all of Borrower’s rights of payment, collection or reimbursement with respect to such services
        from any insurer, federal or state government agency or other third party; whether billed on a
        fee for service, monthly per patient capitation charge or any other basis, whether or not the
        accounts, payment intangibles, or rights of payment, collection or reimbursement have been
        invoiced or billed, written off, partially paid, currently assigned to collection agencies or other
        third party service vendors. Without limiting the foregoing, Accounts shall also include all
        monies due or to become due to Borrower and obligations to Borrower in any form (whether
        arising in connection with contracts, contract rights, Instruments, or Chattel Paper), in each case
        whether or not earned by performance, now or hereafter in existence, and all documents of title

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        or other documents representing any of the foregoing, and all collateral security and guarantees
        of any kind, now or hereafter in existence, given by any Person with respect to any of the
        foregoing.

               “Accrediting Organization” shall mean any Person from which Borrower has received
        an accreditation as of the Closing Date or thereafter.

                   “ACH” shall mean automated clearing house.

               “Advance” shall mean a borrowing under the Revolving Facility. Any amounts paid by
        the Lender on behalf of the Borrower or any Guarantor under any Loan Document shall also be an
        Advance for purposes of this Agreement. Each Advance shall increase the principal amount
        outstanding hereunder.

                “Affiliate” shall mean, as to any Person, any other Person (a) that, directly or indirectly
        through one or more intermediaries, controls, is controlled by, or is under common control with,
        such Person, (b) who is a director or officer (i) of such Person, (ii) of any Subsidiary of such
        Person, or (iii) of any Person described in clause (a) above with respect to such Person, and (c)
        which, directly or indirectly through one or more intermediaries, is the beneficial or record owner
        (as defined in Rule 13d-3 of the Securities Exchange Act of 1934, as amended, as the same is in
        effect on the date hereof) of ten percent (10%) or more of any class of the outstanding voting stock,
        securities or other equity or ownership interests of such Person. For purposes of this definition,
        the term “control” (and the correlative terms “controlled by” and “under common control with”)
        shall mean the possession, directly or indirectly, of the power to direct or cause the direction of
        the administrative management or policies (even without the power to direct or cause the direction
        of the clinical/medical management or policies), whether through ownership of securities or other
        interests, by contract or otherwise.

                   “Applicable Margin” shall mean two and percent (2.00 %).

                “Applicable Rate” shall mean the sum of (i) the Applicable Margin, (ii) the Prime Rate,
        and (iii) if applicable, the Default Rate, expressed as a percentage.

                “Availability” shall mean the Revolving Loan Limit less all Revolving Loans outstanding
        less cash on hand, minus any reserves against Availability imposed by the Lender in its discretion.

              “Bankruptcy Case” shall have the meaning assigned to that term in the preamble of this
        Agreement.

                “Bankruptcy Code” shall mean Title 11 of the United States Code entitled “Bankruptcy,”
        as the same may be amended, modified or supplemented from time to time, and any successor
        statute thereto.

               “Bankruptcy Court” means the United States Bankruptcy Court for the [__] District of
        Texas or any other bankruptcy court having jurisdiction over the bankruptcy case from time to
        time.



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               “Books and Records” shall mean the Borrower’s books and records specifically relating
        to Accounts, including, but not limited to, ledgers, records indicating, summarizing, or evidencing
        the Borrower’s Accounts and all computer programs, disc or tape files, printouts, runs, and other
        computer prepared information with respect to the foregoing and any software necessary to operate
        the same.

               “Borrower” shall mean the entity described in the first paragraph of this Agreement and
        each of its successors and permitted assigns.

                   “Borrowing Base” shall mean, as of any date of determination:

                (a)     the Net Collectible Value of Eligible Receivables of the Borrower, as such Net
        Collectible Value is determined by the Lender with reference to the most recent Borrowing
        Certificate, other factors deemed relevant by the Lender and otherwise in accordance with the
        Agreement; provided, however, that if as of such date of determination the most recent Borrowing
        Certificate is of a date more than four (4) Business Days before such date, the Borrowing Base
        shall be determined by Lender; minus

               (b)     the amount of any Carve-Outs, reserves, or adjustments against the Borrowing Base
        provided for in this Agreement or determined by the Lender from time to time.

               “Borrowing Certificate” shall mean a Borrowing Certificate substantially in the form of
        Exhibit A.

                   “Borrowing Date” shall have the meaning assigned to that term in Section 2.4.

                “Budget” shall mean the Budget attached hereto as Exhibit C to this Agreement, in form
        and substance satisfactory to the Lender and approved by the Bankruptcy Court. It is understood
        that the Budget attached hereto as Exhibit C will be updated in accordance with Section 6.1(d)(vi).
        Any amended or restated Budget shall be in form and substance satisfactory to Lender; however,
        for purposes of calculating compliance with the Budget and providing a Budget-to-actual
        presentation, the initial expenses and revenues for the relevant time periods as set forth in the
        earliest Budget shall be used and not the expenses and revenues for such time period as may be set
        forth in any subsequently amended or restated Budget.

               “Business Day” shall mean any day other than a Saturday, Sunday, Good Friday, or other
        day on which the Federal Reserve or the Lender is closed.

                “Capital Lease” shall mean, as to any Person, a lease or any interest in any kind of
        property or asset by that Person as lessee, that is, should be or should have been recorded as a
        “capital lease” of such person in accordance with GAAP.

               “Capitalized Lease Obligations” shall mean all obligations of any Person under Capital
        Leases, in each case, taken at the amount thereof accounted for as a liability in accordance with
        GAAP.

               “CARES Escrow Agreement” shall have the meaning assigned to that term in the
        Hospital Asset Purchase Agreement.

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               “CARES Escrow Funds” shall mean the funds deposited in escrow with Commercial
        Bank of Texas, N.A. or other agent mutually agreeable to Borrower and Old Operator in the initial
        amount of $6,000,000 pursuant to the CARES Escrow Agreement (as defined in the Hospital Asset
        Purchase Agreement).

              “Carve-Outs” has the meaning set forth in the Financing Orders, including monthly
        payment of Professional Fees pursuant to an interim order.

                “Cash Advance Loan” means any loan, debt, advance, merchant cash advance, business
        cash advance, ACH business loan, or other indebtedness or financing arrangement (whether such
        financing is on or off-balance sheet, secured or unsecured) incurred by Borrower based on or to be
        repaid by Account proceeds or Borrower’s other revenue, or by ACH pull or withholding from any
        of Borrower’s Controlled Deposit Accounts, other than the Operating Accounts.

                “CERCLA” shall mean the Comprehensive Environmental Response, Compensation and
        Liability Act of 1980, 42 U.S.C.A. § 9601 et seq., as the same may be amended from time to time.

                “Change of Control” shall mean any of the following: (a) the occurrence of a merger,
        consolidation, reorganization, recapitalization or share or interest exchange, sale or transfer or any
        other transaction or series of transactions as a result of which the owners, directly or indirectly, of
        a majority of Borrower’s voting stock or voting power as of the date hereof cease to be entitled to
        control the Borrower, or (b) the resignation, termination, replacement, death, disability or any other
        event the result of which is the failure of the existing senior management of Borrower to function
        in its current capacities, unless, (i) in the case of a replacement, the replacement is reasonably
        acceptable to the Lender, or (ii) in all other cases a replacement reasonably satisfactory to the
        Lender is identified and engaged within 30 days following such event, or (c) the sale, assignment,
        transfer, lease, conveyance or other disposition of all or substantially all of Borrower’s assets to,
        or a consolidation or merger with or into, any other Person, other than any such transaction where
        immediately thereafter the surviving Person is a direct or indirect subsidiary of Borrower.

                   “Closing” shall mean the date of the initial Advance under the Revolving Facility.

                   “Closing Date” shall mean the date the Closing occurs.

                “Collateral” shall mean, collectively and each individually, all collateral or security
        identified in Section 2.9, together with any additional collateral or security now or hereafter
        granted to Lender by Borrower pursuant to a Loan Document.

                   “Collateral Management Fee” shall have the meaning assigned to the term in Section
        3.3.

                 “Collection Bank” shall mean a depository bank identified on the United States trustee’s
        list of authorized depositories, and otherwise acceptable to the Lender in its discretion.

               “Commercial Deposit Account” shall mean a deposit account established and maintained
        in Borrower’s name, which is used solely to collect payments with respect to Borrower’s Accounts
        and other Collateral, other than payments with respect to Governmental Receivables.


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                   “Compliance Certificate” shall have the meaning assigned to the term in Section 6.1(a).

                   “Concentration Account” shall have the meaning assigned to the term in Section 2.5.

                 “Contingent Obligation” shall mean, with respect to any Person, any direct or indirect
        liability of such Person: (a) with respect to any Indebtedness of another Person (a “Third Party
        Obligation”) if the purpose or intent of such Person incurring such liability, or the effect thereof,
        is to provide assurance to the obligee of such Third Party Obligation that such Third Party
        Obligation will be paid or discharged, or that any agreement relating thereto will be complied with,
        or that any holder of such Third Party Obligation will be protected, in whole or in part, against loss
        with respect thereto; (b) with respect to any undrawn portion of any letter of credit issued for the
        account of such Person or as to which such Person is otherwise liable for the reimbursement of
        any drawing; or (c) for any obligations of another Person pursuant to any guaranty (other than a
        guaranty of the Obligations or any part thereof) or pursuant to any agreement to purchase,
        repurchase or otherwise acquire any obligation or any property constituting security therefor, to
        provide funds for the payment or discharge of such obligation or to preserve the solvency, financial
        condition or level of income of another Person. The amount of any Contingent Obligation shall
        be equal to the amount of the obligation so guaranteed or otherwise supported or, if not a fixed and
        determinable amount, the maximum amount so guaranteed or otherwise supported.

               “Control Agreements” shall mean each deposit account control agreement, deposit
        account instructions, and service agreement or similar agreements on each Deposit Account,
        Operating Account, and, if applicable, the master collections account established by Borrower in
        accordance with Section 2.5(b).

               “Controlled Deposit Accounts” shall mean each Commerical Deposit Account,
        Governmental Deposit Account, Operating Account, and if applicable, the master collections
        account established by Borrower in accordance with Section 2.5(b).

                “Current Ratio” shall mean Borrower’s ratio of current assets (determined in accordance
        with GAAP), to current liabilities (also determined in accordance with GAAP). For this purpose,
        the outstanding balance of the Revolving Facility shall be deemed to be a current liability

               “Date of Service” of an Account shall mean the earliest date the healthcare service for
        which the Account is payable was rendered, the healthcare-related Equipment, prosthetics,
        pharmaceuticals, or other goods for which the Account is payable were delivered, or the room,
        board or other daily living assistance for which the Account payable was provided.

                “Debtor Relief Law” shall mean, collectively, the Bankruptcy Code and all other
        applicable liquidation, conservatorship, bankruptcy, moratorium, rearrangement, receivership,
        insolvency, reorganization, or similar debtor relief laws from time to time in effect affecting the
        rights of creditors generally, as amended from time to time.

                   “Default Rate” shall have the meaning assigned to the term in Section 3.7.

                “Disposition” or “Dispose” means the sale, transfer, license, lease or other disposition
        (including any sale and leaseback transaction or dispositions effected by any corporate division),
        whether in one transaction or in a series of transactions, of any property (including, without

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        limitation, any equity interests) by any Person (or the granting of any option or other right to do
        any of the foregoing), including any sale, assignment, transfer or other disposal, with or without
        recourse, of any notes or accounts receivable or any rights and claims associated therewith.

                “Distribution” shall mean (a) any dividend or other distribution (whether in cash,
        securities or other property) on any equity interest in the Borrower (except those payable solely in
        its equity interests of the same class), (b) any payment by the Borrower on account of (i) the
        purchase, redemption, retirement, defeasance, surrender, cancellation, termination or acquisition
        of any equity interests in the Borrower or any claim respecting the purchase or sale of any equity
        interest in the Borrower, or (ii) any option, warrant or other right to acquire any equity interests in
        the Borrower, (iii) amounts owed by Borrower to any Affiliate of the Borrower, and (c) any loan
        or advance to an Affiliate of Borrower.

                “Dollars” or “$” shall mean the lawful and freely transferrable currency of the United
        States of America.

                 “Eligible Billed Receivables” shall mean each Account (other than Eligible Unbilled
        Receivables) arising in the ordinary course of the Borrower’s business, which meets the following
        criteria:

                a.     it is subject to a valid perfected first priority security interest in favor of the Lender,
        subject to no other Lien (other than Permitted Liens);

               b.     it is evidenced by an invoice, statement, electronic submission or other
        documentary evidence satisfactory to the Lender, which has been submitted to the Account Debtor
        for payment in accordance with applicable Law;

               c.     it is in substantial compliance and conformance with any requisite procedures,
        requirements and regulations governing payment by such Account Debtor with respect to such
        Account, and, if due from a Medicaid/Medicare Account Debtor, is properly payable directly to
        Borrower;

               d.      any portion thereof that is payable by a beneficiary, recipient or subscriber
        individually and not directly by a third-party obligor acceptable to the Lender shall not be included
        as an Eligible Billed Receivable;

                e.      it does not arise out of services rendered to, room, board or other daily living
        assistance provided to, a sale made to, or out of any other transactions between Borrower or any
        of its Subsidiaries and, one or more Affiliates of Borrower or any of its Subsidiaries;

               f.     it is outstanding for no more than 150 days after the Date of Service with respect to
        such Account; provided that if more than fifty percent (50%) in Net Collectible Value of the
        Accounts payable by any one Third-Party Payor are outstanding for more than 150 days after such
        Accounts’ Date of Service, no Accounts payable by such Third-Party Payor shall be Eligible Billed
        Receivables;

               g.      no covenant, agreement, representation or warranty with respect to such Accounts
        contained in any Loan Documents has been breached and remains uncured;

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               h.      to the extent the Account Debtor for such Account is solvent and has a claims-
        paying ability rating by A.M. Best Company, such rating shall be “A” or better; or to the extent
        the Account Debtor for such Account does not have a claims-paying ability rating

               i.      by A.M. Best Company or its claims-paying ability is not rated “A” or better, such
        Account Debtor is otherwise creditworthy as determined by Lender in its sole discretion, and there
        are no proceedings or actions which are threatened or pending against any Account Debtor
        thereunder which might result in any Material Adverse Change in such Account Debtor’s financial
        condition or the collectability of Accounts with respect to such Account Debtor;

                j.      arises out of a completed, bona fide sale, assignment, lease, license and related
        delivery of Goods, provision of room, board or other daily living assistance, or rendering of
        services by Borrower in the ordinary course of business, in accordance with applicable Law, and
        in accordance with the terms and conditions of all purchase orders, contracts, certifications,
        participations, certificates of need and other agreements and documents relating thereto or forming
        a part of the contract between Borrower and the Account Debtor;

                k.      it does not represent the sale of Goods or rendering of services to an Account Debtor
        with respect to which the obligation of payment by the Account Debtor is or may be conditional
        for any reason whatsoever, including, accounts arising with respect to Goods that were (i) not sold
        on an absolute basis, (ii) sold on a bill-and-hold sale basis, (iii) sold on a consignment sale basis,
        (iv) sold on a guaranteed sale basis, (v) sold on a sale or return basis, or (vi) sold on the basis of
        any other similar understanding, and is not evidenced by Chattel Paper or an Instrument of any
        kind and has not been reduced to judgment;

                l.     it does not represent amounts payable to the Borrower for the use (whether through
        leasing or otherwise) of the Borrower’s employees by third parties;

               m.      it is not payable under worker’s compensation laws or insurance, automobile
        insurance whether a no-fault law or otherwise, does not represent a census capitation payment or
        a claim for a personal injury and is not a Self-Pay Account;

                n.      the applicable Account Debtor for such Account is not a Governmental Authority,
        unless all applicable statutes, ordinances or regulations respecting the assignment of such Account
        have been complied with; provided, however, neither Borrower nor Lender will be required to
        comply with any filing or notice requirements under the Assignment of Claims Act (31 U.S.C.
        § 3727);

               o.      any portion of an Account that is subject to any offset, credit (including any
        resource or other income credit or offset), lien, deduction, defense, discount, chargeback, freight
        claim, allowance, adjustment, dispute or counterclaim is not for a liquidated amount or is
        contingent in any respect or for any reason (except to the extent that the same is taken into
        consideration in determining Net Collectible Value) shall not be included as an Eligible Billed
        Receivable;

               p.      except for deductions taken into consideration in determining Net Collectible
        Value, there is no agreement with an Account Debtor for any deduction from such Accounts,
        except for discounts or allowances made in the ordinary course of business for prompt payment,

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        all of which discounts or allowances are reflected in the calculation of the face value of each
        invoice related thereto, such that only the discounted amount of such Accounts after giving effect
        to such discounts and allowances shall be considered an Eligible Billed Receivable;

                   q.      no return, rejection or repossession of Goods or services related to it has occurred;

               r.      the Account Debtor with respect thereto has its principal place of business or chief
        executive offices within the continental United States and the Account is payable to Borrower in
        US dollars;

              s.      Borrower has not agreed to accept and has not accepted any non-cash payment for
        such Account;

              t.      if the Account Debtor is the Medicaid Program, the Account is not in a “Medicaid
        Pending” status, and

                u.      such Account meets such specifications and requirements other than as set forth
        above, which may from time to time be established by Lender, in Lender’s sole discretion, by
        written notice to the Borrower.

               “Eligible Receivables” shall mean Eligible Billed Receivables and Eligible Unbilled
        Receivables and shall include such additional Accounts as may be permitted from time to time by
        the Lender at the request of Borrower.

                “Eligible Unbilled Receivables” shall mean each Account meeting all of the criteria of
        Eligible Billed Receivable (and otherwise acceptable to Lender in Lender’s sole discretion),
        except:

               a.       clause (b) of the definition of “Eligible Billed Receivables” shall be restated as
        follows: “it does not remain unbilled for longer than the thirtieth (30th) day of the month following
        the month in which the Date of Service occurred;”

               b.        clause (f) of the definition of “Eligible Billed Receivables” shall be restated as
        follows: “it is outstanding for no more than 150 days after the Date of Service with respect to such
        Account; provided that if more than fifty percent (50%) in Net Collectible Value of the Accounts
        payable by any one Third-Party Payor are outstanding for more than 150 days after such Accounts’
        Date of Service, no Accounts payable by such Third-Party Payor shall be Eligible Unbilled
        Receivables;” and

                c.     the eligible unbilled portion of any such Accounts shall include amounts earned on
        each day prior to issuance of any invoice in an amount equal to the rate per patient per day
        established under the applicable Government Contract; provided that (i) the Lender in its discretion
        may from time to time determine the liquidity factors and reserves applicable to Advances made
        on any such Accounts, and (ii) the aggregate amount of Eligible Unbilled Receivables included in
        the Borrowing Base shall be adjusted monthly based on the amounts actually billed with respect
        to such Accounts.



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                “Environmental Laws” shall mean all federal, state, local, and foreign laws now or
        hereafter in effect relating to pollution or protection of the environment, including laws relating to
        emissions, discharges, releases, or threatened releases of pollutants, contaminants, chemicals, or
        industrial, toxic, or hazardous substances or wastes or otherwise relating to the manufacture,
        processing, distribution, use, treatment, storage, disposal, removal, transport, or handling of
        pollutants, contaminants, chemicals, or industrial, toxic, or hazardous substances or wastes, and
        any and all regulations, notices, or demand letters issued, entered, promulgated, or approved
        thereunder.

                   “Equipment” shall mean “equipment” as defined in Article 9 of the UCC.

               “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as the same
        may be amended, modified or supplemented from time to time, and any successor statute thereto,
        and any and all rules or regulations promulgated from time to time thereunder.

                   “Event of Default” shall mean the occurrence of any event set forth in Article VIII.

               “Facility Cap” mean the maximum principal amount that may be outstanding hereunder
        which amount shall initially be Ten Million Dollars ($10,000,000), subject to such increases as
        may be made pursuant to Section 2.1(c).

                   “Facility Fee” shall have the meaning set forth in Section 3.1.

                “Final Financing Order” shall mean an order that is entered by the Bankruptcy Court in
        the Bankruptcy Case pursuant to Sections 364(c) and (d) of the Bankruptcy Code and Bankruptcy
        Rule 4001(c), in form and substance that are satisfactory to the Lender, approving the Loan
        Documents, and which order shall, among other things (i) have been entered on such prior notice
        as is required by applicable Law and any applicable orders of the Bankruptcy Court, (ii) authorize
        the extensions of credit in respect of the Revolving Facility in the amounts and on the terms and
        conditions set forth herein, (iii) grant the Superpriority Claim and other Liens on Collateral referred
        to herein and in the other Loan Documents (subject to the Carve-Outs), and (iv) approve the
        payment by the Borrower of the Obligations.

               “Financing Orders” shall mean the Interim Financing Order, the Final Financing Order,
        and any amendments or modifications thereto entered by the Bankruptcy Court in the Bankruptcy
        Case.

              “GAAP” shall mean generally accepted accounting principles in the United States of
        America in effect from time to time as applied by nationally recognized accounting firms.

                   “General Intangible” shall mean “general intangible” as defined in Article 9 of the UCC.

                “Government Contract” shall mean all contracts (including all amendments thereto)
        relating to the payment of Government Receivables (a) with the United States government or with
        any agency or instrumentality thereof, or (b) with any State or Territory of the United States or the
        District of Columbia or with any agency or instrumentality thereof.



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                “Governmental Authority” shall mean any federal, state, municipal, national, local or
        other governmental department, court, commission, board, bureau, agency or instrumentality or
        political subdivision thereof, or any entity or officer exercising executive, legislative or judicial,
        regulatory or administrative functions of or pertaining to any government or any court, in each
        case, whether of the United States or a state, territory or possession thereof, a foreign sovereign
        entity or country or jurisdiction or the District of Columbia.

               “Governmental Deposit Account” shall mean a deposit account established and
        maintained in Borrower’s name, which is used to collect payments with respect to Borrower’s
        Governmental Receivables

                “Governmental Receivable” shall mean any Account that is the obligation of the United
        States of America, or any State or Territory of the United States of America, and the District of
        Columbia, or any of their respective agencies, whether under the Medicaid or Medicare program
        established pursuant to the Social Security Act or any other federal healthcare program, including,
        without limitation, TRICARE (formerly known as CHAMPUS) and CHAMPVA and whether or
        not the Account is the primary obligation of such government or agency.

               “Guarantor” shall mean any guarantor of the Obligations or any part thereof, including
        any guarantor of the accuracy of any one or more representations or warranties of Borrower
        contained in this Agreement. As of the Closing Date there is no Guarantor.

                “Guaranty” shall mean any obligation, contingent or otherwise, of such Person directly
        or indirectly guaranteeing any Indebtedness or other obligation of any other Person and, without
        limiting the generality of the foregoing, any obligation, direct or indirect, contingent or otherwise,
        of such Person (a) to purchase or pay (or advance or supply funds for the purchase or payment of)
        such Indebtedness or other obligation (whether arising by virtue of partnership arrangements, by
        agreement to keep-well, to purchase assets, goods, securities or services, to take-or-pay, or to
        maintain financial statement conditions or otherwise), or (b) entered into for the purpose of
        assuring in any other manner the obligee of such Indebtedness or other obligation of the payment
        thereof or to protect such obligee against loss in respect thereof (in whole or in part), provided,
        however, that the term Guaranty shall not include endorsements for collection or deposit in the
        ordinary course of business. The term “Guaranty” used as a verb has a corresponding meaning.
        The term “Guaranties” shall mean the plural of Guaranty.

                “Hazardous Substances” shall mean petroleum and petroleum products and compounds
        containing them, including gasoline, diesel fuel and oil; explosives, flammable materials;
        radioactive materials; polychlorinated biphenyls and compounds containing them; lead and lead-
        based paint; asbestos or asbestos-containing materials; underground or above-ground storage
        tanks, whether empty or containing any substance; any substance the presence of which is
        prohibited by any Environmental Laws; any contaminant, pollutant, waste or substance that is
        likely to cause immediately or at some future time harm or degradation to the surrounding
        environment or risk to human health; toxic mold, any substance that requires special handling; and
        any other material or substance now or in the future defined, classified or listed as a “hazardous
        substance,” “hazardous material,” “hazardous waste,” “toxic substance,” “toxic pollutant,”
        “contaminant,” “pollutant”, “radioactive”, “dangerous” or other words of similar import within the
        meaning of any Environmental Law, including: (a) any “hazardous substance” defined as such in

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        (or for purposes of) CERCLA, or any so-called “superfund” or “superlien” Law, including the
        judicial interpretation thereof; (b) any “pollutant or contaminant” as defined in 42 U.S.C.A.
        § 9601(33); (c) any material now defined as “hazardous waste” pursuant to 40 C.F.R. Part 260;
        (d) any petroleum or petroleum by-products, including crude oil or any fraction thereof; (e) natural
        gas, natural gas liquids, liquefied natural gas, or synthetic gas usable for fuel; (f) any “hazardous
        chemical” as defined pursuant to 29 C.F.R. Part 1910; (g) any toxic or harmful substances, wastes,
        materials, pollutants or contaminants (including, without limitation, asbestos, polychlorinated
        biphenyls, flammable explosives, radioactive materials, infectious substances, materials
        containing lead-based paint or raw materials which include hazardous constituents), and (h) any
        other toxic substance or contaminant that is subject to any Environmental Laws or other past or
        present requirement of any Governmental Authority. Notwithstanding the foregoing, Hazardous
        Substances shall not include substances in kinds and amounts commonly used in the operation of
        businesses of similar kind and nature to the business engaged in by Borrower in accordance with
        all applicable Laws (including, but not limited to, Environmental Laws) and prudent business
        management practices and in a manner that does not result in any contamination of all or any
        portion of properties utilized by such Borrower.

                “Hazardous Substances Contamination” shall mean contamination (whether now
        existing or hereafter occurring) of the improvements, buildings, facilities, personalty, soil,
        groundwater, air or other elements on or of the relevant property by Hazardous Substances, or any
        derivatives thereof, or on or of any other property as a result of Hazardous Substances, or any
        derivatives thereof, generated on, emanating from or disposed of in connection with the relevant
        property.

                 “Healthcare Laws” shall mean all applicable Laws relating to the possession, control,
        warehousing, marketing, sale and distribution of pharmaceuticals, the operation of medical or
        senior housing facilities (such as, but not limited to, nursing homes, skilled nursing facilities,
        rehabilitation hospitals, intermediate care facilities and adult care facilities), patient healthcare,
        patient healthcare information, patient abuse, the quality and adequacy of medical care, rate
        setting, Equipment, personnel, operating policies, fee splitting, including, without limitation,
        (a) all federal and state fraud and abuse laws, including, without limitation, the federal Anti-
        Kickback Statute (42 U.S.C. §1320a-7b(6)), the Stark Law (42 U.S.C. §1395nn), the civil False
        Claims Act (31 U.S.C. §3729 et seq.), (b) TRICARE; (c) HIPAA; (d) Medicare; (e) Medicaid;
        (f) the Patient Protection and Affordable Care Act (P.L. 111-1468); (g) The Health Care and
        Education Reconciliation Act of 2010 (P.L. 111-152); (h) quality, safety and accreditation
        standards and requirements of all applicable state laws or regulatory bodies; (i) all laws, policies,
        procedures, requirements and regulations pursuant to which Healthcare Permits are issued, and (j)
        any and all other applicable health care laws, regulations, manual provisions, policies and
        administrative guidance, each of (a) through (j) as may be amended from time to time.

               “Healthcare Permit” shall mean a Permit (a) issued or required under Healthcare Laws
        applicable to the business of Borrower or any of its Subsidiaries or necessary in the possession,
        ownership, warehousing, marketing, promoting, sale, labeling, furnishing, distribution or delivery
        of goods or services under Healthcare Laws applicable to the business of Borrower or any of its
        Subsidiaries; (b) issued by any Person from which Borrower has, as of the Closing Date, received
        an accreditation, and/or (c) issued or required under Healthcare Laws applicable to the ownership
        or operation of any business location of Borrower.

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                “HIPAA” shall mean the Health Insurance Portability and Accountability Act of 1996, as
        the same may be amended, modified or supplemented from time to time, and any successor statute
        thereto, and any and all rules or regulations promulgated from time to time thereunder.

                “HIPAA Compliant” shall mean that the applicable Person is in compliance with each of
        the applicable requirements of the so-called “Administrative Simplification” provisions of
        HIPAA, and is not and could not reasonably be expected to become the subject of any civil or
        criminal penalty, process, claim, action or proceeding, or any administrative or other regulatory
        review, survey, process or proceeding (other than routine surveys or reviews conducted by any
        government health plan or other accreditation entity) that could result in any of the foregoing or
        that could reasonably be expected to adversely affect such Person’s business, operations, assets,
        properties or condition (financial or otherwise), in connection with any actual or potential violation
        by such Person of the provisions of HIPAA.

               “Hospital” shall mean any healthcare facility (including any assisted living facility, skilled
        nursing facility or short- or long-term rehabilitation facility) operated or owned or leased by
        Borrower or any of its Subsidiaries, including, without limitation, the Nacogdoches Memorial
        Hospital Building (1024 N. Mound St., Nacogdoches, Texas), the Nacogdoches Diagnostic Center
        (1023 N. Mound St., Suites A, B and H, Nacogdoches, Texas), the Cecil Bomar Rehabilitation
        Center (707 Woods St., Nacogdoches, Texas), the Care First Clinic - Garrison (49 South Hwy. 59,
        Nacogdoches, Texas), and the Accounting/IS Building (914 Raguet St., Nacogdoches, Texas).

                “Hospital Asset Purchase Agreement” shall mean the document by that name by and
        between Borrower and Old Operator dated as of July 14, 2021 as the same may be amended,
        restated, supplemented or otherwise modified from time to time.

                 “Indebtedness” of a Person shall mean at any date, without duplication, (a) all obligations
        of such Person for borrowed money; (b) all obligations of such Person evidenced by bonds,
        debentures, notes or other similar instruments,; (c) all obligations of such Person to pay the
        deferred purchase price of property or services, except trade accounts payable arising and paid on
        a timely basis and in the ordinary course of business; (d) all Capital Leases of such Person; (e) all
        non-Contingent Obligations of such Person to reimburse any bank or other Person in respect of
        amounts paid under a letter of credit, banker’s acceptance or similar instrument; (f) all equity
        securities of such Person subject to repurchase or redemption other than at the sole option of such
        Person; (g) all obligations secured by a Lien on any asset of such Person, whether or not such
        obligation is otherwise an obligation of such Person; (h) “earnouts,” purchase price adjustments,
        profit sharing arrangements, deferred purchase money amounts and similar payment obligations
        or continuing obligations of any nature of such Person arising out of purchase and sale contracts;
        (i) all Indebtedness of others guaranteed by such Person; (j) off-balance sheet liabilities and/or
        Pension Plan or Multiemployer Plan liabilities of such Person, and (k) obligations arising under
        non-compete agreements.

                   “Indemnified Persons” shall have the meaning assigned to the term in Section 13.4.

                “Intellectual Property” shall mean, with respect to any Person, all patents, patent
        applications and like protections, including improvements divisions, continuation, renewals,
        reissues, extensions and continuations in part of the same, trademarks, trade names, trade styles,

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        trade dress, service marks, logos and other business identifiers and, to the extent permitted under
        applicable Law, any applications therefor, whether registered or not, and the goodwill of the
        business of such Person connected with and symbolized thereby, copyright rights, copyright
        applications, copyright registrations and like protections in each work of authorship and derivative
        works, whether published or unpublished, technology, know-how and processes, operating
        manuals, trade secrets, computer hardware and software, rights to unpatented inventions and all
        applications and licenses therefor, used in or necessary for the conduct of business by such Person
        and all claims for damages by way of any past, present or future infringement of any of the
        foregoing.

                 “Interim Financing Order” shall mean the interim order by the Bankruptcy Court in the
        Bankruptcy Case under Sections 364(c) and (d) of the Bankruptcy Code and Bankruptcy Rule
        4001(c), in form and substance satisfactory in all respects to the Lender: (i) authorizing the
        Borrower to enter into this Agreement and the transactions contemplated hereunder; (ii) approving
        the terms and conditions of this Agreement; (iii) granting to the Lender super-priority over any
        and all administrative expenses, secured claims, and unsecured claims, now existing or hereafter
        arising, including administrative expenses of the kind specified in or ordered pursuant to 11 U.S.C.
        §§ 105, 326, 327, 328, 330, 331, 361, 362, 363, 364, 365, 503, 506, 507(a), 507(b), 546, 552, 726,
        1113, 1114 or any other provision of the Bankruptcy Code or otherwise (the “Superpriority
        Claim”); (iv) granting to the Lender a first priority lien and security interest in all assets of the
        Borrower; (v) including a prohibition applicable to any governmental authority or other party from
        exercising rights of set-off or recoupment against any account that arises from and after the filing
        of the bankruptcy petition; (vi) including a prohibition against using the proceeds of the loan to
        initiate or prosecute any claims, causes of action, adversary proceedings or other litigation against
        the Lender or any of its officers, directors, equity holders, employees or affiliates; (vii) including
        a prohibition against using the proceeds of the loan to object, contest, or raise in any proceeding
        any defense to the validity, perfection, priority, extent or enforceability of this Agreement or the
        liens contemplated thereby or taking any action that would be injurious to the Lender’s interests;
        (viii) ordering that all government payments owing to the Borrower be paid to a Controlled
        Account; (ix) granting relief from the automatic stay to permit the Lender to take any action
        permitted under this Agreement; (x) ordering that the Borrower pay the Lender at the initial
        Closing all of the Lender’s due diligence and legal counsel fees related to the financing and all
        fees required by this Agreement; (x) determining that the “equities of the case” exception in
        Section 552(b) of the Bankruptcy Code will not apply to or limit the Lender’s security interest in
        the proceeds, product, offspring or profits of the Collateral, and (x) including such other provisions
        as to the Lender or the Lender’s counsel may require or approve.

               “Landlord Waiver and Consent” shall mean a waiver/consent in form and substance
        reasonably satisfactory to Lender from the owner/lessor of the Hospital and any other premises
        not owned by Borrower at which billing operations are conducted or Books and Records are
        maintained or, at the request of Lender, any of the Collateral is now or hereafter located, for the
        purpose of providing Lender access to such Collateral, in each case as such may be modified,
        amended or supplemented from time to time and subordinating in favor of Lender any claims that
        the owner/lessor may have against Borrower or against any of the Collateral.

                “Laws” shall mean any and all federal, state, provincial, territorial, municipal, local and
        foreign statutes, laws, judicial decisions, regulations, ordinances, rules, judgments, orders, decrees,

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        codes, injunctions, permits, governmental agreements and governmental restrictions, whether now
        or hereafter in effect, which are applicable to the Borrower in any particular circumstance. “Laws”
        includes, without limitation, Environmental Laws.

                   “Lease” shall have the meaning assigned to the term in Section 6.1.

                 “Liability Event” shall mean any event, fact, condition or, circumstance or series thereof
        (i) in or for which such the Borrower becomes liable or otherwise responsible for any amount owed
        or owing to any Medicaid or Medicare program by a provider under common ownership with
        Borrower or any provider owned by such Borrower pursuant to any applicable Law after the failure
        of any such provider to pay any such amount when owed or owing; (ii) in which Medicaid or
        Medicare payments to Borrower are lawfully set-off against payments to such or any other
        Borrower to satisfy any liability of or for any amounts owed or owing to any Medicaid or Medicare
        program by the Borrower, a provider under common ownership with Borrower, or any provider
        owned by such Borrower pursuant to any applicable Law, or (iii) any of the foregoing under
        clauses (i) or (ii) in each case pursuant to statutory or regulatory provisions that are similar to any
        applicable Law. Notwithstanding the foregoing, a “Liability Event” shall not exist unless it could
        reasonably be expected to have a Material Adverse Effect.

                “Lien” shall mean any mortgage, pledge, security interest, encumbrance, restriction, lien,
        or charge of any kind (including any agreement to give any of the foregoing, any conditional sale
        or other title retention agreement or any lease in the nature thereof), or any other arrangement
        pursuant to which title to the property is retained by or vested in some other Person for security
        purposes. For the purposes of this Agreement and the other Loan Documents, Borrower or any
        Subsidiary shall be deemed to own subject to a Lien any asset which it has acquired or holds
        subject to the interest of a vendor or lessor under any conditional sale agreement, Capital Lease or
        other title retention agreement relating to such asset.

              “Loan” or “Loans” shall mean, individually and collectively, all Advances under the
        Revolving Facility.

                “Loan Documents” shall mean, collectively and each individually, this Agreement, any
        documents that provide, as security for all or any portion of the Obligations, a Lien on any assets
        in favor of Lender, the Controlled Deposit Agreements, the Uniform Commercial Code Financing
        Statements and all other documents or instruments necessary to create or perfect the Liens in the
        Collateral, the Borrowing Certificates, the Compliance Certificates, the Financing Orders, and all
        other agreements, documents, instruments and certificates heretofore or hereafter executed or
        delivered to Lender in connection with any of the foregoing or the Loans, as the same may be
        amended, modified or supplemented from time to time; all of which shall be in form and substance
        acceptable to Lender in its sole discretion.

                “Material Adverse Effect” or “Material Adverse Change” shall mean any event, act,
        condition or occurrence of whatever nature (including any adverse determination in any litigation,
        arbitration, or governmental investigation or proceeding), whether singly or in conjunction with
        any other event or events, act or acts, condition or conditions, occurrence or occurrences, whether
        or not related, which results, directly or indirectly in (a) a material adverse change in, or a material
        adverse effect upon, any of (i) the Borrower’s condition (financial or otherwise), operations,

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        business, properties or prospects; (ii) the rights and remedies of Lender under any Loan Document,
        or the ability of Borrower to perform any of its obligations under any Loan Document to which it
        is a party; (iii) the legality, validity or enforceability of any Loan Document; (iv) the existence,
        perfection or priority of any security interest granted in any Loan Document; (v) the value of any
        material Collateral, or (vi) the use or scope of any Healthcare Permits; (b) a material impairment
        to the likelihood that Eligible Receivables in general will be collected and paid in the ordinary
        course of business of Borrower and upon the same schedule and with the same frequency as
        Borrower’s recent collections history, or (c) the imposition of a fine against or the creation of any
        liability of Borrower to any Governmental Authority that is not subject to a Permitted Contest.

                   “Material Contracts” shall have the meaning set forth in Section 5.23.

               “Medicaid” shall mean that certain program of medical assistance, funded jointly by the
        federal government and the states, for impoverished individuals who are aged, blind and/or
        disabled, and/or members of families with dependent children, which program is more fully
        described in Title XIX of the Social Security Act (42 U.S.C. §§ 1396 et seq.) and the regulations
        promulgated thereunder, or any successor program.

                “Medicaid Pending” shall mean that an application for Medicaid payment on behalf of a
        patient has not yet been approved by Medicaid.

                “Medicaid Program” shall mean a medical assistance program administered by a state
        agency and approved by the Federal Centers for Medicare and Medicaid Services (formerly the
        federal Health Care Financing Administration) pursuant to the terms of Title XIX of the Social
        Security Act, codified at 42 U.S.C. 1396 et seq.

               “Medicaid/Medicare Account Debtor” shall mean any Account Debtor which is (i) the
        United States of America acting under the Medicaid or Medicare program established pursuant to
        the Social Security Act or any other federal healthcare program, including, without limitation,
        TRICARE and CHAMPVA; (ii) any state or the District of Columbia acting pursuant to a health
        plan adopted pursuant to Title XIX of the Social Security Act or any other state healthcare
        program, or (iii) any agent, carrier, administrator or intermediary for any of the foregoing.

                “Medicare” shall mean that certain federal program providing health insurance for eligible
        elderly and other individuals, under which physicians, hospitals, skilled nursing homes, home
        health care and other providers are paid for certain covered services they provide to the
        beneficiaries of such program, which program is more fully described in Title XVIII of the Social
        Security Act (42 U.S.C. §§ 1395 et seq.) and the regulations promulgated thereunder, or any
        successor program.

                “Net Collectible Value” shall mean the amount that Lender reasonably expects from time
        to time to be collected with respect to Eligible Receivables from third-party payors within 150
        days of the Date of Service taking into account historical and recent collection rates for each payor
        class (e.g., Medicare, Medicaid, commercial, etc.), entitled to reimbursement pursuant to any
        contract or arrangement between Borrower and the applicable Account Debtor(s), offsets,
        historical returns, rebates, discounts, credits and allowances, and other factors that affect the
        collectability of Eligible Receivables.


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                “Net Operating Cash Flow” shall mean the difference between (a) cash received in the
        Borrower’s Commercial Deposit Accounts and Governmental Deposit Account; and (b) cash
        disbursements, except for (i) Interest, Fees, and other payments to Lender in cash; (ii) deposits
        paid to public utility companies as ordered by the Bankruptcy Court; (iii) fees paid to the United
        States Trustee; and (iv) fees and expenses paid to all restructuring-related professionals, including
        attorneys and restructuring advisors, for the Borrower, the Lender, and the committee for
        unsecured creditors (if one is appointed).

                  “Net Proceeds” means, with respect to any event, (a) the cash proceeds received in respect
        of such event including (i) any cash received in respect of any non-cash proceeds (including any
        cash payments received by way of deferred payment of principal pursuant to a note or installment
        receivable or purchase price adjustment receivable or otherwise, but excluding any interest
        payments), but only as and when received; (ii) in the case of a casualty, insurance proceeds, and
        (iii) in the case of a condemnation or similar event, condemnation awards and similar payments,
        minus; (b) the sum of (i) all reasonable fees and out-of-pocket expenses paid to third parties (other
        than Affiliates) in connection with such event; (ii) in the case of a sale, transfer or other disposition
        of an asset (including pursuant to a sale and leaseback transaction or a casualty or a condemnation
        or similar proceeding), the amount of all payments required to be made as a result of such event to
        repay Indebtedness (other than Loans) secured by such asset or otherwise subject to mandatory
        prepayment as a result of such event, and (iii) the amount of all taxes paid (or reasonably estimated
        to be payable) and the amount of any reserves established to fund contingent liabilities reasonably
        estimated to be payable, in each case during the year that such event occurred or the next
        succeeding year and that are directly attributable to such event (as determined reasonably and in
        good faith by a Financial Officer of the applicable Borrower).

                   “Notice Period” shall have the meaning set forth in Section 9.1.

                “Obligations” shall mean all present and future obligations, Indebtedness and liabilities of
        the Borrower to the Lender at any time and from time to time of every kind, nature and description,
        direct or indirect, secured or unsecured, joint and several, absolute and contingent, due or to
        become due, matured or unmatured, now existing or hereafter arising, contractual or tortious,
        liquidated or unliquidated, under any of the Loan Documents or under applicable Law including,
        without limitation, all applicable fees, charges and expenses and/or all amounts paid or advanced
        by the Lender on behalf of or for the benefit of the Borrower for any reason at any time, including
        obligations that accrue after the commencement of the Bankruptcy Case.

             “Old Operator” shall mean Nacogdoches County Hospital District d/b/a Nacogdoches
        Memorial Hospital.

              “Operating Account” shall mean a deposit account established and maintained in the
        Borrower’s name, which is used to receive Advances or for Borrower’s operating disbursements.

                “Organizational Documents” shall mean, with respect to any Person other than a natural
        person, the documents by which such Person was organized (such as a certificate of incorporation,
        certificate of limited partnership or articles of organization, and including, without limitation, any
        certificates of designation for preferred stock or other forms of preferred equity) and which relate
        to the internal governance of such Person (such as by-laws, a partnership agreement or an


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        operating, limited liability company or members agreement), including any and all shareholder
        agreements or voting agreements relating to the capital stock or other equity interests of such
        Person.

                “Payroll Account” shall mean a deposit account established and maintained in Borrower’s
        name, which is used solely to hold any and all amounts to be used by such Borrower for payroll,
        payroll taxes and other employee wage and benefit payments, and which does not contain monies
        allocated for any other purpose.

                “Permit” shall mean all Borrower’s governmental licenses, authorizations, provider
        numbers, supplier numbers, registrations, permits, drug or device authorizations and approvals,
        certificates, franchises, qualifications, accreditations, consents and approvals required under
        applicable Law and required for such Borrower to carry on its business as now conducted,
        including, without limitation, Healthcare Permits.

                “Permitted Contest” shall mean, with respect to any tax obligation or other obligation
        allegedly or potentially owing from Borrower or its Subsidiary to any governmental tax authority
        or other third party, a contest maintained in good faith by appropriate proceedings promptly
        instituted and diligently conducted and with respect to which such reserve or other appropriate
        provision, if any, as shall be required in conformity with GAAP shall have been made on
        Borrower’s books and records and financial statements; provided, however, that (a) compliance
        with the obligation that is the subject of such contest is effectively stayed during such challenge;
        (b) the Borrower and its Subsidiaries’ title to, and its right to use, the Collateral is not adversely
        affected thereby and the Lender’s Lien and priority on the Collateral are not adversely affected,
        altered or impaired thereby; (c) the Borrower has given prior written notice to Lender of
        Borrower’s or its Subsidiary’s intent to so contest the obligation; (d) the Collateral or any part
        thereof or any interest therein shall not be in any danger of being sold, forfeited or lost by reason
        of such contest by Borrower or its Subsidiaries; (e) Borrower has given Lender notice of the
        commencement of such contest and upon request by Lender, from time to time, notice of the status
        of such contest by such Borrower and/or confirmation of the continuing satisfaction of this
        definition; (f) a final determination of such contest could not result in Lender’s Lien and its priority
        on the Collateral being adversely affected, altered or impaired, and (g) upon a final determination
        of such contest, the Borrower and its Subsidiaries shall promptly comply with the requirements
        thereof.

                 “Permitted Indebtedness” shall mean: (i) Indebtedness under the Loan Documents; (ii)
        any Indebtedness existing on the Petition Date; (iii) Capitalized Lease Obligations incurred after
        the Closing Date and secured only by the Equipment being leased pursuant to such Capitalized
        Lease Obligations; (iv) a purchase-money obligation, as defined in Section 9-103(a) of the UCC,
        provided that the aggregate amount thereof outstanding at any time shall not exceed $10,000; (v)
        Indebtedness in connection with advances made by an equity holder in order to cure any Event of
        Default of the financial and loan covenants set forth on Annex I; provided, however, that such
        Indebtedness shall be on an unsecured basis, subordinated in right of repayment and remedies to
        all of the Obligations and to all of the Lender’s rights and in form and substance satisfactory to
        Lender; (vi) accounts payable to trade creditors and current operating expenses incurred in the
        ordinary course of business and paid on a timely basis; (vii) borrowings incurred in the ordinary
        course of business and not exceeding $10,000 individually or in the aggregate outstanding at any

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        one time; provided, however, that such Indebtedness shall be on an unsecured basis, subordinated
        in right of repayment and remedies to all of the Obligations and to all of the Lender’s rights and in
        form and substance satisfactory to the Lender; (viii) Indebtedness in the form of insurance
        premiums financed through the applicable insurance company, and (ix) any other Indebtedness to
        which the Lender may expressly consent in writing prior to its incurrence, which consent shall be
        in the sole discretion of Lender.

                “Permitted Liens” shall mean: (a) deposits or pledges of cash to secure obligations under
        worker’s compensation, social security or similar Laws, or under unemployment insurance (but
        excluding Liens arising under ERISA, or, with respect to any Pension Plan or Multiemployer Plan,
        the Code) pertaining to the Borrower’s or its Subsidiary’s employees, if any; (b) deposits or
        pledges of cash to secure bids, tenders, contracts (other than contracts for the payment of money
        or the deferred purchase price of property or services), leases, statutory obligations, surety and
        appeal bonds and other obligations of like nature arising in the ordinary course of business;
        (c) carrier’s, warehousemen’s, mechanic’s, workmen’s, materialmen’s or other like Liens on
        Collateral, other than any Collateral which is part of the Borrowing Base, arising in the ordinary
        course of business with respect to obligations which are not due, or which are being contested
        pursuant to a Permitted Contest; (d) Liens on Collateral, other than Accounts, for taxes or other
        governmental charges not at the time delinquent or thereafter payable without penalty or the
        subject of a Permitted Contest; (e) attachments, appeal bonds, judgments and other similar Liens
        on Collateral other than Accounts, for sums not exceeding $25,000 in the aggregate arising in
        connection with court proceedings; provided, however, that the execution or other enforcement of
        such Liens is effectively stayed and the claims secured thereby are the subject of a Permitted
        Contest; (f) Liens and encumbrances in favor of Lender under the Loan Documents; (g) Liens on
        Collateral, other than Collateral which is part of the Borrowing Base, existing on the date hereof
        and set forth on Schedule 7.3; (h) any Lien on any Equipment securing Indebtedness permitted
        under subpart (iii) of the definition of Permitted Indebtedness, provided, however, that such Lien
        attaches concurrently with or within twenty (20) days after the acquisition thereof; (i) any Liens
        that are expressly subordinated to Lender under a Financing Order and are subject to the
        Bankruptcy Case’s automatic stay, and (j) any other Liens to which Lender may expressly consent
        in writing, which consent shall be in the sole discretion of Lender.

                “Permitted Modifications” shall mean (a) such amendments or other modifications to
        Borrower’s or Subsidiary’s Organizational Documents as are required under this Agreement or by
        applicable Law and fully disclosed to the Lender within ten (10) days after such amendments or
        modifications have become effective, and (b) such amendments or modifications to Borrower’s or
        Subsidiary’s Organizational Documents (other than those involving a change in the name of
        Borrower or Subsidiary or involving a reorganization of Borrower or Subsidiary under the laws of
        a different jurisdiction) that would not adversely affect the rights and interests of the Lender and
        fully disclosed to Lender within ten (10) days after such amendments or modifications have
        become effective.

               “Permitted Variance” shall mean a variance of no more than twelve and one half percent
        (12.5%) between the projected Net Operating Cash Flow as set forth and the actual Net Operating
        Cash Flow.



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               “Person” shall mean any natural person, corporation, limited liability company,
        professional association, limited partnership, general partnership, joint stock company, joint
        venture, association, company, trust, bank, trust company, land trust, business trust or other
        organization, whether or not a legal entity, and any Governmental Authority or any other entity of
        whatever nature.

                   “Petition Date” shall have the meaning assigned to that term in the Recitals.

               “Pre-Petition Aggregate Exposure” shall mean the aggregate sum of the Loans made
        pursuant to the Pre-Petition Credit Agreement plus interest, fees, costs and expenses arising
        thereunder.

               “Pre-Petition Credit Agreement” shall mean, as amended, modified or supplemented
        from time to time, that certain Credit and Security Agreement between Lion Star Nacogdoches
        Hospital, LLC as the Borrower, and eCapital Healthcare Corp., f/k/a CNH Finance Fund I, L.P. as
        the Lender, dated as of July 16, 2021. “Pre-Petition Loans” means the “Loans” as defined in the
        Pre-Petition Credit Agreement.

               “Pre-Petition Obligations” shall mean, collectively, the “Obligations” (as defined in the
        Pre-Petition Credit Agreement) arising under the Pre-Petition Credit Agreement.

                   “Prepayment Event” means:

               (a) any Disposition (including pursuant to a sale and leaseback transaction) of any assets
        of Borrower;

               (b) any casualty or other insured damage to, or any taking under power of eminent domain
        or by condemnation or similar proceeding of, any assets of Borrower or any Subsidiary, or

                (c) the incurrence by Borrower of any Indebtedness (other than Permitted Indebtedness)
        for borrowed money.

                 “Prime Rate” shall mean a fluctuating interest rate per annum equal at all times to the rate
        of interest announced, from time to time, within Wells Fargo Bank at its principal office in San
        Francisco as its “prime rate,” with the understanding that the “prime rate” is one of Wells Fargo
        Bank’s base rates (not necessarily the lowest of such rates) and serves as the basis upon which
        effective rates of interest are calculated for those loans making reference thereto and is evidenced
        by the recording thereof after its announcement in such internal publications as Wells Fargo Bank
        may designate; provided that Lender may, upon prior written notice to the Borrower, choose a
        reasonably comparable index or source to use as the basis for the Prime Rate, and further provided,
        that in no event shall the Prime Rate be lower than the Prime Rate on the Closing Date, and further
        provided, that each change in the fluctuating interest rate shall take effect simultaneously with the
        corresponding change in the Prime Rate.

               “Related Property” shall mean, with respect to each Account, the following: (i) all records
        of any nature evidencing or related to the Account, including contracts, invoices, charges slips,
        credit memoranda, notes and other instruments and other documents, books, records and other
        information (including computer data) (ii) all security interests or liens and property subject thereto

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        from time to time purporting to secure payment of such Account, whether pursuant to the contract
        related to such Account or otherwise, including all rights of stoppage in transit, replevin,
        reclamation, Supporting Obligations and Letter of Credit Rights, and all claims of lien filed or held
        by Borrower on personal property; (iii) all rights to any Goods whose sale gave rise to such
        Account, including returned or repossessed Goods; (iv) all Instruments, Documents, Chattel Paper
        and General Intangibles arising from, related to or evidencing such Account; (v) all UCC financing
        statements covering any collateral securing payment of such Account; (vi) all guaranties and other
        agreements or arrangements of whatever character from time to time supporting or securing
        payment of such Account whether pursuant to the contract related to such Account or otherwise;
        and (vii) all proceeds and amounts received or receivable arising from any of the foregoing..

                   “Revolving Facility” shall have the meaning assigned to such term in the recitals.

                   “Revolving Loan” shall mean the aggregate of the loans made pursuant to Section 2.1(a).

               “Revolving Loan Limit” shall mean, at any time, the lesser of (a) the Facility Cap and (b)
        eighty-five percent (85%) of the Borrowing Base.

               “Self-Pay Account” shall mean an Account payable by the individual receiving medical
        goods or services or by an individual (as opposed to a third-party insurance company, Medicare,
        Medicaid, or similar entity) responsible for such payment on behalf of the individual receiving
        medical goods or services. Self-pay accounts shall also include any co-pays and deductibles
        payable by such individuals.

                   “Software Interface Fee” shall have the meaning assigned to the term in Section 3.5.

               “Subordinated Debt” shall mean any Indebtedness of Borrower incurred pursuant to the
        terms of the Subordinated Debt Documents and with the prior written consent of Lender, all of
        which documents must be in form and substance acceptable to Lender in its sole discretion.

               “Subordinated Debt Documents” shall mean any documents evidencing or securing
        Indebtedness governed by a Subordination Agreement, all of which documents must be in form
        and substance acceptable to Lender in its sole discretion.

                “Subordination Agreement” shall mean each agreement between Lender and another
        creditor of Borrower, as the same may be amended, supplemented, restated, or otherwise modified
        from time to time in accordance with the terms thereof, pursuant to which Indebtedness or other
        obligations owing from Borrower or the Liens securing such Indebtedness granted by Borrower to
        such creditor are subordinated in any way to the Obligations and the Liens created under the Loan
        Documents, the terms and provisions of such Subordination Agreements to have been agreed to
        by and be acceptable to Lender in the exercise of its sole discretion, which may include
        requirements that the Subordinated Debt (i) not mature prior to the end of the Term, and (ii) not
        require any payment other than interest during the Term, and (iii) will receive no payments
        following an Event of Default.

                “Subsidiary” shall mean (i) as to Borrower, any Person in which more than fifty percent
        (50%) of all equity, membership, partnership or other ownership interests is owned directly or
        indirectly by Borrower through one or more of its Subsidiaries, and (ii) as to any other Person, any

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        Person in which more than fifty percent (50%) of all equity, membership, partnership or other
        ownership interests is owned directly or indirectly by such Person through one or more of such
        Person’s Subsidiaries. Unless the context otherwise requires, each reference to a Subsidiary shall
        be a reference to a Subsidiary of the Borrower.

               “Term” shall mean the period commencing on the date set forth on the first page hereof
        and ending on the earlier to occur of (i) the effective date of a plan of reorganization of the
        Borrower confirmed by the Bankruptcy Court; (ii) consummation of a sale or other disposition of
        a material portion of the Borrower’s assets pursuant to 11 U.S.C. 363 or otherwise; (iii) the
        Borrower’s filing of a motion or other pleading seeking, or consenting to, conversion to a
        proceeding under Chapter 7 of the Bankruptcy Code; (iv) conversion to a proceeding under
        Chapter 7 of the Bankruptcy Code; (v) a dismissal by the Bankruptcy Court of the Borrower’s
        Bankruptcy Case; (vi) the Borrower’s filing of a motion or other pleading seeking the dismissal of
        the Bankruptcy Case under Section 1112 of the Bankruptcy Code or otherwise; (vii) twelve (12)
        months from Closing, or (viii) any date on which the Loans are accelerated during the continuance
        of an Event of Default.

               “Termination Date” shall mean the earlier to occur of (a) the end of the Term, (b) any
        date on which the Lender accelerates the maturity of the Loans pursuant to Article VIII, or (c) the
        termination date stated in any notice of termination of this Agreement provided by Borrower in
        accordance with Section 11.1.

              “Termination Fee” shall mean the amount equal to two percent (2.0%) of the Facility
        Cap. The Termination Fee is an “Obligation,” as that term is defined herein.

                   “Test Period” shall have the meaning assigned to that term in Annex I.

                “Third Party Payor” shall mean Medicare, Medicaid, TRICARE, and other state or
        federal health care programs, Blue Cross and/or Blue Shield, private insurers, managed care plans,
        and any other Person or entity which presently or in the future maintains Third Party Payor
        Programs.

               “Third-Party Payor Programs” shall mean all payment and reimbursement programs,
        sponsored by a Third-Party Payor, in which the Borrower participates.

                “TRICARE” shall mean the program administered pursuant to 10 U.S.C. Section 1071 et.
        seq., Sections 1320a-7 and 1320a-7a of Title 42 of the United States Code and the regulations
        promulgated pursuant to such statutes.

                “UCC” and “Uniform Commercial Code” shall mean the Uniform Commercial Code of
        the State of Texas or of any other state the laws of which are required to be applied in connection
        with the perfection of security interests in any Collateral.

                   “United States” and “U.S.” shall mean the United States of America.

                   “Unused Line Fee” shall have the meaning assigned to the term in Section 3.2.



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                   1.3   Other Definitional and Interpretative Provisions

                References in this Agreement to “Articles”, “Sections”, “Annexes”, “Exhibits”, or
        “Schedules” shall be to Articles, Sections, Annexes, Exhibits or Schedules of or to this Agreement
        unless otherwise specifically provided. Any term defined herein may be used in the singular or
        plural. “Include,” “includes,” and “including” shall be deemed to be followed by “without
        limitation.” Except as otherwise specified or limited herein, references to any Person include the
        successors and assigns of such Person. References “from” or “through” any date mean, unless
        otherwise specified, “from and including” or “through and including,” respectively. Unless
        otherwise specified herein, the settlement of all payments and fundings hereunder between or
        among the parties hereto shall be made in lawful money of the United States and in immediately
        available funds. Unless otherwise specified herein, all amounts (including, for the avoidance of
        doubt, for purposes of calculating the Borrowing Base) shall be calculated in Dollars. References
        to any statute or act shall include all related current regulations and all amendments and any
        successor statutes, acts, and regulations. All amounts used for purposes of financial calculations
        required to be made herein shall be without duplication. References to any statute or act, without
        additional reference, shall be deemed to refer to federal statutes and acts of the United States.
        References to any agreement, instrument, or document shall include all schedules, exhibits,
        annexes, and other attachments thereto. As used in this Agreement, the meaning of the term
        “material” or the phrase “in all material respects” is intended to refer to an act, omission, violation,
        or condition which reflects or could reasonably be expected to result in a Material Adverse Effect.
        References to capitalized terms that are not defined herein but are defined in the UCC shall have
        the meanings given them in the UCC. All references herein to times of day shall be references to
        daylight or standard time, as applicable, in New York City.

                   1.4   Time is of the Essence

             Time is of the essence in Borrower’s performance under this Agreement and all other Loan
        Documents.

        II. ADVANCES, PAYMENT AND INTEREST

                   2.1   Advances; Roll Up of Pre-Petition Obligations

                         (a)     Advances. Subject to the provisions of this Agreement, Lender shall make
                         Advances to Borrower under the Revolving Facility from time to time during the
                         Term, and not more than once per each week unless agreed to by Lender and subject
                         to the processing fees set forth in Section 2.4; provided that, notwithstanding any
                         other provision of this Agreement (but subject to the provisions of this Section
                         2.1(a)), the principal amount at any one time outstanding under the Revolving
                         Facility shall not exceed the Revolving Loan Limit. The Revolving Facility is a
                         revolving credit facility, which may be drawn, repaid, and redrawn from time to
                         time as permitted under this Agreement. Any determination as to whether there is
                         availability within the Borrowing Base for Advances shall be made by Lender in
                         its discretion and is final and binding upon Borrower. Unless otherwise permitted
                         by Lender, each Advance requested by Borrower shall be in an amount of at least
                         $25,000. Subject to the provisions of this Agreement, Borrower may request


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                       Advances under the Revolving Facility up to and including the Availability. Lender
                       may, in Lender’s sole discretion, withhold from Advances made to Borrower such
                       amounts as may be necessary to pay interest on the Revolving Facility and other
                       Obligations hereunder. In addition, Advances under the Revolving Facility
                       automatically may, in the discretion of Lender, be made for the payment of interest
                       on the Revolving Facility and other Obligations on the date when due to the extent
                       of Availability and as provided for herein.

                       (b)     Roll-Up. Effective immediately upon the making of an Advance under this
                       Agreement (such date, the “Roll-Up Date”), and without any further action by any
                       party to this Agreement or the other Loan Document, the Bankruptcy Court or any
                       other Person, (i) the Pre-Petition Obligations shall be automatically deemed to
                       constitute Loans under this Agreement (on a dollar-for-dollar basis) (such Loans,
                       the “Rolled-Up Loans”) which shall be due and payable in accordance with the
                       terms and conditions set forth in this Agreement as if originally funded hereunder
                       on the date of such Advance (such aggregate amount advance, the “Roll-Up
                       Amount”) and (ii) from and after the Roll-Up Date, Pre-Petition Obligations shall
                       be automatically and irrevocably reduced by the Roll-Up Amount.

                       (c)     The Lender shall have the right to establish and readjust from time to time,
                       in its sole discretion, reserves (without duplication of other reserves) against the
                       Borrowing Base, which reserves shall have the effect of reducing the amounts
                       otherwise eligible to be disbursed to Borrower under the Revolving Facility
                       pursuant to this Agreement.

                       (d)   The Borrower may, from time to time, repay all or part of the outstanding
                       Advances under the Revolving Facility in accordance with the terms of this
                       Agreement, with such repaid amounts eligible to be redrawn under the terms of the
                       Agreement.

                (e)    The Facility Cap may, at Borrower’s request and with the consent of Lender, which
        consent shall be in the Lender’s sole discretion, be increased. In the event that the Facility Cap is
        increased, Borrower shall pay to Lender a Facility Fee in an amount equal to one percent (1.0%) of
        the amount by which the Facility Cap is increased.

                (f)       Lender may in its sole discretion make one or more Advances in excess of
        Availability. The making of any Advance(s) in excess of Availability shall not be deemed an
        acknowledgement that any additional such Advance(s) will be made or may be required to be made;
        nor shall any such Advance(s) be deemed to establish any course of conduct, waiver, or estoppel that
        would obligate Lender to make any further such Advance or prevent Lender from treating
        Borrower’s failure to repay such Advance(s) as a Default or an Event of Default. Each time an
        Advance causes the principal balance under the Revolving Facility to exceed the Availability
        (whether because of an intentional Advance in excess of Availability or a reduction in the Borrowing
        Base or otherwise), Lender may charge an over-advance fee of ten percent (10%) of the amount by
        which the principal balance exceeds the Availability as a result of such Advance. Such over-advance
        fee shall be in addition to any other fees, charges or other provisions that may increase the Applicable
        Rate of interest hereunder and the assessment or collection of such over-advance fee shall not, unless

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        Lender specifically agrees in writing to the contrary, prevent Lender from considering any such
        over-advance arising from a reduction in the Borrowing Base, or the circumstances giving rise to
        any over advance, from being a Default or an Event of Default. The over-advance fee shall be paid
        on the first Business Day of each week if the amount outstanding hereunder is in excess of the
        Availability at any time during the immediately preceding week.

               (g)     Borrower may request from time to time certain otherwise non-Eligible
        Receivables to be included as Eligible Receivables for purposes of calculating Availability. If after
        underwriting such non-Eligible Receivables, Lender determines in its sole discretion to include
        them as Eligible Receivables, Borrower shall pay to Lender an additional underwriting fee in an
        amount equal to two percent (2%) of the Borrowing Base attributable to such non-Eligible
        Receivables at such time as such Accounts are included in the Borrowing Base. In addition, Lender
        may, in its sole discretion require an amendment to this Agreement including additional
        representations, warranties or covenants, as a condition for including such non-Eligible
        Receivables as Eligible Receivables.

                   2.2   Evidence of Obligations; Maturity

                         (a)     The Lender shall maintain, in accordance with its usual practice, electronic
                         or written records evidencing the outstanding Obligations to the Lender, including,
                         without limitation, the amounts of principal, interest, fees and other amounts
                         payable and paid to the Lender from time to time under this Agreement.

                         (b)     The entries made in the electronic or written records maintained pursuant to
                         subsection (a) above shall be prima facie evidence of the existence and amounts of
                         the Obligations therein recorded absent manifest and demonstrable error; provided,
                         however, that the failure of the Lender to maintain such records or any error therein
                         shall not in any manner affect the obligations of the Borrower to repay the
                         Obligations in accordance with their terms. Subject to the foregoing, Advances
                         under the Revolving Facility may also be evidenced by a promissory note, payable
                         to the order of the Lender, duly executed and delivered by Borrower and dated as
                         of the date hereof, evidencing the aggregate indebtedness of the Borrower to the
                         Lender resulting from Advances under the Revolving Facility, from time to time.
                         The Lender hereby is authorized, but is not obligated, to enter the amount of each
                         Advance under the Revolving Facility and the amount of each payment or
                         prepayment principal or interest thereon in the appropriate spaces on the reverse of
                         or on an attachment to the promissory note. The Lender may account to Borrower
                         from time to time with a statement of Advances under the Revolving Facility, the
                         amounts outstanding hereunder, and charges and payments made pursuant to this
                         Agreement, and in the absence of manifest and demonstrable error, such accounting
                         rendered by the Lender shall be deemed final, binding and conclusive unless the
                         Lender is notified by the Borrower in writing to the contrary within thirty (30) days
                         of receipt of each accounting, which notice shall be deemed an objection only to
                         items specifically objected to therein.




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                         (c)    All amounts outstanding hereunder, and other Obligations shall be due and
                         payable in full, if not earlier in accordance with this Agreement or the Financing
                         Orders, on the Termination Date.

                   2.3   Interest

                        Interest shall accrue daily on the principal amount outstanding from time to time
        hereunder at a rate per annum equal to the Prime Rate plus the Applicable Margin calculated on
        the basis of a 360-day year and adjusted for the actual number of days elapsed in each interest
        calculation period. Interest shall be payable by Borrower monthly in arrears but in no event later
        than the first day of each calendar month following the Closing Date. Interest payments shall, at
        the discretion of the Lender, be made (i) by application of funds in the Concentration Account as
        set forth in Section 2.5, (ii) by an Advance on the Revolving Facility, as set forth in Section 2.1,
        without any further action by Borrower, or (iii) upon two Business Days’ notice, directly by
        Borrower. Interest shall continue to accrue on the principal amount outstanding from time to time
        until the irrevocable payment in full in cash of the Obligations and termination of this Agreement.
        Any accrued but unpaid interest shall be added to the Obligations and increase the principal amount
        outstanding hereunder on the first Business Day of each month.

                   2.4    Revolving Facility Disbursements; Requirement to Deliver Borrowing
                   Certificate

                         So long as no Event of Default shall have occurred and be continuing, the Borrower
        may give the Lender written notice requesting an Advance under the Revolving Facility by
        delivering to Lender not later than 9:30 a.m. (New York City time) on the same Business Day but
        not more than three (3) Business Days before the proposed borrowing date of such requested
        Advance (the “Borrowing Date”), a completed Borrowing Certificate and relevant supporting
        documentation satisfactory to the Lender in its discretion, which shall (i) specify the proposed
        Borrowing Date of such Advance which shall be a Business Day; (ii) specify the principal amount
        of such requested Advance; (iii) certify the matters specified therein; and (iv) specify the amount
        of any Medicare or Medicaid recoupments and/or recoupments of any third-party being sought,
        requested or claimed, or, to the Borrower’s knowledge, threatened against Borrower or the
        Borrower’s Affiliates. In the event that the Borrower do not request an Advance during any two
        (2) consecutive calendar weeks, the Borrower shall, on the last Business Day of the second such
        week (and more frequently if the Lender shall so request) until the Obligations are indefeasibly
        paid in cash in full and this Agreement is terminated, deliver to the Lender a completed Borrowing
        Certificate. On each Borrowing Date, the Borrower authorizes the Lender to disburse the proceeds
        of the requested Advance to the appropriate Borrower’s account(s) as set forth on Schedule 2.4 (or
        to such other account as to which the appropriate Borrower shall expressly instruct the Lender in
        writing), in all cases for credit by the recipient of such proceeds to the Borrower, via Federal funds
        wire transfer no later than 4:00 p.m. (New York City time); provided, however, if any amounts are
        then due to the Lender on account of any interest, fees or expense reimbursements pursuant to the
        Loan Documents at the time such Advance is requested, the Lender is authorized (but not required)
        to reduce the proceeds to Borrower with respect to such Advance by the amount of such interest,
        fees or expense reimbursements and to retain such amounts as payment of such interest, fees or
        expense reimbursements. It is understood and agreed that Lender shall have no responsibility for
        the application of proceeds disbursed pursuant to Schedule 2.4. Lender shall charge a processing

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        fee of $150.00 for the first Advance of each calendar week and $450.00 for each additional
        Advance during such calendar week.

                   2.5   Revolving Facility Collections; Repayment; Borrowing Availability
                   and Lockbox

                          (a)   The Borrower shall establish and maintain at a Collection Bank and at
                          Borrower’s expense:

                          (i)    a Governmental Deposit Account, which shall be subject to a deposit
                   account instructions agreement or similar agreement between Borrower, Lender and a
                   Collection Bank;

                          (ii)   a Commercial Deposit Account, which shall be subject to a blocked deposit
                   account control agreement between Borrower, Lender and a Collection Bank;

                           (iii) an Operating Account, which shall be subject to a springing deposit account
                   control agreement between Borrower, Lender and a Collection Bank; and

                         (iv)    a Payroll Account, which shall not be subject to a deposit account control
                   agreement.

                (b)    The Control Agreements on the Governmental Deposit Account and Commercial
        Deposit Account shall instruct the Collection Bank to transfer, on each Business Day, all funds on
        deposit therein to (i) a deposit account established and maintained by Lender or an Affiliate of
        Lender at such bank as Lender may communicate to the Collection Bank from time to time (the
        “Concentration Account”), or (ii) a master collections account established and maintained in the
        name of Borrower, which is subject to a blocked deposit account control agreement between
        Borrower, Lender and a Collection Bank, which causes all funds on deposit in such master
        collections account to be transferred to the Concentration Account on each Business Day.

                 (c)      Borrower hereby agrees to (i) identify its Governmental Deposit Account as the
        “pay to” address on all invoices sent to each payor of Borrower’s Governmental Receivables, and
        (ii) identify its Commercial Deposit Account as the “pay to” address on all invoices sent to each
        payor of Borrower’s other Accounts and Collateral not constituting Governmental Receivables.
        Borrower further agrees not to (A) change such directives to payors without the prior written
        consent of Lender, (B) terminate any Controlled Deposit Account or Control Agreement, or (C)
        terminate or modify, or attempt to terminate or modify, the standing transfer order in any
        Controlled Deposit Agreement.

               (d)    Borrower hereby acknowledges and agrees that any violation of this Section 2.5
        would be an Event of Default hereunder, would cause irreparable harm to the Lender for which
        there would be no adequate remedy at law, and agrees and consents to entry of an order by a court
        of competent jurisdiction granting the Lender specific performance of the terms and provisions of
        this Agreement as to Borrower. At the request of Lender, Borrower shall also enter into a lockbox
        agreement with the Collection Bank providing for the receipt of deposits at an address specified in
        such lockbox agreement and the deposit of funds received at such address to the applicable
        Controlled Deposit Account.

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                (e)     To the extent that any Account collections or any other cash payments received by
        Borrower or an Affiliate of Borrower are not sent directly to the appropriate Controlled Deposit
        Account, such collections and proceeds shall be held in trust for the benefit of the Lender and
        immediately remitted (and in any event within one (1) Business Day), in the form received (or,
        with respect to cash, by check or wire transfer), to the appropriate Controlled Deposit Account for
        immediate transfer to the Concentration Account. Borrower acknowledges and agrees that
        compliance with the terms of this Section 2.5 is an essential term of this Agreement, and that, in
        addition to and notwithstanding any other rights Lender may have hereunder under any other Loan
        Document, under applicable Law or equity, upon each and every failure by Borrower or any
        Affiliates of Borrower to cause collections with respect to Accounts or any other cash payments
        to Borrower to be deposited into the appropriate Controlled Deposit Account as set forth in this
        Section 2.5, Lender shall be entitled, subject to the last sentence of this subsection (e), to assess
        Borrower with a non-compliance fee in an amount equal to ten percent (10%) of the amount of
        such collections or other cash payments; provided that such non-compliance fee shall be in
        addition to any other fees, charges or other provisions that may increase the Applicable Rate of
        interest hereunder and the assessment or collection of such non-compliance fee shall not, unless
        Lender specifically agrees in writing to the contrary, prevent Lender from considering any such
        non-compliance to be a Default or an Event of Default. Notwithstanding the foregoing, prior to
        the assessment of any such non-compliance fee Lender shall give Borrower notice of the of failure
        to deposit Account collections or any other cash payments received by Borrower or an Affiliate of
        Borrower in the appropriate Controlled Deposit Account and Borrower shall have one (1) Business
        Day following such notice to make the required deposit; provided, however, if Lender gives
        Borrower notice of failure to deposit Account collections or any other cash payments received by
        Borrower or an Affiliate of Borrower in the appropriate Controlled Deposit Account more than
        five (5) times in any 12-month period, no further notices will need to be sent to Borrower by
        Lender before Lender may assess such non-compliance fee.

                (f)      For purposes of calculating interest, all funds transferred to the Lender’s
        Concentration Account shall be subject to a four (4) Business Day clearance period and all interest
        accruing on such funds during such clearance period shall accrue for the benefit of Lender. All
        funds transferred to the Concentration Account shall be applied to reduce the Obligations
        hereunder in the following order of priority: (i) payment of any fees and expense reimbursements
        due to Lender under the Loan Documents, (ii) any of Borrower’s Obligations not included in items
        (iii) and (iv) below, (iii) to any interest then due and owing hereunder, and (iv) to the principal
        amount outstanding hereunder. For purposes of determining Availability, all funds transferred to
        the Concentration Account in accordance with this Section shall be applied in accordance with the
        foregoing sentence as of the date of the transfer.

               (g)    If there is a positive balance in favor of Borrower in the Concentration Account,
        such positive balance shall not accrue interest in favor of Borrower, but shall be available to
        Borrower in accordance with the terms of this Agreement.

                (h)     At all times, Borrower and its Affiliates shall direct all collections or proceeds it
        receives on Accounts or from other Collateral to either the Government Deposit Account (with
        respect to collections on Governmental Receivables) or the Commercial Deposit Account (with
        respect to all other collections and proceeds), or such other account(s) as may be specified by
        Lender from time to time and in the manner specified by Lender so long as any amounts are

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        outstanding under the Revolving Facility. In addition, Borrower and its Affiliates shall deposit in
        the Commercial Deposit Account any payments received by Borrower or its Affiliates from Old
        Operator pursuant to Section 1.09 of the Hospital Asset Purchase Agreement, or from the CARES
        Escrow Funds.

               (i)   Borrower shall provide Lender with all information (including user identifications
        and passwords) necessary for Lender to have online view-only access to all information regarding
        Borrower’s deposit accounts.

               (j)     Schedule 2.5 identifies each of Borrower’s deposit accounts, the depository bank
        at which such accounts are maintained, the type of Control Agreements on such accounts (if any),
        and the second lien secured party to such Control Agreements (if any).

                   2.6   Promise to Pay; Manner of Payment

                         The Borrower promises to pay principal, interest, and all other amounts payable
        hereunder, or under any other Loan Document, without any right of rescission and without any
        deduction whatsoever, including any deduction for any setoff, counterclaim, or recoupments, and
        notwithstanding any damage, to, defects in or destruction of the Collateral or any other event,
        including obsolescence of any property or improvements. All payments in respect of interest,
        principal, fees, or other Obligations shall be made by Borrower, at Lender’s sole discretion: (i) by
        application of available funds in the Concentration Account pursuant to Section 2.5; (ii) by
        application of Advances under the Revolving Facility pursuant to Section 2.1, or (iii) upon two
        Business Days’ notice, directly by Borrower. If the Lender requests payment in accordance with
        clause (iii) of the immediately preceding sentence, the Borrower shall make such payment by wire
        transfer on the date when due, without offset or deduction for the counterclaim, in U.S. Dollars, in
        immediately available funds to such account as may be indicated in writing by the Lender to the
        Borrower. Any payment received after 4:00 p.m. on the date when due shall be deemed received
        on the following Business Day. Whenever any payment hereunder shall be stated to be due or
        shall become due and payable on a day other than a Business Day, the due date thereof shall be
        extended to, and such payment shall be made on, the next succeeding Business Day, and such
        extension of time in such case shall be included in the computation of payment of any interest (at
        the interest rate then in effect during such extension) and/or fees, as the case may be.

                   2.7   Repayment of Excess Advances

                        Subject to the following sentence, any balance of Advances under the Revolving
        Facility outstanding at any time in excess of the Revolving Loan Limit shall be immediately due
        and payable by the Borrower upon reasonable demand (or, if such over-advance was created as a
        result of the Lender’s adjustment of the advance rates for Availability or eligibility criteria, then
        within five (5) Business Days, unless such adjustment by the Lender was the result of any
        misrepresentation or fraud of Borrower, in which case there shall be no grace period and any such
        over-advance shall be immediately due and payable), whether or not an Event of Default has
        occurred or is continuing and shall be paid in the manner specified in Section 2.6. Notwithstanding
        the foregoing, if the Lender intentionally makes an Advance that is in excess of Availability, such
        Advance shall be repaid within five (5) Business Days of a demand for repayment or when it is
        otherwise required to be repaid pursuant to other Sections of this Agreement.


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                   2.8    Payments by the Lender

                       Should any amount, interest, or other Obligation required to be paid under any Loan
        Document remain unpaid after it is due and payable and after the expiration of any cure period, if
        applicable, such amount may be paid by the Lender, which payment shall be deemed a request for
        an Advance under the Revolving Facility as of the date such payment is due, and the Borrower
        irrevocably authorize disbursements of any such funds to the Lender by way of direct payment of
        the relevant amount, interest or other Obligations. No payment or prepayment of any amount by
        the Lender or any other Person shall entitle any Person to be subrogated to the rights of the Lender
        under any Loan Document unless and until the Obligations have been fully performed and paid
        irrevocably in cash and this Agreement has been terminated. Any sums expended by the Lender
        as a result of Borrower’s or any Guarantor’s failure to pay, perform, or comply with any Loan
        Document or any of the Obligations may be charged to the Borrower’s account as an Advance
        under the Revolving Facility and added to the Obligations and thereby increase the principal
        amount outstanding hereunder.

                   2.9    Grant of Security Interest; Collateral

                          (a)     To secure the payment and performance of the Obligations, and without
                          limiting any grant of any Lien and security interest in any other Loan Document,
                          the Borrower, upon entry of the Interim Financing Order or the Final Financing
                          Order, as applicable, hereby grant to the Lender a continuing security interest in
                          and Lien upon, and pledge to the Lender, all of its right, title and interest in and to
                          the following, whether now owned or hereafter created, acquired or arising,
                          wherever located, and subject to Section 2.9(b), whether acquired before or after
                          the date hereof (collectively and each individually, the “Collateral”):

                          (i)                         All     Accounts     (including    healthcare   insurance
                   receivables) and Related Property;

                         (ii)                           All CARES Escrow Funds and the CARES Escrow
                   Agreement

                          (iii)                         The Hospital Asset Purchase Agreement

                          (iv)                          all of the Borrower’s deposit accounts and cash;

                          (v)                           all Books and Records, whether or not related to any
                   Collateral;

                           (vi)                       all of Borrower’s other personal property and fixtures,
                   including all Goods, Inventory, Equipment, furniture, General Intangibles (including
                   Payment Intangibles and Software), Chattel Paper (whether tangible or electronic),
                   Supporting Obligations, Investment Property, Financial Assets, Documents, Instruments
                   (including any Promissory Notes), Securities, Securities Accounts, contract rights or rights
                   to payment of money, leases, Permits, license agreements, franchise agreements,
                   Commercial Tort Claims, stock in direct and indirect subsidiaries, machinery, cash, Letter-


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                   of-Credit Rights (whether or not the letter of credit is evidenced by a writing), Intellectual
                   Property, copyrights, trademarks, patents, and tradestyles; and

                            (vii)                    any and all claims, rights, and interests in any of the
                   above and all substitutions for, additions, attachments, accessories, accessions, and
                   improvements to and replacements, products, proceeds, and insurance proceeds of any or
                   all of the foregoing.

                          (b)      The Liens and security interests granted to the Lender above or under the
                          Financing Orders shall be valid, binding, continuing, enforceable, non-avoidable,
                          and automatically and properly perfected first-priority security interests and Liens.
                          Under Section 364(c)(2) of the Bankruptcy Code, the Lender has been granted a
                          first-priority Lien on all Collateral not encumbered as of the Petition Date. Under
                          Section 364(d) of the Bankruptcy Code, the Lender has been granted a first-priority
                          priming Lien on all Collateral encumbered as of the Petition Date. Borrower
                          authorizes the Lender to file or record financing statements and other filing or
                          recording documents or instruments with respect to the Collateral in such form and
                          in such offices as the Lender determines appropriate to perfect the security interests
                          of the Lender under this Agreement. Borrower authorizes the Lender to use
                          collateral descriptions such as “all personal property” or “all assets” in each case
                          “whether now owned or hereafter acquired”, or using words of similar import.

                          (c)     Pursuant to the Financing Orders, the Liens granted in favor of the Lender
                          in all of the Collateral shall be perfected without the recordation of any UCC
                          financing statements, notices of Liens or other instruments of assignment.
                          Notwithstanding the foregoing, the Borrower further agree that the Lender is
                          authorized to file or record financing statements with respect to the Collateral
                          without the signatures of Borrower in such form and in such offices as the Lender
                          reasonably determines appropriate to further evidence the perfection of the security
                          interests of the Lender under this Agreement and to use the collateral description
                          “all assets of the Debtor” in any such financing statements.

                          (d)    The Liens, lien priority, administrative priorities and other rights and
                          remedies granted to the Lender in the Financing Orders and the other Loan
                          Documents shall not be modified, altered or impaired in any manner by any other
                          financing or extension of credit or incurrence of debt by the Borrower (pursuant to
                          Section 364 of the Bankruptcy Code or otherwise), or by any other act or omission
                          whatsoever until the full performance and irrevocable payment in full in cash of the
                          Obligations and termination of this Agreement.

                   2.10   Collateral Administration

                          (a)    All Collateral (except funds required to be deposited in the Controlled
                          Deposit Accounts) will at all times be kept by the Borrower at the locations set forth
                          on Schedule 5.17B and shall not, without concurrent written notice to the Lender,
                          be moved therefrom and in any case shall not be located (as that term is used in
                          Section 9-301(2) of the UCC) outside the continental United States.


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                       (b)     The Borrower shall keep accurate and complete records of its Accounts and
                       all payments and collections thereon and shall submit such records to the Lender
                       on such periodic basis as the Lender may request. After the occurrence and during
                       the continuance of an Event of Default, and upon the Lender’s request, the
                       Borrower shall execute and deliver to the Lender formal written assignments of all
                       of its Accounts weekly or daily as the Lender may request, including all Accounts
                       created since the date of the last assignment, together with copies of claims,
                       invoices and/or other information related thereto. To the extent that collections
                       from such assigned Accounts exceed the amount of the Obligations, such excess
                       amount shall not accrue interest in favor of the Borrower, but shall be available to
                       the Borrower upon the Borrower’s written request.

                       (c)      The Lender shall have the right at all times after the occurrence and during
                       the continuance of an Event of Default after expiration of all applicable cure periods
                       to notify (i) Account Debtors owing Accounts to the Borrower other than
                       Medicaid/Medicare Account Debtors that its Accounts have been assigned to the
                       Lender and to collect such Accounts directly in its own name and to charge
                       collection costs and expenses, including reasonable attorneys’ fees, to Borrower,
                       and (ii) Medicaid/Medicare Account Debtors that the Borrower has waived any and
                       all defenses and counterclaims it may have or could interpose in any action or
                       procedure brought by the Lender to obtain a court order recognizing the collateral
                       assignment or security interest and lien of the Lender in and to any Account or other
                       Collateral and that the Lender is seeking or may seek to obtain a court order
                       recognizing the collateral assignment or security interest and lien of the Lender in
                       and to any Account or Collateral and that the Lender is seeking or may seek to
                       obtain a court order recognizing the collateral assignment or security interest and
                       lien of the Lender in and to all Accounts and other Collateral payable by
                       Medicaid/Medicare Account Debtors.

                       (d)     As and when determined by the Lender in its distrection, the Lender shall
                       have the right to perform the searches described in clauses (i) and (ii) below against
                       the Borrower and the Guarantors (the results of which are to be consistent with the
                       Borrower’s representations and warranties under this Agreement), at the
                       Borrower’s reasonable expense: (i) UCC searches with the Secretary of State and
                       local filing offices of each jurisdiction where Borrower maintains its respective
                       executive offices, a place of business or assets or in which it is organized, and (ii)
                       bankruptcy, judgment, federal, state and local tax lien and litigation searches, in
                       each jurisdiction in which such actions, or Liens may be recorded.

                       (e)     Borrower (i) shall provide prompt written notice to its current bank to
                       transfer all items, collections and remittances to the Concentration Account, (ii)
                       shall direct each Account Debtor to make payments to the appropriate Controlled
                       Deposit Account as set forth in Section 2.5, and Borrower hereby authorizes
                       Lender, upon any failure to send such notices and directions within ten (10) days
                       after the date of this Agreement (or ten (10) days after the Person becomes an
                       Account Debtor), to send any and all similar notices and directions to such Account


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                       Debtors, and (iii) shall do anything further that may be lawfully required by Lender
                       to secure Lender and effectuate the intentions of the Loan Documents.

                       (f)     As of the Closing Date, Borrower has no ownership interest in any Chattel
                       Paper (as defined in Article 9 of the UCC), letter of credit rights, commercial tort
                       claims, Instruments, documents, or Investment Property (other than equity interests
                       in any Subsidiaries of Borrower disclosed on Schedule 5.3) and Borrower shall give
                       notice to Lender promptly (but in any event not later than the delivery by Borrower
                       of the next Borrowing Certificate required pursuant to Section 2.4 above) upon the
                       acquisition by Borrower of any such Chattel Paper, letter of credit rights,
                       commercial tort claims, Instruments, documents, Investment Property. No Person
                       other than any Lender has “control” (as defined in Article 9 of the UCC) over any
                       deposit account, Investment Property (including Securities Accounts and
                       Commodities Accounts), Letter of Credit Rights or electronic Chattel Paper in
                       which Borrower has any interest (except for such control arising by operation of
                       law in favor of any bank or securities intermediary or commodities intermediary
                       with whom any deposit account, Securities Account or Commodities Account of
                       Borrower is maintained).

                       (g)     Borrower shall deliver to Lender all tangible Chattel Paper and all
                       Instruments and Documents owned by Borrower and constituting part of the
                       Collateral duly endorsed and accompanied by duly executed instruments of transfer
                       or assignment, all in form and substance satisfactory to Lender. Borrower shall
                       provide Lender with “control” (as defined in Article 9 of the UCC) of all electronic
                       Chattel Paper owned by Borrower and constituting part of the Collateral by having
                       Lender identified as the assignee on the records pertaining to the single
                       authoritative copy thereof and otherwise complying with the applicable elements
                       of control set forth in the UCC. Borrower also shall deliver to Lender all security
                       agreements securing any such Chattel Paper and securing any such Instruments.
                       Borrower will mark conspicuously all such Chattel Paper and all such Instruments
                       and Documents with a legend, in form and substance satisfactory to Lender,
                       indicating that such Chattel Paper and such Instruments and Documents are subject
                       to the security interests and Liens in favor of Lender created pursuant to this
                       Agreement and the Loan Documents.

                       (h)     The Borrower shall deliver to the Lender all letters of credit on which
                       Borrower is the beneficiary and which give rise to letter of credit rights owned by
                       Borrower which constitute part of the Collateral in each case duly endorsed and
                       accompanied by duly executed instruments of transfer or assignment, all in form
                       and substance satisfactory to the Lender. Borrower shall take any and all actions
                       as may be necessary or desirable, or that the Lender may reasonably request, from
                       time to time, to cause the Lender to obtain exclusive “control” (as defined in
                       Article 9 of the UCC) of any such letter of credit rights in a manner acceptable to
                       the Lender.

                       (i)    The Borrower shall promptly advise the Lender upon Borrower becoming
                       aware that it has any interests in any commercial tort claim that constitutes part of

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                          the Collateral, which such notice shall include descriptions of the events and
                          circumstances giving rise to such commercial tort claim and the dates such events
                          and circumstances occurred, the potential defendants with respect such commercial
                          tort claim and any court proceedings that have been instituted with respect to such
                          commercial tort claims, and the Borrower shall, with respect to any such
                          commercial tort claim, execute and deliver to the Lender such documents as the
                          Lender shall request to perfect, preserve or protect the Liens, rights and remedies
                          of the Lender with respect to any such commercial tort claim.

                          (j)      After the occurrence and during the continuance of an Event of Default,
                          after all applicable cure periods and compliance with the Notice Period and related
                          procedures set forth in the Interim Financing Order, (a) the Lender may elect to
                          exercise any and all of the rights and remedies of Borrower under the Permits,
                          without any interference from Borrower, and Borrower shall cooperate in causing
                          the Governmental Authorities, contractors, or purchasers and lessees to comply
                          with all the terms and conditions of the Licenses, and, (b) if and to the extent
                          permitted by law and the terms of the Permits, the Lender may, at its option, take
                          over and enjoy the benefits of the Permits, exercise Borrower’s rights under the
                          Permits, and perform all acts in the same manner and to the same extent as Borrower
                          might do.

                          (k)    The Borrower shall furnish to the Lender from time to time any statements
                          and schedules further identifying or describing the Collateral and any other
                          information, reports or evidence concerning the Collateral as the Lender may
                          reasonably request from time to time.

                   2.11   Power of Attorney

                        Borrower hereby appoints the Lender as its attorney, with power (a) to endorse the
        name of such Borrower on any checks, notes, acceptances, money orders, drafts, or other forms of
        payment or security that may come into Lender’s possession; (b) to sign the name of such
        Borrower on any invoice or bill of lading relating to any Accounts, inventory, or other Collateral;
        (c) to perfect Lender’s security interest or lien in any Collateral, including filing financing
        statements, without such Borrower’s signature, covering part or all of the Collateral in such
        jurisdictions as Lender shall determine to be advisable; (d) verify the validity, amount or any other
        matter relating to the Collateral by mail, telephone, telecopy or otherwise, and (e) do such other
        and further acts and deeds in the name of such Borrower that the Lender may reasonably deem
        necessary or desirable to enforce its right with respect to any Collateral. The appointment of
        Lender as attorney-in-fact for Borrower is coupled with an interest and is irrevocable prior to full
        payment in cash of all Obligations.

                   2.12   Setoff Rights

                      During the continuance of any Event of Default, the Lender is hereby authorized
        by the Borrower at any time or from time to time, with reasonably prompt subsequent notice to the
        Borrower (any prior or contemporaneous notice being hereby expressly waived) to set off,
        appropriate and to apply, any and all (a) balances held by the Lender or any of the Lender’s


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        Affiliates for the account of the Borrower or any of its Subsidiaries (regardless of whether such
        balances are then due to the Borrower or its Subsidiaries), and (b) other property at any time held
        or owing by Lender to or for the credit or for the account of Borrower or any of its Subsidiaries,
        against and on account of any of the Obligations.

        III. FEES AND OTHER CHARGES

                   3.1   Facility Fee

                       On the Closing Date, and as a condition of Closing, the Borrower shall pay to the
        Lender one percent (1.0%) of the Facility Cap as a nonrefundable fee (such fee and the fee payable
        pursuant to Section 2.1(e) are referred to here in as the “Facility Fee”).

                   3.2   Unused Line Fee

                       The Borrower shall pay to the Lender monthly an unused line fee (the “Unused
        Line Fee”) in an amount equal to eight and one third basis points (i.e., 0.0833%) per month of the
        difference derived by subtracting (i) the average daily balance under the Revolving Facility
        outstanding during the preceding month, from (ii) the Facility Cap. The Unused Line Fee shall be
        payable monthly in arrears but in no event later than the first day of each successive calendar
        month (starting with the first full calendar month following the Closing Date). The final payment
        shall be pro-rated to the date of payment in full and shall be paid on that date as part of the
        Obligations.

                   3.3   Collateral Management Fee

                        The Borrower shall pay the Lender as additional interest a monthly collateral
        management fee (the “Collateral Management Fee”) for monitoring and servicing the Revolving
        Facility, equal to one fourth of one percent (i.e., 0.25%) per month, calculated on the basis of the
        average daily balance under the Revolving Facility outstanding during the preceding month. The
        Collateral Management Fee shall be payable monthly in arrears but in no event later than the first
        calendar day of each successive calendar month (starting with the first full calendar month
        following the Closing Date). The final payment shall be pro-rated to the date of payment in full
        and shall be paid on that date as part of the Obligations.

                   3.4   Termination Fee

                         Upon a termination of the Revolving Facility for any reason, Borrower shall pay
        Lender (in addition to the then outstanding principal, accrued interest and other Obligations (other
        than indemnity obligations with respect to which no claim has been made) relating to the
        Revolving Facility pursuant to the terms of this Agreement and any other Loan Documents), as
        yield maintenance for the loss of bargain and not as a penalty, an amount equal to the Termination
        Fee. Notwithstanding any other provision of any Loan Document, no Termination Fee as described
        above shall be due and payable if (i) Borrower refinances the Obligations (in whole or in part) with
        Lender (which, for purposes of this Section 3.4, shall include Lender and any of its parents,
        subsidiaries or Affiliates), (ii) this Agreement terminates in accordance with its terms at the end of
        its Term, or (iii) Borrower terminates this Agreement within ten (10) days after Borrower provides


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        written notice to Lender of a default by Lender hereunder, and such default by Lender remains
        uncured as of the date of such termination.

                   3.5   Software Interface Fee

                        Upon the first occurrence of an Event of Default, Borrower shall pay to Lender a
        nonrefundable fee of $5,000 for the setup and implementation of the software interface used by
        Lender to calculate the Borrowing Base. Payment of the setup fee shall be made, at the discretion
        of Lender: (i) by application of available funds in the Concentration Account pursuant to Section
        2.5, (ii) by application of Advances under the Revolving Facility pursuant to Section 2.1, or (iii)
        upon two Business Days’ notice, directly by Borrower.

                        Commencing with the first calendar month in which an Event of Default occurs,
        Borrower shall pay Lender a monthly software interface fee (the “Software Interface Fee”) for
        maintaining and servicing the software interface used by Lender to calculate the Borrowing Base,
        equal to $1,000 per month. The Software Interface Fee shall be payable monthly in arrears but in
        no event later than the first day of each successive calendar month. Payment of the Software

                   3.6   Computation of Fees; Lawful Limits

                        All fees hereunder shall be computed on the basis of a year of 360 days and for the
        actual number of days elapsed in each calculation period, as applicable. In no contingency or event
        whatsoever, whether by reason of acceleration or otherwise, shall the interest and other charges
        paid or agreed to be paid to the Lender for the use, forbearance, or detention of money hereunder
        exceed the maximum rate permissible under applicable Law which a court of competent
        jurisdiction shall, in a final determination, deem applicable hereto. If, due to any circumstance
        whatsoever, fulfillment of any provision hereof, at the time performance of such provision shall
        be due, shall exceed any such limit, then the obligation to be so fulfilled shall be reduced to such
        lawful limit, and, if the Lender has received interest or any other charges of any kind which might
        be deemed to be interest under applicable Law in excess of the maximum lawful rate, then such
        excess shall be applied first to any unpaid fees and charges hereunder, then to unpaid principal
        balance owed by the Borrower hereunder, and if the then remaining excess interest is greater than
        the previously unpaid principal balance, the Lender shall promptly refund such excess amount to
        the Borrower and the provisions hereof shall be deemed amended to provide for such permissible
        rate. The terms and provisions of this Section 3.6 shall control to the extent any other provision
        of any Loan Document is inconsistent herewith.

                   3.7   Default Rate of Interest

                       Upon the occurrence and during the continuation of an Event of Default, the
        Applicable Rate of interest in effect at such time with respect to the Obligations shall be increased
        by three percent (3%) per annum (the “Default Rate”). Such increase shall be in addition to any
        other specific charges provided for herein for noncompliance with specific provisions of this
        Agreement.




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                   3.8   Structuring Fee

                       On the Closing Date, Borrower shall pay Lender one and two-tenths of one percent
        (1.2%) of the Facility Cap as a nonrefundable structuring fee, which shall be deemed fully earned
        and paid upon Closing.

        IV. CONDITIONS PRECEDENT

                   4.1   Conditions to Closing and Advances

               The obligations of the Lender to consummate the transactions contemplated herein and to
        make any Advance under the Revolving Facility are subject to the satisfaction, in the discretion of
        the Lender, of the following:

                         (a)     The Bankruptcy Court shall have entered the Interim Financing Order in the
                         Bankruptcy Case, and such order shall be in full force and effect and shall not have
                         been vacated, reversed, modified, or stayed in any respect (and, if such order is the
                         subject of a pending appeal, motion for reconsideration, rehearing, etc., no further
                         performance of any obligation of any party shall have been stayed pending appeal
                         or motion);

                         (b)  The Lender shall have received, reviewed and approved the Budget and any
                         amendments and restatements thereof;

                         (c)   The Borrower and the Lender shall have executed and delivered this
                         Agreement;

                         (d)     The Lender shall have received, in form and substance reasonably
                         satisfactory to Lender, validity and support agreements from each person
                         authorized to sign Borrowing Certificates and, if different, the chief financial
                         officer of the Borrower;

                         (e)    The Borrower shall have established Controlled Deposit Accounts and
                         Lender shall have received fully executed Control Agreements in accordance with
                         Section 2.5 prior to entry of the Final Financing Order;

                         (f)    Borrower shall have established Controlled Deposit Accounts and Lender
                         shall have received fully executed Control Agreements, all in accordance with
                         Section 2.5;

                         (g)    Borrower shall have delivered to Lender, in form and substance acceptable
                         to Lender in Lender’s sole discretion collateral assignment of the CARES Escrow
                         Agreement;

                         (h)    The Borrower shall have executed and delivered to the Lender an IRS Form
                         8821 in form acceptable to Lender naming Tax Guard as appointee;




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                         (i)      The Lender shall have received (i) copies of all insurance policies required
                         by Section 6.6; (ii) a copy of the declarations page for such insurance policies, and
                         (iii) certificates of insurance confirming that the Lender has been named as sole
                         beneficiary, loss payee or additional insured, as appropriate, in each case prior to
                         entry of the Final Financing Order;

                         (j)    The Borrower shall have delivered to the Lender a Borrowing Certificate in
                         the form of Exhibit A executed by an authorized officer of Borrower;

                         (k)    No Event of Default shall have occurred and be continuing, or no Event of
                         Default would exist after the Lender’s disbursement of the Advance;

                         (l)     Each of the representations and warranties made by the Borrower under this
                         Agreement shall be accurate in all material respects on and as of the date the
                         Advance is requested as if made on and as of such date, before and after giving
                         effect to such Advance;

                         (m)    Other than the filing of the Bankruptcy Case, no event shall have occurred
                         which has had or could reasonably be expected to have a Material Adverse Effect;

                         (n)    Immediately after giving effect to the requested Advance, the aggregate
                         outstanding principal amount of Advances under the Revolving Facility shall not
                         exceed the Revolving Loan Limit;

                         (o)     All payments required under any management agreement with any entity
                         that is not a Borrower shall be subordinated to the Obligations of Borrowers
                         hereunder;

                         (p)    The Lender shall have received such other documents, certificates,
                         information as the Lender may reasonably request, all in form and substance
                         reasonably satisfactory to the Lender, and

                         (q)     The Lender shall have received all fees, charges and expenses payable to
                         Lender on or prior to the date of the Advance pursuant to the Loan Documents and
                         the Interim Financing Order, except for the Facility Fee as provided above, which
                         will be accrued.

                   4.2   Waivers of Conditions to Advances

                        No waiver of any of the foregoing conditions to an Advance or the making of an
        Advance by the Lender, notwithstanding the failure of any of the foregoing conditions to be met
        as of the date of such Advance, shall not be deemed to constitute a waiver by the Lender of any
        such conditions with respect to any future requested Advance.




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        V. REPRESENTATIONS AND WARRANTIES

                     In order to induce the Lender to enter into this Agreement and to advance funds to
        Borrower, Borrower represents and warrants as of the date hereof, the Closing Date, and each
        Borrowing Date as follows:

                   5.1   Organization and Authority

                        Borrower is a limited liability company, is duly organized, validly existing and in
        good standing under the laws of Texas and no other jurisdiction, and Borrower (i) has all requisite
        corporate or other organizational power and authority to own its properties and assets and to carry
        on its business as now being conducted and as contemplated in the Loan Documents; (ii) is duly
        qualified to do business in every jurisdiction in which failure so to qualify could reasonably be
        expected to have a Material Adverse Effect, and (iii) has requisite power and authority, subject to
        entry of the Financing Orders, (A) to execute, deliver and perform the Loan Documents to which
        it is a party and all amendments thereto; (B) to borrow hereunder; (C) to consummate the
        transactions contemplated under the Loan Documents, and (D) to grant the Liens with regard to
        the Collateral pursuant to the Loan Documents to which it is a party subject to the Bankruptcy
        Court approval.

                   5.2   Loan Documents

                        The execution, delivery and performance by the Borrower of the Loan Documents
        to which it is a party, and the consummation of the transactions contemplated thereby, including
        the grants of Liens and security interests in the Collateral, subject to entry of the Financing Orders,
        (i) have been duly authorized by all requisite action of the Bankruptcy Court or the Borrower and
        have been duly executed and delivered by or on behalf of Borrower, and (ii) do not violate any
        provisions of (A) applicable Law, (B) any order of any Governmental Authority binding on the
        Borrower or any of the Borrower’s properties the effect of which could reasonably be expected to
        have a Material Adverse Effect, or (C) the certificate of incorporation or bylaws (or any other
        equivalent governing agreement or document) of the Borrower, or any agreement between the
        Borrower and its shareholders, members, partners or equity owners or among any such
        shareholders, members, partners or equity owners. When executed and delivered, each of the Loan
        Documents to which each the Borrower is a party will constitute the legal, valid and binding
        obligation of such Borrower, enforceable against such Borrower in accordance with its terms.

                   5.3   Subsidiaries, Capitalization and Ownership Interests

                        The Borrower has no Subsidiaries. Schedule 5.3 also states the authorized and
        issued capitalization of the Borrower, the number and class of equity securities and/or ownership,
        voting or partnership interests issued and outstanding of Borrower and the record and beneficial
        owners thereof (including options, warrants and other rights to acquire any of the foregoing). The
        outstanding equity securities and/or ownership, voting or partnership interests of Borrower have
        been duly authorized and validly issued and are fully paid and nonassessable, and each Person
        listed on Schedule 5.3 owns beneficially and of record all of the equity securities and/or ownership,
        voting or membership interests it is listed as owning free and clear of any Liens other than



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        Permitted Liens. Except as listed on Schedule 5.3, the Borrower do not own an interest in or
        participates or engages in any joint venture, partnership or similar arrangements with any Persons.

                   5.4   Properties

                         Borrower (i) is the sole owner and has good, valid and marketable title to, or a valid
        leasehold interest in, all of its material properties and assets, including the Collateral, whether
        personal or real, subject to no transfer restrictions or Liens of any kind except for Permitted Liens,
        and (ii) is in compliance in all material respects with each lease to which it is a party or otherwise
        bound except for such noncompliance as would not reasonably be expected to have a Material
        Adverse Effect. Schedule 5.4 lists all real properties (and their locations) owned or leased by or
        to the Borrower. The Borrower enjoys peaceful and undisturbed possession under all such leases,
        and such leases are all the leases necessary for the operation of such properties and assets, are valid
        and subsisting, and are in full force and effect.

                   5.5   Other Agreements

                        Other than with respect to the Bankruptcy Case and claims stayed thereunder, no
        Borrower is (i) a party to any judgment, order or decree or any agreement, document or instrument,
        or subject to any restriction, which would materially adversely affect its ability to execute and
        deliver, or perform under, any Loan Document or to pay the Obligations, or (ii) in default in the
        performance, observance or fulfillment of any obligation, covenant or condition contained in any
        agreement, document or instrument to which it is a party or to which any of its properties or assets
        are subject, which default, if not remedied within any applicable grace or cure period could
        reasonably be expected to have a Material Adverse Effect, nor is there any event, fact, condition
        or circumstance which, with notice or passage of time or both; would constitute or result in a
        conflict, breach, default or event of default under, any of the foregoing which, if not remedied
        within any applicable grace or cure period could reasonably be expected to have a Material
        Adverse Effect.

                   5.6   Litigation

                       There is no action, suit, proceeding or investigation pending or, to Borrower’s
        knowledge, threatened against Borrower that (i) could reasonably be expected to affect the validity
        of any of the Loan Documents or the right of Borrower to enter into any Loan Document or to
        consummate the transactions contemplated thereby or (ii) could reasonably be expected to be or
        have, either individually or in the aggregate, any Material Adverse Change or Material Adverse
        Effect. Borrower is not a party or subject to any order, writ, injunction, judgment or decree of any
        Governmental Authority that could reasonably be expected to have a Material Adverse Effect
        except as so identified in Schedule 5.6.

                   5.7   Labor Matters

                       There are no strikes, slowdowns, work stoppages, lockouts, grievances, other
        collective bargaining or labor related disputes pending or, to Borrower’s knowledge, threatened
        against Borrower. All payments due from Borrower, or for which any claim may be made against
        any of them, on account of wages and employee and retiree health and welfare insurance and other
        benefits have been paid or accrued as a liability on its books, as the case may be. The provisions

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        of any collective agreement are consistent with applicable industry standards respecting wage
        rates, benefits and working rules. No Borrower is in breach of any provision of any collective
        agreement to which it is a party. The consummation of the transactions contemplated by the Loan
        Documents will not give rise to a right of termination or right of renegotiation on the part of any
        union under any collective bargaining agreement to which it is a party or by which it is bound.

                   5.8    Tax Returns, Governmental Reports

                        The Borrower (i) has filed all material federal, state, foreign (if applicable) and
        local tax returns and other reports which are required by law to be filed by such Borrower, and (ii)
        has paid all taxes, assessments, fees and other governmental charges, including, without limitation,
        payroll and other employment-related taxes, in each case that is due and payable.

                   5.9    Financial Statements and Reports

                        All financial information and statements relating to Borrower that have been or may
        hereafter be delivered to the Lender by Borrower are accurate and complete in all material respects
        consistently applied with prior periods. No Borrower has any material obligations or liabilities of
        any kind not disclosed in such financial information or statements or the Bankruptcy Case, and
        since the date of the most recent financial statements submitted to Lender, there has not occurred
        any Material Adverse Change, Material Adverse Effect, Liability Event or, to the Borrower’s
        knowledge, any other event or condition that could reasonably be expected to have a Material
        Adverse Effect or Liability Event, excluding the Bankruptcy Case.

                   5.10   Compliance with Law

                       Borrower (i) is in substantial compliance with all Laws applicable to the Borrower
        or Borrower’s business, assets, or operations, and (ii) is not in violation of any order of any
        Governmental Authority or other board or tribunal, except where noncompliance or violation
        would not reasonably be expected to have a Material Adverse Effect. There is no event, fact,
        condition, or circumstance which, with notice or passage of time, or both, would constitute or
        result in any noncompliance with, or any violation of, any of the foregoing, in each case except
        where noncompliance or violation would not reasonably be expected to have a Material Adverse
        Effect. No Borrower has received any notice that Borrower is not in compliance in any respect
        with any of the requirements of any of the foregoing.

                   5.11   Intellectual Property

                        Borrower owns, is licensed to use, or otherwise has the right to use all Intellectual
        Property that is material to the condition (financial or other), business, or operations of Borrower,
        except as would not reasonably be expected to have a Material Adverse Effect. Except as would
        not reasonably be expected to have a Material Adverse Effect, Borrower is the sole and exclusive
        owner of the entire and unencumbered right, title and interest in and to each such registered
        Intellectual Property (or application therefor) purported to be owned by such Borrower, free and
        clear of any Liens (except for Permitted Liens) or licenses in favor of third parties or agreements
        or covenants not to sue such third parties for infringement. All registered Intellectual Property of
        Borrower is duly and properly registered, filed or issued in the appropriate office and jurisdictions
        for such registrations, filings or issuances, except where the failure to do so would not reasonably

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        be expected to have a Material Adverse Effect. To Borrower’s knowledge, it conducts its business
        without infringement or claim of infringement of any Intellectual Property rights of others and
        there is no infringement or claim of infringement by others of any Intellectual Property rights of
        such Borrower, which infringement or claim of infringement could reasonably be expected to have
        a Material Adverse Effect.

                   5.12   Licenses and Permits

                         Without limitation of anything contained in Section 5.20, Borrower is in substantial
        compliance with and has all Permits necessary or required by applicable Law or Governmental
        Authority for the operation of its businesses except where the failure to be in compliance would
        not reasonably be expected to have a Material Adverse Effect. All of the foregoing are in full force
        and effect and not in known conflict with the rights of others except where the failure to be in
        compliance would not reasonably be expected to have a Material Adverse Effect. No Borrower is
        (i) in breach of or default under the provisions of any of the foregoing, nor is there any event, fact,
        condition or circumstance which, with notice or passage of time or both, would constitute or result
        in a conflict, breach, Default or Event of Default under, any of the foregoing which, if not remedied
        within any applicable grace or cure period could reasonably be expected to have a Material
        Adverse Effect, or (ii) a party to or subject to any agreement, instrument or restriction that is so
        unusual or burdensome that it might have a Material Adverse Effect.

                   5.13   Disclosure

                       No Loan Document nor any other agreement, document, certificate, or statement
        furnished to the Lender by or on behalf of Borrower in connection with the transactions
        contemplated by the Loan Documents, when taken as a whole contains any untrue statement of
        material fact or omits to state any fact necessary to make the statements therein not materially
        misleading in light of current circumstances. All financial projections delivered to the Lender by
        the Borrower has been prepared on the basis of the assumptions stated therein. Such projections
        represent Borrower’s best estimate of such Borrower’s future financial performance, and such
        assumptions are believed by Borrower to be fair and reasonable in light of current business
        conditions.

                   5.14   Existing Indebtedness: Investments, Guarantees, and Certain Contracts

                       Except as permitted by the Loan Documents, the Borrower (i) has no outstanding
        Indebtedness other than Permitted Indebtedness; (ii) is not subject or party to any mortgage, note,
        indenture, indemnity or guarantee of, with respect to or evidencing any Indebtedness of any other
        Person other than in connection with a Permitted Lien, or (iii) does not own or hold any equity or
        long-term debt investments in, and do not have any outstanding advances to or any outstanding
        guarantees for the obligations of, or any outstanding borrowings from, any Person. Borrower has
        performed all material obligations required to be performed by Borrower pursuant to or in
        connection with its outstanding Indebtedness and the items permitted by the Loan Documents, and
        there has occurred no breach, default, or event of default under any document evidencing any such
        items or any fact, circumstance, condition or event which, with the giving of notice or passage of
        time or both, would constitute or result in a breach, default or event of default thereunder. Borrower
        has not agreed to pay any other Indebtedness in priority to the Obligations.


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                   5.15   Agreements with Affiliates

                        Except for transactions permitted under Section 7.6, there are no existing or
        proposed material agreements, arrangements, understandings, or transactions between Borrower
        and any of its officers, members, managers, directors, stockholders, partners, other interest holders,
        employees or Affiliates, or any members of its respective immediate families.

                   5.16   Insurance

                        Borrower has in full force and effect such insurance policies as are customary in its
        industry and as may be required pursuant to Section 6.5. All such insurance policies as in force
        on the date of this Agreement are listed and described on Schedule 5.16.

                   5.17   Names, Location of Offices, Records and Collateral

                        During the preceding five years, the Borrower has not conducted business under or
        used any name (whether corporate, partnership, or assumed), other than as shown on Schedule
        5.17A. The Borrower are the sole owners of all of its names listed on Schedule 5.17A, and any
        and all business done, and invoices issued in such names are Borrower’s sales, business and
        invoices. Borrower maintains its places of business and chief executive offices only at the locations
        set forth on Schedule 5.17B. Schedule 5.17B also identifies all of the addresses (including
        warehouses) at which any of the Collateral is located or Books and Records of Borrower regarding
        any Collateral are kept and identifying which Collateral and which Books and Records are kept at
        each location, the nature of such location (e.g., leased business location operated by the Borrower,
        third party warehouse, consignment location, processor location, etc.) and the name and address
        of the third party owning and/or operating such location. No Collateral and no Books and Records
        in connection therewith or in any way relating thereto or that evidence the Collateral are located
        at any other location except for what may be stored in offsite, remotely accessible computer
        storage. All of the Collateral is and shall remain located (as that term is used in Section 9-301(2)
        of the UCC) only in the continental United States.

                   5.18   Non-Subordination

                          (a)   The Obligations are not subordinated in any way to any other obligations of
                          Borrower or to the rights of any other Person.

                          (b)     Upon the entry of each Financing Order by the Bankruptcy Court, the
                          Obligations of the Borrower will constitute allowed Superpriority Claims (subject
                          only to the Carve-Out), having priority in payment over all other administrative
                          expenses and unsecured claims against the Borrower now existing or hereafter
                          arising, of any kind or nature whatsoever, including without limitation, all
                          administrative expenses of the kind specified in, or arising or ordered under,
                          Sections 105, 326, 328, 503(b), 506(c), 507(a), 507(b), 546(c), 726 and 1114 of the
                          Bankruptcy Code.

                          (c)    The security interests granted in this Agreement will, upon the entry of each
                          Financing Order by the Bankruptcy Court, be prior to all other interests and Liens
                          with respect to the Collateral.

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                   5.19   Accounts

                        In determining which Accounts are Eligible Receivables, the Lender may rely on
        all statements and representations made by the Borrower with respect to any Account. Unless
        otherwise indicated in writing to the Lender, each Account of Borrower that is included on a
        Borrowing Certificate as an Eligible Receivable (i) is genuine and in all respects what it purports
        to be and is not evidenced by a judgment; (ii) meets the criteria for an Eligible Receivable as set
        forth in the definition of that term; (iii) there are no facts, events or occurrences which in any way
        impair the validity or enforceability thereof or materially reduce the amount payable thereunder
        from the face amount of the claim or invoice and statements delivered to Lender with respect
        thereto, except to the extent the same is reflected in the calculation of Net Collectible Value, and
        (iv) Borrower has disclosed to Lender on each Borrowing Certificate the amount of all Accounts
        of Borrower for which Medicare is the Account Debtor and for which payment has been denied
        and subsequently appealed, and Borrower are properly pursuing all available appeals in respects
        of such Accounts.

                   5.20   Healthcare Law Compliance Representations

                To induce the Lender to enter into this Agreement and to make credit accommodations
        contemplated hereby, the Borrower hereby represent and warrant that all of the information
        regarding the Borrower and the Hospital set forth in Schedule 5.20 is true, complete and correct,
        and that, except as disclosed in Schedule 5.20, the following statements are true, complete and
        correct:

                          (a)     Healthcare Permits. Borrower has (i) each Healthcare Permit and other
                          rights from, and has made all declarations and filings with, all applicable
                          Governmental Authorities, all self-regulatory authorities and all courts and other
                          tribunals necessary to engage in the ownership, management and operation of the
                          Hospital or the assets of Borrower, and (ii) no knowledge that any Governmental
                          Authority is considering limiting, suspending or revoking any such Healthcare
                          Permit. All such Healthcare Permits are valid and in full force and effect and
                          Borrower is in compliance with the terms and conditions of all such Healthcare
                          Permits.

                          (b)     Specific Licensing. The Hospital is duly licensed under the applicable Laws
                          of the state where the facility is located. The licensed bed or unit capacity of each
                          such facility is shown on Schedule 5.19. Borrower has not granted to any third party
                          the right to reduce the number of licensed beds, persons served or units in any of the
                          health care facilities operated by Borrower or the right to apply for approval to move
                          any and all of the licensed beds, persons served or units in the Hospital to any other
                          location and there are no proceedings or contemplated to reduce the currently active
                          number of licensed beds, persons served or units in the Hospital.

                          (c)     Accreditation. Borrower has received and maintains accreditation in good
                          standing and without impairment by all applicable Accrediting Organizations, to
                          the extent required by law (including any equivalent regulation) or the terms of any
                          Lease pertaining to the Hospital. Borrower has not received any notice or


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                       communication from any Accrediting Organization that the Hospital is (i) subject
                       to or is required to file a plan of correction with respect to any accreditation survey,
                       or (ii) in danger of losing its accreditation due to a failure to comply with a plan of
                       correction

                (c)    Leases. The Lease has been approved by all necessary Governmental Authorities, if
        any. Under applicable Healthcare Laws in the state in which the Hospital is located, the
        reimbursement rate of the Borrower under applicable Third-Party Payor participation agreements is
        not affected by the rental rates under the Lease. The rentals provided for under the Lease comply
        with all applicable Healthcare Laws and do not exceed the sums permitted to be paid under
        applicable Healthcare Laws.

                       (d)     Participation Agreements/Provider Status/Cost Reports. There is no
                       investigation, audit, claim review, or other action pending or, to the knowledge of
                       Borrower, threatened which could result in a revocation, suspension, termination,
                       probation, restriction, limitation, or non-renewal of any Third-Party Payor
                       participation agreement or provider number or other Healthcare Permit or result in
                       Borrower’s exclusion from any Third-Party Payor Program, nor has Borrower or
                       any Third Party Payor Program made any decision not to renew any participation
                       agreement or provider agreement or other Healthcare Permit related to the Hospital,
                       nor is there any action pending or threatened to impose material intermediate or
                       alternative sanctions with respect to the Hospital. Borrower, and, to Borrower’s
                       knowledge, its contractors, have properly and legally billed all intermediaries and
                       Third-Party Payors for services rendered with respect to the Hospital and have
                       maintained its records to reflect such billing practices. Except with respect to funds
                       escrowed pursuant to the Hospital Asset Purchase Agreement, no funds relating to
                       Borrower are now, or, to Borrower’s knowledge will be, withheld by any Third-
                       Party Payor. Borrower has or has the right to use the requisite participation
                       agreement or provider number or other Healthcare Permit to bill the Medicare
                       program and the respective Medicaid programs in the state or states in which
                       Borrower operates and all other Third-Party Payor Programs (including Medicare)
                       which have historically accounted for any portion of the revenues of the Hospital.
                       All Medicare, Medicaid, and private insurance cost reports and financial reports
                       submitted by Borrower are and will be materially accurate and complete and have
                       not been and will not be misleading in any material respects and have been and will
                       be submitted on a timely basis. No cost reports for the Hospital remain “open” or
                       unsettled for longer than historically indicated periods and there are no Medicare,
                       Medicaid or other Third-Party Payor Program reimbursement audits or appeals
                       pending with respect to the Hospital or Borrower..

                       (e)     No Violation of Healthcare Laws. Neither the Hospital or Borrower are in
                       violation of any applicable Laws, except where any such violation would not have
                       a Material Adverse Effect. Borrower is HIPAA Compliant. The Hospital has not
                       received a statement of deficiencies or survey violation of a “Level A” (or
                       equivalent) or worse (with respect to assisted living facilities), or a tag level of “G”
                       or higher with respect to any skilled nursing facility, within the past three years for
                       which a plan of correction has not been filed with the applicable state authority.

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                       The Hospital is not currently subject to any plan of correction that has not been
                       accepted by or is currently the subject of a review by the applicable state authority.
                       Borrower has not received notice of any charges of patient abuse..

                       (f)     Proceedings. Neither Borrower nor the Hospital is subject to any
                       proceeding, suit or, to Borrower’s knowledge, investigation by any federal, state or
                       local government or quasi-governmental body, agency, board or authority or any
                       other administrative or investigative body (including the Office of the Inspector
                       General of the United States Department of Health and Human Services): (i) which
                       may result in the imposition of a fine, alternative, interim or final sanction, a lower
                       reimbursement rate for services rendered to eligible patients which has not been
                       provided for on its financial statements, or which would have a Material Adverse
                       Effect on Borrower or the operation of the Hospital; (ii) which could result in the
                       revocation, transfer, surrender, suspension or other impairment of the operating
                       certificate, provider agreement or Healthcare Permits of the Hospital; (iii) which
                       pertains to or requests any voluntary disclosure pertaining to a potential
                       overpayment matter involving the submission of claims to such payor by Borrower;
                       or (iv) which pertains to any state or federal Medicare or Medicaid cost reports or
                       claims filed by Borrower (including any reimbursement audits), or any
                       disallowance by any commission, board or agency in connection with any audit of
                       such cost reports..

                       (g)    Hill Burton. Except for Governmental Receivables, Borrower is not or will
                       be a participant in any federal program whereby any federal, state or local
                       government or quasi-governmental body, agency, board or other authority may
                       have the right to recover funds by reason of the advance of federal funds, including
                       those authorized under the Hill-Burton Act (42 U.S.C. 291, et seq.)

                                       (h)     Fraud and Abuse.

                                 (i)                   Borrower has not, or to its knowledge has been
        alleged to have, and no owner, officer, manager, employee or Person with a “direct or indirect
        ownership interest” (as that phrase is defined in 42 C.F.R. §420.201) in Borrower has, engaged in
        any of the following: (1) knowingly and willfully making or causing to be made a false statement
        or representation of a material fact in any application for any benefit or payment under any
        Healthcare Laws; (2) knowingly and willfully making or causing to be made any false statement
        or representation of a material fact for use in determining rights to any benefit or payment under
        any Healthcare Laws; (3) failing to disclose knowledge by a claimant of the occurrence of any
        event affecting the initial or continued right to any benefit or payment under any Healthcare Laws
        on its own behalf or on behalf of another, with intent to secure such benefit or payment
        fraudulently; (4) knowingly and willfully soliciting or receiving any remuneration (including any
        kickback, bribe or rebate), directly or indirectly, overtly or covertly, in cash or in kind or offering
        to pay such remuneration (I) in return for referring an individual to a Person for the furnishing or
        arranging for the furnishing of any item or service for which payment may be made in whole or in
        part by any Healthcare Laws, or (II) in return for purchasing, leasing or ordering or arranging for
        or recommending the purchasing, leasing or ordering of any good, facility, service, or item for
        which payment may be made in whole or in part by any Healthcare Laws; (5) presenting or causing

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        to be presented a claim for reimbursement for services that is for an item or services that was
        known or should have been known to be (I) not provided as claimed, or (II) false or fraudulent; or
        (6) knowingly and willfully making or causing to be made or inducing or seeking to induce the
        making of any false statement or representation (or omitting to state a fact required to be stated
        therein or necessary to make the statements contained therein not misleading) of a material fact
        with respect to (I) the Hospital in order that the Hospital may qualify for Governmental Authority
        certification, or (II) information required to be provided under 42 U.S.C. § 1320a-3. All contractual
        arrangements to which Borrower is a party are in compliance with all Healthcare Laws.

                                  (ii) Borrower has not, or to its knowledge has been alleged to have, and
        no owner, officer, manager, employee or Person with a “direct or indirect ownership interest” (as
        that phrase is defined in 42 C.F.R. §420.201) in Borrower has: (1) had a civil monetary penalty
        assessed against him or her pursuant to 42 U.S.C. §1320a-7a or is the subject of a proceeding
        seeking to assess such penalty; (2) been excluded from participation in a Federal Health Care
        Program (as that term is defined in 42 U.S.C. §1320a-7b) or is the subject of a proceeding seeking
        to assess such penalty, or has been “suspended” or “debarred” from selling products to the U.S.
        government or its agencies pursuant to the Federal Acquisition Regulation, relating to debarment
        and suspension applicable to federal government agencies generally (48 C.F.R. Subpart 9.4), or
        other applicable Laws; (3) been convicted (as that term is defined in 42 C.F.R. §1001.2) of any of
        those offenses described in 42 U.S.C. §1320a-7b or 18 U.S.C. §§669, 1035, 1347, 1518 or is the
        subject of a proceeding seeking to assess such penalty; (4) been involved or named in a U.S.
        Attorney complaint made or any other action taken pursuant to the False Claims Act under 31
        U.S.C. §§3729-3731 or qui tam action brought pursuant to 31 U.S.C. §3729 et seq.; (5) been made
        a party to any other action by any governmental authority that may prohibit it from selling products
        to any governmental or other purchaser pursuant to any applicable Law; or (6) become subject to
        any federal, state, local governmental or private payor civil or criminal investigations or inquiries,
        proceedings, validation review, program integrity review or statement of charges involving or
        related to its compliance with Healthcare Laws or involving or threatening its participation in
        Medicare, Medicaid or other Third-Party Payor Programs or its billing practices with respect
        thereto.

                   5.21   Reliance on Representations; Survival

                        Borrower makes the representations and warranties contained herein with the
        knowledge and intention that the Lender is relying and will rely thereon. All such representations
        and warranties will survive the execution and delivery of this Agreement and the making of the
        Advances under the Revolving Facility. No investigation or inquiry made by or on behalf of the
        Lender nor knowledge by Lender which is in any fashion inconsistent with the representations and
        warranties contained herein, shall in any way (i) affect or lessen the representations and warranties
        made and entered into by the Borrower hereunder, or (ii) reduce or in any way affect the Lender’s
        rights with respect to a breach of such representations and warranties.

                   5.22   Compliance with Environmental Requirements; No Hazardous Substances

                          (a)    The Borrower has no knowledge of (i) the presence of any Hazardous
                          Substance on any of the real property where the Borrower conduct operations or
                          have personal property; (ii) any on site spills, releases, discharges, disposal or

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                          storage of Hazardous Substances that have occurred or are presently occurring on
                          any of such real property or where any Collateral is located, or (iii) any spills,
                          releases, discharges or disposal of Hazardous Substances that have occurred or are
                          presently occurring on any other real property as a result of the conduct, action or
                          activities of the Borrower.

                          (b)     No property now owned or leased by the Borrower is on the National
                          Priorities List promulgated pursuant to CERCLA, or CERCLIS (as defined in
                          CERCLA) or any similar state list or is the subject of federal, state or local
                          enforcement actions or, to the knowledge of such Borrower, other investigations
                          which may lead to claims against Borrower for clean-up costs, remedial work,
                          damage to natural resources or personal injury claims, including, without
                          limitation, claims under CERCLA.

               For purposes of this Section 5.22, the Borrower shall be deemed to include any business or
        business entity (including a corporation) that is, in whole or in part, a predecessor of the Borrower.

                   5.23   Material Contracts

                        Except for the Organizational Documents and the other agreements set forth on
        Schedule 5.23 (collectively with the Organizational Documents, the “Material Contracts”), there
        are no (a) employment agreements covering the management of the Borrower; (b) collective
        bargaining agreements or other similar labor agreements covering any employees of Borrower;
        (c) agreements for managerial, consulting or similar services to which the Borrower is a party or
        by which it is bound; (d) agreements regarding the Borrower, its assets or operations or any
        investment therein to which any of its equity holders is a party or by which it is bound; (e) real
        estate leases, Intellectual Property licenses or other lease or license agreements to which the
        Borrower is a party, either as lessor or lessee, or as licensor or licensee (other than licenses arising
        from the purchase of “off the shelf” products); (f) customer, distribution, marketing or supply
        agreements to which the Borrower is a party, in each case with respect to the preceding clauses (a)
        through (f) requiring payment of more than [$25,000] in any year; (g) partnership agreements to
        which the Borrower is a general partner or joint venture agreements to which Borrower is a party,
        or (h) any other agreements or instruments to which the Borrower is a party, and the breach,
        nonperformance or cancellation of which, or the failure of which to renew, could reasonably be
        expected to have a Material Adverse Effect. Schedule 5.23 sets forth, with respect to each real
        estate lease agreement to which the Borrower is a party (as a lessee), the address of the subject
        property and the annual rental (or, where applicable, a general description of the method of
        computing the annual rental). The consummation of the transactions contemplated by the Loan
        Documents will not give rise to a right of termination in favor of any party to any Material Contract
        (other than Borrower), except for such Material Contracts the noncompliance with which would
        not reasonably be expected to have a Material Adverse Effect.

                   5.24   Third-Party Payor Billing Numbers

                      The numbers under which the Borrower bills Third-Party Payors are listed on
        Schedule 5.24 and all such billing numbers have been issued to Borrower and not to any Affiliate



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        of the Borrower and not to any unaffiliated third party; and the Borrower has not allowed any
        Person that is not a borrower hereunder to use such billing numbers for any purpose.

                   5.25   Financing Orders

                      The Financing Orders are in full force and effect and are not subject to a pending
        appeal, motion for leave to appeal, or other proceeding to set aside such orders, and such Financing
        Orders have not been reversed, modified, stayed or vacated absent the Lender’s written consent.

                   5.26   DIP Order Notices

                       The Bankruptcy Case was commenced on the Petition Date in accordance with
        applicable law and proper and all legally required notice thereof and the proper notice for (i) the
        motion seeking approval of the Loan Documents and the Interim Financing Order and Final
        Financing Order; (ii) the hearing for the approval of the Interim Financing Order, and (iii) the
        hearing for the approval of the Final Financing Order, have been or will be timely given.

                   5.27   Superpriority Administrative Expense Claims

                        After the entry of the Interim Financing Order, and pursuant to and to the extent
        permitted in the Interim Financing Order and the Final Financing Order, the Obligations will
        constitute allowed Superpriority Claims.

                   5.28   DIP Liens

                        After the entry of the Interim Financing Order and pursuant to and to the extent
        provided in the Final Financing Order, the Obligations will be secured by a valid and perfected
        superpriority Lien on all of the Collateral, subject only to the Liens and priorities of other claims
        (if any) as provided by the Financing Orders.

                   5.29   Use of Proceeds.

                        The Proceeds of the Loans have been used in and will be used, whether directly or
        indirectly in compliance with Section 6.12.

        VI.        AFFIRMATIVE COVENANTS

                      Borrower covenants and agrees that, until full performance and satisfaction, and
        payment in full in cash, of all the Obligations (other than indemnity obligations with respect to
        which no claim has been made) and termination of this Agreement::

                   6.1    Financial Statements, Reports and Other Information

                          (a)     Financial Reports. Borrower shall furnish to Lender (i) as soon as available
                          and in any event within one hundred twenty (120) days after the end of each fiscal
                          year of Borrower, Borrower’s annual financial statements, including the notes
                          thereto, consisting of a balance sheet at the end of such completed fiscal year and
                          the related income statements, retained earnings, cash flows and owners’ equity for


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                          such completed fiscal year, reviewed and approved without qualification by an
                          independent certified public accounting firm satisfactory to Lender and
                          accompanied by related management letters, if available, and (ii) within thirty (30)
                          days after the end of each calendar month, Borrower’s unaudited financial
                          statements consisting of a balance sheet and income statements, retained earnings,
                          cash flows and owners’ equity as of the end of such calendar month. All such
                          financial statements shall be prepared in accordance with GAAP consistently
                          applied with prior periods. With each such financial statement, Borrower shall also
                          deliver a compliance certificate of its chief executive officer or chief financial
                          officer in the form set forth in Exhibit B (a “Compliance Certificate”) showing
                          compliance with all financial and loan covenants set forth in Annex I. In addition
                          to the above financial reports, Borrower shall furnish to Lender as soon as available
                          and in any event within ten (10) days after the end of each calendar month,
                          statements from Borrower’s bank showing all account activity for the preceding
                          calendar month.

                          (b)     Accounts Receivable Aging Schedules. Borrower shall furnish to Lender
                          as soon as available, and in any event within ten (10) days after the end of each
                          calendar month, detailed accounts receivable and accounts payable aging schedules
                          as of the end of such month, in a form satisfactory to Lender.

                          (c)      Forms 941. Within thirty (30) days following the end of each calendar
                          quarter, Borrower shall furnish Lender with a copy of all IRS Forms 941 required
                          to be filed by Borrower with respect to the quarter then ended.

                          (d)     Other Materials. Borrower shall furnish to the Lender as soon as available,
                          and in any event within fifteen (15) calendar days after the preparation or issuance
                          thereof or at such other time as set forth below:

                           (i)                          Communications with Equity Owners. Any reports,
                   returns, information, notices and other materials that Borrower shall send or be required to
                   send to all of its stockholders, members, partners or other equity owners at any time;

                          (ii)                          Cost Reports. All Medicare and Medicaid cost reports
                   and other document and materials filed by or on behalf of Borrower and any other reports,
                   materials or other information regarding or otherwise relating to Medicaid or Medicare
                   prepared by, for or on behalf of Borrower;

                           (iii)                         Medicare/Medicaid Documents. Any other reports,
                   materials or other information regarding or otherwise relating to Medicaid or Medicare
                   prepared by, for, or on behalf of, Borrower or any of its Subsidiaries, including (A) copies
                   of licenses and permits required by any applicable federal, state, foreign or local law,
                   statute ordinance or regulation or Governmental Authority for the operation of its business,
                   (B) Medicaid or Medicare provider numbers and agreements, (C) state surveys pertaining
                   to the Hospital, (D) participating agreements relating to medical plans and (E) copies of all




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                   Medicare or Medicaid surveys, or other surveys or reviews conducted by any government
                   health plan or other accreditation entity;

                           (iv)                           Monthly Reports. Within ten (10) calendar days after
                   the end of each calendar month for such month, (A) a report of the status of all payments,
                   denials and appeals of all Medicaid and/or Medicare Accounts; (B) a sales and collection
                   report (including credits issued) in a form satisfactory to the Lender and such reports shall
                   show a reconciliation to the amounts reported in the monthly financial statements, and (C)
                   a report of census and occupancy percentage;

                           (v)                          Insurance Renewals. Prior to the expiration date of
                   each of the insurance policies required to be maintained pursuant to Section 6.6, proof of
                   the renewal of each such insurance policy together with copies of the declarations page for
                   each such renewed policy;

                           (vi)                         Accountants Communications. Promptly upon receipt
                   thereof, copies of any reports submitted to the Borrower by its independent accountants in
                   connection with any interim audit of the books of Borrower and copies of each
                   management control letter provided by such independent accountants;

                           (vii)                        Budget. On or before 12:00 pm EST on the fourth
                   Business Day of each week, commencing with the first week following the Petition Date,
                   the Borrower shall deliver to the Lender (i) a report comparing, on a line-item basis, actual
                   cash receipts and disbursements against cash receipts and disbursements set forth in the
                   previously delivered Budget, and (ii) an updated Budget for the proceeding thirteen-week
                   period. Such updated Budget(s), in each case in form and substance satisfactory to the
                   Lender, once approved by the Lender, shall become the Budget for all purposes going
                   forward hereunder until a subsequent Budget is submitted and approved by the Lender.

                          (viii)                         Documents Requested by the Lender. Such additional
                   information, documents, statements, reports and other materials as the Lender may
                   reasonably request from a credit or security perspective or otherwise from time to time,
                   including, but not limited to, periodic receivable and payable aging reports, payroll tax
                   information, dilution analyses, origination reports and default/charge off reports.

                          (e)     Notices. The Borrower shall promptly notify the Lender in writing of (i)
                          any pending litigation, suit, investigation, arbitration, formal dispute resolution
                          proceeding or administrative proceeding brought against or initiated by Borrower
                          or otherwise affecting or involving or relating to Borrower or any of its property or
                          assets; (ii) any Event of Default, which notice shall specify the nature and status
                          thereof, the period of existence thereof and what action is proposed to be taken with
                          respect thereto; (iii) any other development, event, fact, circumstance or condition
                          that could reasonably be expected to have a Material Adverse Effect, in each case
                          describing the nature and status thereof and the action proposed to be taken with
                          respect thereto; (iv) any matter(s) affecting the value, enforceability or
                          collectability of any of the Collateral, including without limitation, post-petition
                          claims or disputes in the amount of $25,000 or more, singly or in the aggregate, in


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                       existence at any one time; (v) receipt of any notice or request from any
                       Governmental Authority or governmental payor regarding any liability or claim of
                       liability outside the ordinary course of business, or (vi) termination of any executive
                       manager of any facility owned, operated or leased by Borrower.

                       (f)     Consents. Borrower shall obtain and deliver from time to time all required
                       consents, approvals and agreements from such third parties as the Lender shall
                       determine are necessary or desirable in its discretion (as communicated to Borrower
                       by written notice) for the protection of its Collateral and that are reasonably
                       satisfactory to the Lender with respect to the Loan Documents and the transactions
                       contemplated thereby or any of the Collateral, including, without limitation,
                       landlord waivers with respect to leases entered into after the Closing Date.

                       (g)     Operating Budget. Borrower shall furnish to the Lender prior to the Closing
                       Date a Budget setting forth the Borrower’s projected cash receipts and
                       disbursements and the Loans projected to be outstanding on a weekly basis for a
                       period of thirteen-weeks, commencing with the week Closing occurs. On the fourth
                       Business Day of each calendar week, the Borrower will provide the Lender with (i)
                       a report comparing, on a line-item basis, actual cash receipts and disbursements
                       against cash receipts and disbursements set forth in the previously delivered
                       Budget, and (ii) an updated Budget for the proceeding thirteen-week period. At the
                       request of the Lender, the Borrower shall furnish to the Lender month by month
                       projected operating budgets, annual projections, balance sheets and cash flow
                       reports of and for Borrower for any requested period (including an income
                       statement for each month). All reports and Budgets delivered under this Section
                       6.1(g) shall be prepared in accordance with GAAP and consistently applied with
                       prior periods.

                       (h)    Healthcare Notices. Borrower shall notify the Lender within three (3)
                       Business Days (but in any event prior to Borrower submitting any requests for
                       advances of reserves or escrows or fundings of credit facility proceeds under this
                       Agreement) following the occurrence of any facts, events or circumstances known
                       to Borrower, whether threatened, existing or pending, that would make any of the
                       representations and warranties contained in Section 5.20 untrue, incomplete or
                       incorrect (together with such supporting data and information as shall be necessary
                       to fully explain to the Lender the scope and nature of the fact, event or
                       circumstance), and shall provide to Lender within 2 Business Days of Lender’s
                       request, such additional information as the Lender shall request regarding such
                       disclosure.

                       (i)    Notices with Respect to Lease. In connection with Hospital Facility Lease
                       Agreement between Old Operator and Borrower to be effective as of the “Effective
                       Time” on the “Closing Date” as such terms are defined in the Hospital Asset
                       Purchase Agreement (the “Lease”), Borrower shall:




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                   (i)        notify Lender within one (1) Business Day of any default, event of default, or
                              alleged default or event of default in connection with the Lease;

                   (ii)       notify Lender within one (1) Business Day of any termination of the Lease; and

                   (iii)      at Lender’s request, provide Lender with evidence satisfactory to Lender of
                              Borrower’s payment of all rent due under the Lease on a monthly basis within one
                              (1) Business Day of such payment.

                   6.2        Late Fee

                Notwithstanding any other provision of this Agreement, in the event any of the financial
         statements or other reports or documents due by Borrower under this Section 6.2 are not timely
         delivered to the Lender, Borrower shall pay the Lender a late fee equal to $150 per day until such
         statements or reports are delivered to the Lender. Such late fee shall be in addition to any other
         fees, charges or other provisions that may increase the Applicable Rate of interest hereunder and
         the assessment or collection of such late fee shall not, unless the Lender specifically agrees in
         writing to the contrary, prevent the Lender from considering any such non-timely delivery to be
         an Event of Default.

                   6.3        Payment of Obligation

                       Borrower (a) will pay and discharge, on a timely basis as and when due, all of its
        postpetition obligations and liabilities, except for such obligations and/or liabilities (i) that may be
        the subject of a Permitted Contest, and (ii) the nonpayment or nondischarge of which could not
        reasonably be expected to have a Material Adverse Effect or result in a Lien against any Collateral,
        except for Permitted Liens, (b) without limiting anything contained in the foregoing clause (a),
        pay all postpetition amounts due and owing in respect of taxes (including without limitation,
        payroll and withholdings tax liabilities) on a timely basis as and when due, and in any case prior
        to the date on which any fine, penalty, interest, late charge or loss may be added thereto for
        nonpayment thereof, (c) will maintain, and cause each Subsidiary to maintain, in accordance with
        GAAP, appropriate reserves for the accrual of all of its respective obligations and liabilities, and
        (d) will not breach or permit any Subsidiary to breach, or permit to exist any default under,
        postpetition the terms of any lease, commitment, contract, instrument or obligation to which it is
        a party, or by which its properties or assets are bound in any material respect. Notwithstanding
        the foregoing, Borrower shall make full and timely payment in cash of the principal of and interest
        on the Loans, Advances and all other Obligations when due and payable.

                   6.4        Conduct of Business and Maintenance of Existence and Assets

                        Borrower shall (i) engage principally in the same or similar lines of business
        substantially as heretofore conducted, (ii) collect its Accounts in the ordinary course of business,
        (iii) maintain all of its material properties, assets and Equipment used or useful in its business in
        good repair, working order and condition (normal wear and tear excepted and except as may be
        disposed of in the ordinary course of business and in accordance with the terms of the Loan
        Documents and otherwise as determined by Borrower using commercially reasonable business
        judgment), and shall promptly make or cause to be made all repairs, replacements and other
        improvements in connection therewith that are necessary or desirable to such end, (iv) from time

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        to time make all necessary or desirable repairs, renewals and replacements thereof, as determined
        by Borrower using commercially reasonable business judgment, (v) maintain and keep in full force
        and effect its existence, (vi) maintain and keep in full force and effect, in good standing, and free
        from restrictions, probations, conditions or known conflicts which would materially impair
        Borrower’s business, all qualifications to do business in each jurisdiction in which the ownership
        or lease of property or the nature of its business makes such qualification necessary, and (vii)
        maintain and keep in full force and effect all Healthcare Permits necessary under Healthcare Laws
        to continue to receive reimbursement under all Third-Party Payor Programs in which Borrower
        participates as of the date of this Agreement.

                   6.5   Compliance with Legal, Tax and Other Obligations

                          Borrower shall (i) substantially comply with all Laws applicable to it or its
        business, assets or operations, (ii) file its tax returns (including any informational returns) and
        pay all taxes (including bed taxes), assessments, fees, governmental charges, claims for labor,
        supplies, rent and all other obligations or liabilities of any kind, as and when due and payable,
        except liabilities being contested in a Permitted Contest; however, all payroll taxes payable in
        connection with each payroll shall be paid or funds shall set aside in a reserve in an amount
        adequate to pay all such payroll taxes contemporaneously with the payment of such payroll, and
        (iii) perform in accordance with its terms each contract, agreement or other arrangement to which
        it is a party or by which it or any of the Collateral is bound, in each case, except where the failure
        to comply with any of the foregoing provisions of this Section 6.5 could reasonably be expected
        not to have a Material Adverse Effect

                   6.6   Insurance

                         (a)      The Borrower shall (i) keep all of its insurable properties and assets
                         adequately insured in all material respects against losses, damages and hazards as
                         are customarily insured against by businesses engaging in similar activities or
                         owning similar assets or properties and at least the minimum amount required by
                         applicable Law, including, without limitation, medical malpractice and
                         professional liability insurance, as applicable; (ii) maintain business interruption
                         insurance, (iii) maintain general public liability insurance at all times against
                         liability on account of damage to persons and property having such limits,
                         deductibles, exclusions and co-insurance and other provisions as are customary for
                         a business engaged in activities similar to those of Borrower, and (iv) maintain
                         insurance under all applicable workers’ compensation laws. All of the insurance
                         policies referenced above shall be (x) satisfactory in form and substance to the
                         Lender in its discretion and (y) placed with insurers having an A.M. Best
                         policyholder rating acceptable to the Lender in its discretion. Borrower agrees that
                         they shall not alter, amend, modify or cancel its insurance policies without thirty
                         (30) Business Days prior written notice to the Lender unless such alteration,
                         amendment, modification or cancellation, shall be in compliance with the
                         requirements set forth above. The insurance policies referenced in clauses (i) and
                         (ii) shall name the Lender as a loss payee thereunder. The insurance policies
                         referenced in clause (iii) shall name the Lender as an additional insured thereunder.


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                         (b)     In the event Borrower fails to provide the Lender with evidence of the
                         insurance coverage required by this Agreement, the Lender may purchase insurance
                         at Borrower’s expense to protect the Lender’s interests in the Collateral. This
                         insurance may, but need not, protect the Borrower’s interests. The coverage
                         purchased by the Lender may not pay any claim made by the Borrower or any claim
                         that is made against the Borrower in connection with the Collateral. The Borrower
                         may later cancel any insurance purchased by the Lender, but only after providing
                         the Lender with evidence that the Borrower has obtained insurance as required by
                         this Agreement. If the Lender purchases insurance for the Collateral in accordance
                         with this Section 6.6(b), the Borrower will be responsible for the costs of that
                         insurance to the fullest extent provided by law, including interest and other charges
                         imposed by the Lender in connection with the placement of the insurance, until the
                         effective date of the cancellation or expiration of the insurance. The costs of the
                         insurance may be added to the Obligations. The costs of the insurance may be more
                         than the cost of insurance such Borrower is able to obtain on its own.

                   6.7   True Books

                        Borrower shall (i) keep true, complete and accurate books of record and accounts
        in accordance with commercially reasonable business practices in which true and correct entries
        are made of all of its dealings and transactions in all material respects; (ii) set up and maintain on
        its books such reserves with respect to doubtful accounts and all taxes, assessments, charges, levies
        and claims and with respect to its business, and include such reserves in its quarterly as well as
        year-end financial statements; and (iii) maintain its Books and Records separate from the books
        and records of its members, managers, shareholders, Affiliates and any other Person..

                   6.8   Inspection; Period Audits

                          Borrower shall permit the representatives of Lender, from time to time during
        normal business hours, upon reasonable notice but not more than once in any twelve-month period,
        to (i) visit and inspect any of its offices or properties or any other place where Collateral is located
        to inspect the Collateral and/or to examine or audit all of Borrower’s books of account, records,
        reports and other papers; (ii) make copies and extracts therefrom, and (iii) discuss the Borrower’s
        business, operations, prospects, properties, assets, liabilities, condition and/or Accounts with the
        Borrower’s officers, managers, and independent public accountants (the performance of the
        foregoing activities is referred to herein as a “site audit”). In addition, the Lender may conduct
        “desk audits” of the Borrower at the Lender’s offices no more frequently than monthly by (i)
        reviewing and inspecting such books and records of Borrower as Lender may require the Borrower
        to transmit to Lender, and (ii) discussing the Borrower’s business, operations, prospects,
        properties, assets, liabilities, condition and/or Accounts with the Borrower’s officers, managers
        and independent public accountants. Each of the Borrower’s officers, managers and accountants
        are authorized to discuss any matter relating to the foregoing with Lender at any time. At the
        completion of each site audit, Borrower shall pay Lender an audit fee of $1,200.00 per auditor per
        day (provided, however, the Lender shall utilize the services of only one auditor per day for its site
        audits) and the Borrower shall reimburse the Lender for all reasonable site audit-related out-of-
        pocket expenses. At the completion of each desk audit, the Borrower shall pay the Lender an audit
        fee of $2,000.00 and the Borrower shall reimburse the Lender for all reasonable desk audit-related

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        out-of-pocket expenses. Notwithstanding the foregoing, upon the occurrence and during the
        continuance of an Event of Default, there shall be no restrictions on the number of auditors that
        the Lender may use or number of times that the Lender may perform the activities described in
        this Section 6.8 nor shall the Lender be required to give prior notice to the Borrower of any visit
        to inspect the Borrower’s books and records or to discuss any matter with the Borrower’s officers,
        managers or independent public accountants, provided that such visit shall not materially impair
        with the Borrower’s ability to operate its business.

                   6.9    Further Assurances; Post Closing

                        At Borrower’s cost and expense, the Borrower shall (i) within five (5) Business
        Days after the Lender’s reasonable request, take such further actions, and duly execute and deliver
        such further agreements, assignments, instructions or documents and do such further acts and
        things as may be necessary or proper in the reasonable opinion of the Lender to carry out more
        effectively the provisions and purposes of this Agreement and the Loan Documents, and (ii) upon
        the exercise by the Lender or any of its Affiliates of any power, right, privilege or remedy pursuant
        to any Loan Documents or under applicable Law or at equity which requires any consent, approval,
        registration, qualification or authorization of any Person, including without limitation a
        Governmental Authority, execute and deliver, or cause the execution and delivery of, all
        applications, certificates, instruments and other documents that the Lender or its Affiliate may be
        required to obtain for such consent, approval, registration, qualification or authorization.

                   6.10   Payment of Indebtedness

                       Except as otherwise prescribed in the Loan Documents, the Borrower shall pay,
        discharge or otherwise satisfy at or before maturity (subject to applicable grace periods and, in the
        case of trade payables, to ordinary course payment practices) all of its material postpetition
        Indebtedness, except when the amount or validity thereof is being contested in a Permitted Contest.

                   6.11   Lien Terminations

                        If Liens other than Permitted Liens exist, Borrower immediately shall take, execute
        and deliver all actions, documents and instruments necessary to release and terminate such Liens.

                   6.12   Use of Proceeds

                       Borrower shall use the proceeds of the Loans solely for (a) transaction fees incurred
        in connection with the Loan Documents; and (b) for working capital needs of the Borrower through
        the Bankruptcy Case in accordance with the Approved Budget. No portion of the proceeds of the
        Loans will be used for family, personal, agricultural or household use, or for any purpose
        prohibited by the Financing Orders or the Bankruptcy Code or any other order of the Bankruptcy
        Court.

                   6.13   Collateral Documents; Security Interest in Collateral

                      Borrower hereby acknowledges that subject to Bankruptcy Court approval Lender
        is authorized to file UCC-1 Financing Statements with respect to the Collateral, and any
        amendments or continuations relating thereto, without the signatures of the Borrower in such

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        jurisdictions as the Lender, from time to time determines appropriate. Borrower hereby ratifies,
        confirms and consents to any such filings made by Lender prior to the date hereof. Borrower
        hereby agrees to take any actions reasonably requested by the Lender that are necessary to evidence
        Lender’s security interest in the Collateral, including, without limitation, executing additional
        documents or financing statements. Borrower shall not allow any financing statement (other than
        that filed by or on behalf of Lender and other than Permitted Liens) to be on file in any public
        office covering any Collateral or the proceeds thereof. At the request of the Lender, Borrower shall
        defend the Collateral and the Lender’s perfected first priority Lien thereon against all claims and
        demands of all Persons at any time claiming the same or any interest therein adverse to the Lender,
        and pay all reasonable costs and expenses (including, without limitation, reasonable in-house
        documentation and diligence fees and reasonable legal expenses and reasonable attorneys’ fees
        and expenses) in connection with such defense, which may at the Lender’s discretion be added to
        the Obligations and increase the principal amount outstanding hereunder.

                   6.14   Taxes and Other Charges

                        All payments and reimbursements to the Lender made under any Loan Document
        shall be free and clear of and without deduction for all taxes, levies, imposts, deductions,
        assessments, charges or withholdings, and all liabilities with respect thereto of any nature
        whatsoever, excluding taxes to the extent imposed on the Lender’s net income. If Borrower shall
        be required by law to deduct any such amounts from or in respect of any sum payable under any
        Loan Document to the Lender, then the sum payable to the Lender shall be increased as may be
        necessary so that, after making all required deductions, the Lender receives an amount equal to the
        sum it would have received had no such deductions been made. Notwithstanding any other
        provision of any Loan Document, if at any time after the Closing (i) any change in any existing
        law, regulation, treaty or directive or in the interpretation or application thereof; (ii) any new law,
        regulation, treaty or directive (whether or not having the force of law) from any Governmental
        Authority (A) subjects Lender to any tax, levy, impost, deduction, assessment, charge or
        withholding of any kind whatsoever with respect to any Loan Document, or changes the basis of
        taxation of payments to Lender of any amount payable thereunder (except for net income taxes, or
        franchise taxes imposed in lieu of net income taxes, imposed generally by federal, state or local
        taxing authorities with respect to interest or facility fees or other fees payable hereunder or changes
        in the rate of tax on the overall net income of Lender), or (B) imposes on Lender any other
        condition or increased cost in connection with the transactions contemplated thereby or
        participations therein; and the result of any of the foregoing is to increase the cost to Lender of
        making or continuing any Loan hereunder or to reduce any amount receivable hereunder, then, in
        any such case, the Borrower shall promptly pay to Lender any additional amounts necessary to
        compensate Lender, on an after-tax basis, for such additional cost or reduced amount as determined
        by the Lender. If the Lender becomes entitled to claim any additional amounts pursuant to this
        Section 6.14 it shall promptly notify Borrower of the event by reason of which Lender has become
        so entitled, and each such notice of additional amounts payable pursuant to this Section 6.14
        submitted by the Lender to Borrower shall, absent manifest error, be final, conclusive and binding
        for all purposes. For purposes of this Section, (i) the Dodd-Frank Wall Street Reform and
        Consumer Protection Act and all requests, rules, guidelines or directives thereunder or issued in
        connection therewith and (ii) all requests, rules, guidelines or directives promulgated by the Bank
        for International Settlements, the Basel Committee on Banking Supervision (or any successor or
        similar authority) or the United States or foreign regulatory authorities, in each case pursuant to

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        Basel III, shall in each case be deemed to be a “change in any applicable Law”, regardless of the
        date enacted, adopted or issued.

                   6.15   Hazardous Substances

                          (a)    If any release or disposal of Hazardous Substances shall occur or shall have
                          occurred on any real property or any other assets of Borrower, Borrower will cause
                          the prompt containment and removal of such Hazardous Substances and the
                          remediation of such real property or other assets as is necessary to comply with all
                          Environmental Laws and to preserve the value of such real property or other assets.

                          (b)    Borrower will provide the Lender within thirty (30) days after written
                          demand therefor with a bond, letter of credit or similar financial assurance
                          evidencing to the reasonable satisfaction of the Lender that sufficient funds are
                          available to pay the cost of removing, treating and disposing of any Hazardous
                          Substances or Hazardous Substances Contamination and discharging any
                          assessment which may be established on any property as a result thereof, such
                          demand to be made, if at all, upon the Lender’s reasonable business determination
                          that the failure to remove, treat or dispose of any Hazardous Substances or
                          Hazardous Substances Contamination, or the failure to discharge any such
                          assessment could reasonably be expected to have a Material Adverse Effect.

                   6.16   Licensed Facilities

                (a)     If required under applicable Healthcare Laws, Borrower has and shall maintain in
        full force and effect a valid CON for no less than the number of beds and units in the Hospital as
        of the date of this Agreement. Borrower shall maintain any applicable CON free from restrictions
        or known conflicts which would materially impair the use or operation of the Hospital for its
        current use, and shall not permit any CON to become provisional, probationary or restricted in any
        way. Borrower that is the owner of the fee simple real estate for the Hospital shall be the owner of
        the CON, if any, relating to the Hospital.

                (b)    Borrower shall not do (or suffer to be done by Borrower or any Affiliate of
        Borrower) any of the following without Lender’s prior written consent, which consent shall not be
        unreasonably withheld, conditioned or delayed: (1) replace or transfer all or any part of the
        Hospital’s units or beds to another site or location; (2) transfer or demise any CON or other
        Healthcare Permit or rights thereunder to any Person (other than Lender) or to any location other
        than the Hospital to which such CON or Healthcare Permit pertains; or (3) pledge or hypothecate
        any CON or other Healthcare Permit as collateral security for any indebtedness other than
        indebtedness to Lender.

                   6.17   Healthcare Operations

                          (a)    Borrower will:

                           (i)                       timely file or cause to be timely filed (after giving
                   effect to any extension duly obtained), all notifications, reports, submissions, Permit


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                   renewals and reports (other than cost reports as provided in Section 6.17(a)(ii) below) of
                   every kind whatsoever required by Healthcare Laws (which reports will be materially
                   accurate and complete in all respects and not misleading in any respect and shall not remain
                   open or unsettled); and

                           (ii)                          timely file or cause to be timely filed (after giving
                   effect to any extension duly obtained), all cost reports required by Healthcare Laws, which
                   reports shall be materially accurate and complete in all respects and not misleading in any
                   material respect and which shall not remain open or unsettled, except in accordance with
                   applicable settlement appeals procedures that are timely and diligently pursued and except
                   for any processing delays of any Governmental Authority.

                          (b)    Borrower will maintain in full force and effect, and free from restrictions,
                          probations, conditions or known conflicts which would materially impair the use or
                          operation of the Hospital for its current use, all Healthcare Permits necessary under
                          Healthcare Laws to carry on the business of Borrower as it is conducted on the
                          Closing Date.

                          (c)     Borrower will not suffer or permit to occur any of the following:

                           (i)                         any transfer of a Healthcare Permit or rights
                   thereunder to any Person (other than the Borrower or the Lender) or to any location other
                   than a location approved by Lender in advance in writing;

                           (ii)                          any pledge or hypothecation of any Healthcare Permit
                   as collateral security for any indebtedness other than indebtedness to the Lender;

                           (iii)                          any rescission, withdrawal, revocation, amendment or
                   modification of or other alteration to the nature, tenor or scope of any Healthcare Permit
                   without the Lender’s prior written consent, including, without limitation, (A) any change
                   to the authorized units/beds and persons served capacity of the Hospital and/or the number
                   of units/beds and persons served approved by the applicable Governmental Authority, and
                   (B) any transfer all or any part of the Hospital’s authorized units or beds to another site or
                   location;

                           (iv)                           any voluntary transfer of any resident of the Hospital
                   to any other facility, unless such transfer is at the request of the resident (without economic
                   incentives being given to the resident by an Affiliate of Borrower) or its payor or is for
                   reasons relating to non-payment or the health, required level of medical care or safety of
                   the resident to be transferred; or

                          (v)                          any fact, event or circumstance for which notice to the
                   Lender is required under Sections 5.20 and 6.1(h).

                          (d)    Borrower will maintain a corporate health care regulatory compliance
                          program.



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                          (e)   Borrower will at all times be, and cause all Managers to be, HIPAA
                          Compliant.

                          (f)      If the Hospital is currently accredited by an Accrediting Organization, the
                          Borrower will (i) maintain such accreditation in good standing and without
                          limitation or impairment; (ii) promptly submit to the Accrediting Organization a
                          plan of correction for any deficiencies listed on any accreditation survey report, and
                          (iii) cure all such deficiencies within such time frame as is necessary to preserve
                          and maintain in good standing and without limitation or impairment such
                          accreditation.

                   6.18   Bankruptcy Matters

                        Borrower will promptly, following the receipt thereof, deliver to the Lender copies
        of all letters of intent, expressions of interest, offers to purchase or draft purchase agreements
        (together with subsequent drafts with material substantive changes) with respect to any sale under
        Section 363 of the Bankruptcy Code.

        VII.       NEGATIVE COVENANTS

                      Borrower covenants and agrees that, until full performance and satisfaction, and
        payment in full in cash, of all the Obligations (other than indemnity obligations with respect to
        which no claim has been made) and termination of this Agreement:

                   7.1    Financial Covenants

                      Borrower shall not violate the financial and loan covenants set forth on Annex I to
        this Agreement, which is incorporated herein and made a part hereof. Borrower shall comply with
        the Approved Budget, subject to the Permitted Variance and as set forth in the Financing Orders.

                   7.2    No Indebtedness Other Than Permitted Indebtedness

                        Borrower will not, and will not permit any Subsidiary to, directly or indirectly,
        create, incur, assume, guarantee or otherwise become or remain directly or indirectly liable with
        respect to, any Indebtedness, except for Permitted Indebtedness. Borrower will not permit any
        Subsidiary to, directly or indirectly, create, assume, incur or suffer to exist any Contingent
        Obligations.

                   7.3    No Liens Other Than Permitted Liens

                        Borrower shall not create, incur, assume or suffer to exist any Lien upon, in or
        against, or pledge of, any of the Collateral or any of its properties or assets or any of its shares,
        securities or other equity or ownership or partnership interests, whether now owned or hereafter
        acquired, except Permitted Liens.




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                   7.4   Investments, New Facilities or Collateral; Subsidiaries

                         Borrower, directly or indirectly, shall not (i) purchase, own, hold, invest in or
        otherwise acquire obligations or stock or securities of, or any other interest in, or all or substantially
        all of the assets of, any Person or any joint venture whether by merger, consolidation, outright
        purchase or otherwise, (ii) make or permit to exist any loans, advances or guarantees to or for the
        benefit of any Person or assume, guarantee, endorse, contingently agree to purchase or otherwise
        become liable for or upon or incur any obligation of any Person (other than those created by the Loan
        Documents and Permitted Indebtedness and other than (A) trade credit extended in the ordinary
        course of business, (B) advances for business travel and similar temporary advances made in the
        ordinary course of business to officers, directors and employees, (C) deposits to landlords and (D)
        the endorsement of negotiable instruments for deposit or collection or similar transactions in the
        ordinary course of business), (iii) purchase, own, operate, hold, invest in or otherwise acquire any
        facility, property or assets or any Collateral that is not located at the locations set forth on Schedule
        5.17B unless Borrower shall provide to Lender at least thirty (30) Business Days prior written notice,
        or (iv) acquire or own any material assets other than the Hospital. Borrower shall have no
        Subsidiaries other than such Subsidiaries existing at Closing.

                   7.5   Prohibited Payments

                         (a)   So long as Borrower is in Default or an Event of Default exists under this
                         Agreement, Borrower shall not make any (i) Distribution or (ii) payment of
                         management fees or Subordinated Debt in violation of the applicable Subordination
                         Agreement.

                         (b)    [Borrower shall not pay any Distribution, management fees, or
                         Subordinated Debt payments described in subsection (a) above, if such payment
                         would cause an Event of Default. For purposes of this Section 7.5, a Distribution,
                         payment of a management fee or payment of Subordinated Debt described in
                         subsection (a) above will be deemed to cause an Event of Default only if such
                         payment, if included in the most recently completed calculation of (A) the Fixed
                         Charge Coverage Ratio (as defined in Annex I), would have caused such Fixed
                         Charge Coverage Ratio to be less than 1.00 to 1.00, or (B) the Current Ratio (as
                         defined in Annex I), would have caused such Current Ratio to be less than 1.00 to
                         1.00.]

                   7.6   Transactions with Affiliates

                         Borrower shall not enter into or consummate any transactions of any kind with any
        of its Affiliates other than: (i) salary, bonus, employee stock option and other compensation to and
        employment arrangements with directors, officers or employees in the ordinary course of business,
        provided, that no payment of any bonus shall be permitted if an Event of Default has occurred and
        is continuing or would be caused by or result from such payment, (ii) payments permitted pursuant
        to Section 7.5, (iii) transactions that Lender or its Affiliates are a party to, (iv) payments (other than
        those referenced in cause (i) above) permitted under and pursuant to written agreements entered
        into by and between Borrower and one or more of its Affiliates that (A) both reflect and constitute
        transactions on overall terms at least as favorable to Borrower as would be the case in an arm’s-


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        length transaction between unrelated parties of equal bargaining power, (B) do not grant a security
        interest in the Collateral to any Affiliate of Borrower, (C) contain payment obligations, if any, that
        are subordinate to the Obligations, and (D) do not involve a loan to any Affiliate of any Borrower,
        (v) transactions that create Accounts that are payable to Borrower by any Affiliate of Borrower,
        which do not exceed $50,000 in the aggregate, and (vi) loans or instruments payable by Borrower
        to any Affiliate of Borrower, which are classified as short-term debt and do not exceed $50,000 in
        the aggregate, provided, that notwithstanding the foregoing Borrower shall not enter into,
        consummate, or perform with respect to any transactions or agreement pursuant to which it becomes
        a party to any mortgage, note, indenture or guarantee evidencing any Indebtedness of any of its
        Affiliates or otherwise to become responsible or liable, as a guarantor, surety or otherwise, pursuant
        to an agreement for any Indebtedness of any such Affiliate other than Permitted Indebtedness.
        Borrower shall not comingle its funds or other assets with any funds or assets of any of its Affiliates,
        or any other Person, in such a manner that it will be costly or difficult to segregate, ascertain or
        identify Borrower’s individual assets from those of any of its members, shareholders, or partners
        (as applicable), its Affiliates, the Affiliates of any of its members, shareholders, or partners (as
        applicable), or any other Person. For avoidance of doubt, the limitations set forth in this Section
        shall not apply with respect to payments of salary, bonus, employee stock option and other
        compensation to and employment arrangements with directors, officers (including any executive
        officer) or employees in the ordinary course of business, provided, that no payment of any bonus
        shall be permitted if an Event of Default has occurred and is continuing or would be caused by or
        result from such payment, but payments of regular salary, reimbursements of expenses, reasonable
        expense allowances and other normal forms of compensation shall be allowed even if an Event of
        Default has occurred and is continuing or would be caused by or result from such payment, subject,
        however to Section 7.9.

                   7.7   Organizational Documents; Fiscal Year; Dissolution; Use of Proceeds

                         Borrower shall not (i) change its name, state of formation, or amend, modify, restate
        or change its certificate of incorporation or formation or bylaws or similar charter documents in a
        manner that would be materially adverse to Lender and, in any event, without the prior consent of
        Lender, (ii) change its fiscal year, unless Borrower demonstrates to Lender’s satisfaction compliance
        with the covenants contained herein for both the fiscal year in effect prior to any change and the new
        fiscal year period by delivery to Lender of appropriate interim and annual pro forma, historical and
        current compliance certificates for such periods and such other information as Lender may reasonably
        request, (iii) amend, alter or suspend or terminate or make provisional in any material way, any Permit
        without the prior written consent of Lender, which consent shallnot be unreasonably withheld, (iv)
        wind up, liquidate or dissolve (voluntarily or involuntarily) or commence or suffer any proceedings
        seeking to wind up, liquidate or dissolve or that would result in any of the foregoing, (v) use any
        proceeds of any Advance for “purchasing” or “carrying” “margin stock” as defined in Regulations
        U, T or X of the Board of Governors of the Federal Reserve System, or (vi) fail either to hold itself
        out to the public as a legal entity separate and distinct from any other Person or to conduct its
        business in its own name or its registered trade name, in order not (a) to mislead others as to the
        identity with which such other party is transacting business, or (b) suggest that it is responsible for
        the debts of any third party (including any of its members, managers, partners and shareholders or
        Affiliates, or any general partner, principal or Affiliate thereof.



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                   7.8    Asset Sales

                         Borrower shall not, without the prior written approval of Lender, directly or indirectly
        sell, convey, transfer, assign, license, lease (that has the effect of a disposition) or otherwise dispose
        of (including any merger or consolidation or upon any condemnation, eminent domain or similar
        proceedings) to any Person, in one transaction or a series of related transactions, any permitted
        contracts with Third-Party Payors, Books and Records (except for the removal of patient records at
        the request of such patient), or any assets of Borrower with a value greater than $100,000 or which
        constitute all or substantially all of an operating unit of Borrower or any other assets (including
        intellectual property) of Borrower outside of the ordinary course of business. Borrower shall not,
        directly or indirectly, transfer or assign any contract, patient relationship, or other business
        relationship, or right to provide services, Goods, room or board to any Affiliate of Borrower.
        Borrower shall not let any contract, patient relationship, or other business relationship be terminated
        or expire if at any time following such termination or expiration, such contract, patient relationship
        or other business relationship is reinstated with any Affiliate of Borrower.

                   7.9    Management

                      Borrower shall not pay any compensation or other amounts to senior management
        of Borrower in excess of such amounts as are usual and customary for companies in similar
        businesses and of a similar size..

                   7.10   Restrictive Agreements

                        Borrower will not, and will not permit any Subsidiary to, directly or indirectly (a)
        enter into or assume any agreement (other than the Loan Documents and any agreements for
        purchase money debt permitted under clause (iii) of the definition of Permitted Indebtedness)
        prohibiting the creation or assumption of any Lien upon its properties or assets, whether now
        owned or hereafter acquired, or (b) create or otherwise cause or suffer to exist or become effective
        any consensual encumbrance or restriction of any kind (except as provided by the Loan
        Documents) on the ability of any Subsidiary to: (i) pay or make Distributions to Borrower or any
        Subsidiary; (ii) pay any Indebtedness owed to Borrower or any Subsidiary; (iii) make loans or
        advances to Borrower or any Subsidiary; or (iv) transfer any of its property or assets to Borrower
        or any Subsidiary; provided, that, any agreements for purchase money debt shall not prohibit (x)
        the creation or assumption of any Lien upon any assets or properties to secure the Obligations or
        (y) the repayment of the Obligations.

                   7.11   Modifications of Certain Agreements

                        Other than with respect to Permitted Modifications, Borrower will not, and will not
        permit any Subsidiary to, directly or indirectly, amend, terminate or otherwise modify any Material
        Contract or the Lease, without Lender’s prior written consent (which Lender may give or withhold
        in Lender’s sole discretion), which amendment, termination or modification in any case: (a) is
        contrary to the terms of this Agreement or any other Loan Document; (b) could reasonably be
        expected to be adverse to the rights, interests or privileges of the Lender or its ability to enforce the
        same; (c) results in the imposition or expansion in any material respect of any obligation of or
        restriction or burden on Borrower or any Subsidiary; or (d) reduces in any material respect any


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        rights or benefits of Borrower or any Subsidiaries (it being understood and agreed that any such
        determination shall be in the discretion of the Lender). Borrower shall, prior to entering into any
        amendment, termination or other modification of any of the foregoing documents, deliver to Lender
        reasonably in advance of the execution thereof, any final or execution copy of amendments,
        terminations or other modifications to such documents, and Borrower agrees not to take, nor permit
        any of its Subsidiaries to take, any such action with respect to any such documents without obtaining
        such approval from Lender.

                   7.12   Deposit Accounts

                      Borrower shall not make any changes to its deposit accounts, Controlled Deposit
        Accounts or establish new deposit accounts or change the passwords or user identification
        information with respect thereto in such a fashion as would result in the Lender not having on-line
        access to view all information regarding all of the Borrower’s deposit accounts and Controlled
        Deposit Accounts or having control of all of the Borrower’s deposit accounts through deposit
        account control agreements.

                   7.13   Truth of Statements

                      Borrower shall not furnish to the Lender any certificate or other document that
        contains any untrue statement of a material fact or that omits to state a material fact necessary to
        make it not misleading in light of the circumstances under which it was furnished.

                   7.14   IRS Form 8821

                      Borrower shall not materially alter, amend, restate, or otherwise modify, or
        withdraw, terminate or re-file any IRS Form 8821 required to be delivered pursuant to the
        Conditions Precedent in Section 4.1.

                   7.15   Third Party Payor Programs

                        Neither the Hospital, nor Borrower, shall, other than in the ordinary course of the
        Borrower’s business, change the terms of any Third-Party Payor Programs or its normal billing
        payment and reimbursement policies and procedures with respect thereto (including, without
        limitation, the amount and timing of finance charges, fees and write-offs) without prior written
        notice of such change to the Lender. Borrower shall provide to the Lender, upon request, an
        accurate, complete and current list of all participation agreements with Third Party Payors with
        respect to the business of Borrower. Borrower shall not fail to comply with all requirements,
        contracts, conditions and stipulations applicable to Borrower in order to maintain in good standing
        and without default or limitation all such participation agreements.

                   7.16   Filing of Motions and Applications

                      Borrower shall not, without the prior written consent of the Lender, apply to the
        Bankruptcy Court for authority to (i) take any action that is prohibited by the terms of any of the
        Loan Documents, or (ii) refrain from taking any action that is required to be taken by the terms of
        any of the Loan Documents or the Financing Orders.


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                   7.17   Interim and Final Financing Orders

                          Borrower shall not:

                          (a)    seek or consent to exist at any time any modification, stay, vacation or
                          amendment of the Interim Financing Order (until such time as the Final Financing
                          Order is entered) and the Final Financing Order, except for modifications and
                          amendments joined in or agreed to in writing by the Lender; or

                          (b)     seek the use of “Cash Collateral” (as defined in the Financing Orders) in a
                          manner inconsistent with the terms of the Financing Orders without the prior
                          written consent of the Lender; or

                          (c)     seek or consent to exist at any time a priority for any administrative expense
                          or unsecured claim against Borrower (now existing or hereafter arising of any kind
                          or nature whatsoever, including, without limitation, any administrative expenses of
                          the kind specified in Sections 105, 326, 328, 503(b), 506(c), 507(a), 507(b), 546(c),
                          552(b), 726 and 1114 of the Bankruptcy Code) or any superpriority claim which is
                          equal or superior to the priority of the Lender in respect of the Obligations, except
                          as expressly permitted by the Financing Orders; or

                          (d)    prior to the date on which the Obligations have been paid in full, pay any
                          administrative expenses, except administrative expenses incurred in accordance
                          with the Carve-Out, the Budget or the Financing Orders.

                   7.18   Bankruptcy Actions

                        The Borrower shall not seek, consent to, or permit to exist, without the prior written consent
        of the Lender, any order granting authority (a) to take any action (i) that is prohibited by the terms of this
        Agreement or the Financing Orders, or (ii) that proposes to sell, use, dispose of, transfer, or in any way
        negatively impact the value of the Collateral, or (b) to refrain from taking any action that is required to be
        taken by such documents.

        VIII. EVENTS OF DEFAULT

                   8.1    Events of Default

                          The occurrence of any one or more of the following shall constitute an “Event of
        Default:”

                          (a)    Borrower shall fail to pay any amount on the Obligations or provided for in
                          any Loan Document when due and such failure shall not be cured within five (5)
                          calendar days of when due (whether on any payment date, at maturity, by reason or
                          acceleration, by notice of intention to prepay, by required prepayment or
                          otherwise);

                          (b)   Any representation, statement or warranty made or deemed made by the
                          Borrower in any Loan Document or in any other certificate, document, report or


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                       opinion delivered in conjunction with any Loan Document to which it is a party, (i)
                       shall not be true and correct in all material respects, or (ii) shall have been false or
                       misleading in any material respect on the date when made or deemed to have been
                       made (except to the extent already qualified by materiality, in which case it shall
                       be true and correct in all respects and shall not be false or misleading in any
                       respect);

                       (c)      Borrower or any other party thereto other than the Lender shall be in
                       violation, breach or default of, or shall fail to perform, observe or comply with any
                       covenant, obligation or agreement set forth in any Loan Document and such
                       violation, breach, default or failure shall not be cured within the applicable period
                       set forth in the applicable Loan Documents; provided that, with respect to the
                       affirmative covenants set forth in Article VI (other than Sections 6.2, 6.9, 6.11, 6.16
                       and 6.17 for which there shall be no cure period, unless otherwise set forth herein),
                       there shall be a fifteen (15) calendar day cure period commencing from the earlier
                       of (i) receipt by such Person of written notice of such breach, default, violation or
                       failure, and (ii) the time at which such Person or any officer thereof knew or became
                       aware, or should have known or been aware, of such failure, violation, breach or
                       default;

                       (d)     Any of the Loan Documents ceases to be in full force and effect, or any Lien
                       created thereunder ceases to constitute a valid perfected first priority Lien on the
                       Collateral, or the Lender ceases to have a valid perfected first priority security
                       interest in any material portion of the Collateral;

                       (e)   The Lender’s administrative expense claim in the Bankruptcy Case
                       becomes subject (or subordinate) to another administrative expense claim;

                       (f)    One or more judgments or decrees is rendered against Borrower in an
                       amount in excess of $10,000 individually or $25,000 in the aggregate at one time
                       outstanding, which is/are not satisfied, stayed, bonded, vacated or discharged of
                       record within thirty (30) calendar days of being rendered;

                       (g)     (i) Any Change of Control occurs or any agreement or commitment to cause
                       or that may result in any such Change of Control is entered into without the written
                       consent of the Lender; (ii) any Material Adverse Effect or Material Adverse Change
                       occurs; (iii) any Liability Event occurs, or (iv) Borrower ceases any material portion
                       of its business operations as currently conducted;

                       (h)     Any Indebtedness of Borrower is declared to be due and payable or is
                       required to be prepaid (other than by a regularly scheduled payment) prior to the
                       stated maturity thereof;

                       (i)     The Lender receives any indication or evidence that Borrower may have
                       directly or indirectly been engaged in any type of activity which, in the Lender’s
                       judgment, might result in forfeiture of any property to a Governmental Authority



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                       which shall have continued unremedied for a period of five (5) business days after
                       written notice from the Lender;

                       (j)     Borrower or any of its respective members or senior officers is criminally
                       indicted or convicted under any law that could lead to a forfeiture of any portion of
                       its respective assets;

                       (k)     The Bankruptcy Case shall be converted to a case under Chapter 7 of the
                       Bankruptcy Code or be dismissed or a motion requesting such relief shall have been
                       filed by the Borrower;

                       (l)      The Borrower files or supports, or the Bankruptcy Court enters an order
                       confirming a proposed plan of reorganization or liquidation or sale of substantially
                       all of the Borrower’s assets that does not provide for the indefeasible payment in
                       full and in cash of the Obligations, unless otherwise agreed in writing by the Lender
                       in its sole discretion;

                       (m)     Any attempt by the Borrower to obtain, or if any other party in interest
                       obtains, an order of the Bankruptcy Court or other judgment, and the effect of such
                       order or judgment is to, (i) invalidate, reduce or otherwise impair the Lender’s
                       claims, or (ii) amend, supplement, stay, vacate or otherwise modify the Revolving
                       Facility or the Financing Orders without consent of the Lender;

                       (n)    The Borrower requests approval of any post-petition financing, other than
                       pursuant to the Revolving Facility, that would not immediately repay all
                       Obligations, in full, in cash, on the date of the closing of such post-petition
                       financing, unless otherwise agreed by the Lender;

                       (o)     The entry of an order granting liens or claims that are senior or pari passu
                       to the Liens granted in favor of the Lender under the Loan Documents;

                       (p)     The Borrower supports or files a motion in support of any order granting
                       liens or claims that are senior or pari passu to the Liens granted in favor of the
                       Lender under the Loan Documents;

                       (q)     The Borrower shall assert that any of the Liens securing the Obligations are
                       invalid, or any such Liens granted to the Lender shall be determined to be invalid;

                       (r)    Any report is filed by a patient care ombudsman or state long-term care
                       ombudsman in the Bankruptcy Case indicating that patient care has significantly
                       declined or has been materially compromised;

                       (s)    Any creditor or party in interest shall be granted relief from the automatic
                       stay with respect to any assets used in operation of the Borrower’s business;

                       (t)    The Borrower shall default in the due performance or observance by it of
                       any term, covenant or agreement contained in the Interim Financing Order or the
                       Final Financing Order;

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                         (u)     From and after the date of entry thereof, the Interim Financing Order or the
                         Final Financing Order approving this Agreement and the Revolving Facility shall
                         cease to be in full force and effect;

                         (v)     A Final Financing Order approving this Agreement and the Revolving
                         Facility has not been entered by the Bankruptcy Court within forty-five (45) days
                         of the Petition Date, unless otherwise agreed to by the Lender;

                         (w)    The Borrower applies for an order substituting any assets for all or any
                         portion of the Collateral, or

                         (x)   The Lease is determined to be terminated or otherwise invalid by a court of
                         competent jurisdiction.

                   8.2   Acceleration and Suspension or Termination of Commitments

                        Upon the occurrence and during the continuance of an Event of Default,
        notwithstanding any other provision of any Loan Documents, the Lender may by notice to the
        Borrower (i) terminate the Lender’s obligations under this Agreement and/or (ii) by notice to the
        Borrower declare all or any portion of the Obligations to be due and payable immediately (except
        in the case of an Event of Default under Section 8.1(g), in which event all of the foregoing shall
        automatically and without further act by the Lender be due and payable). If the Revolving Facility
        is accelerated for any reason, the Lender may, at its sole discretion, elect to exclude all or a portion
        of the Eligible Unbilled Receivables from the definition of Eligible Receivables. If the Lender so
        elects, such Eligible Unbilled Receivables shall not be included in the calculation of the Borrowing
        Base.

        IX. RIGHTS AND REMEDIES AFTER DEFAULT

                   9.1   Rights and Remedies

                         (a)     In addition to the acceleration provisions set forth in Article VIII above,
                         upon the occurrence and continuation of an Event of Default, following the giving
                         of not less than five (5) business days’ advance written notice by the Lender to such
                         parties and in the manner set forth in the Interim Financing Order (the “Default
                         Notice Period”) and subject to the procedures set forth in such Interim Financing
                         Order (and after any applicable cure period set forth herein, which shall be
                         coterminous with and not incremental to the Notice Period), the Lender shall have
                         the right to exercise any and all rights, options and remedies provided for in any
                         Loan Document, under the UCC or at law or in equity, including, without
                         limitation, the right to (i) apply any property of Borrower received or held by the
                         Lender to reduce the Obligations in such manner as the Lender may deem
                         advisable; (ii) foreclose the Liens created under the Loan Documents; (iii) realize
                         upon, take possession of and/or sell any Collateral or securities pledged with or
                         without judicial process; (iv) exercise all rights and powers with respect to the
                         Collateral as Borrower might exercise (other than with respect to Collateral
                         consisting of Accounts owed or owing by Medicaid/Medicare Account Debtors


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                         absent a court order or compliance with applicable Law); (v) collect and send
                         notices regarding the Collateral with or without judicial process; (vi) at the
                         Borrower’s expense, require that all or any part of the Collateral be assembled and
                         made available to the Lender at any reasonable place designated by the Lender;
                         (vii) reduce or otherwise change the Facility Cap; (viii) engage, on behalf of the
                         Borrower, a third-party to service and collect the Borrower’s receivables, including
                         billing and rebilling Third-Party Payors as well as the patients to the extent of their
                         obligations thereunder, and/or (ix) relinquish or abandon any Collateral or
                         securities pledged or any Lien thereon. Notwithstanding any provision of any Loan
                         Document, the Lender shall have the right, at any time that Borrower fail to do so,
                         and from time to time, without prior notice, to: (i) obtain insurance covering any of
                         the Collateral to the extent required hereunder; (ii) pay for the performance of any
                         Obligations; (iii) discharge taxes or liens on any of the Collateral that are in
                         violation of any Loan Document unless such taxes or liens are the subject of a
                         Permitted Contest, and (iv) pay for the maintenance and preservation of the
                         Collateral. Such expenses and advances shall be added to the Obligations and
                         increase the principal amount outstanding hereunder, until reimbursed to the
                         Lender and shall be secured by the Collateral, and such payments by the Lender
                         shall not be construed as a waiver by the Lender of any Event of Default or any
                         other rights or remedies of the Lender.

                         (b)      Borrower agrees that notice received by it at least ten (10) calendar days
                         before the time of any intended public sale, or the time after which any private sale
                         or other disposition of Collateral is to be made, shall be deemed to be reasonable
                         notice of such sale or other disposition. If permitted by applicable Law, any
                         perishable Collateral which threatens to speedily decline in value or which is sold
                         on a recognized market may be sold immediately by the Lender without prior notice
                         to Borrower. At any sale or disposition of Collateral or securities pledged, the
                         Lender may (to the extent permitted by applicable Law) purchase all or any part
                         thereof free from any right of redemption by Borrower which right is hereby waived
                         and released. Borrower covenants and agrees not to, and not to permit or cause any
                         of its Subsidiaries to, interfere with or impose any obstacle to the Lender’s exercise
                         of its rights and remedies with respect to the Collateral. The Lender, in dealing
                         with or disposing of the Collateral or any part thereof, shall not be required to give
                         priority or preference to any item of Collateral or otherwise to marshal assets or to
                         take possession or sell any Collateral with judicial process.

                   9.2   Application of Proceeds

                        In addition to any other rights, options and remedies the Lender has under the Loan
        Documents, the UCC, at law or in equity, all dividends, interest, rents, issues, profits, fees,
        revenues, income and other proceeds collected or received from collecting, holding, managing,
        renting, selling, or otherwise disposing of all or any part of the Collateral or any proceeds thereof
        upon exercise of its remedies hereunder shall be applied in the following order of priority, after
        payment of the Carve-Outs then due: (i) first, to the payment of all reasonable out-of-pocket costs
        and expenses of such collection, storage, lease, holding, operation, management, sale, disposition
        or delivery and of conducting Borrower’s business and of maintenance, repairs, replacements,

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        alterations, additions and improvements of or to the Collateral, and to the payment of all sums
        which the Lender may be required or may elect to pay, if any, for taxes, assessments, insurance
        and other charges upon the Collateral or part thereof, and all other payments that the Lender may
        be required or authorized to make under any provision of this Agreement (including, without
        limitation, in each such case, reasonable in-house documentation and diligence fees and legal
        expenses, search, audit, recording, professional and filing fees and expenses and reasonable
        attorneys’ fees and all expenses, reasonable expert witness fees, liabilities and advances made or
        incurred in connection therewith, whether litigation is commenced or not); (ii) second, to the
        payment of all Obligations as provided herein, (iii) third, to the satisfaction of Indebtedness
        secured by any subordinate security interest of record in the Collateral if written notification of
        demand therefor is received before distribution of the proceeds is completed, provided, that, if
        requested by the Lender, the holder of a subordinate security interest shall furnish reasonable proof
        of its interest, and unless it does so, the Lender need not address its claims; and (iv) fourth, to the
        payment of any surplus then remaining to Borrower, unless otherwise provided by law or directed
        by a court of competent jurisdiction, provided that Borrower shall be liable for any deficiency if
        such proceeds are insufficient to satisfy the Obligations or any of the other items referred to in this
        Section.

                   9.3    Application of Payments Following Default

                       Following the occurrence and continuance of an Event of Default, the Lender may,
        notwithstanding Section 9.2, apply any and all payments received by the Lender in respect of the
        Obligations, and any and all proceeds of Collateral received by the Lender, in such order as the
        Lender may from time to time elect, subject to the Carve-Outs.

                   9.4    Rights and Remedies not Exclusive

                        The Lender shall have the right in accordance with the terms hereof, in its discretion
        to determine which rights, Liens and/or remedies Lender may at any time pursue, relinquish,
        subordinate or modify, and such determination will not in any way modify or affect any of the
        Lender’s rights, Liens or remedies under any Loan Document, applicable Law or equity. The
        enumeration of any rights and remedies in any Loan Document is not intended to be exhaustive,
        and all rights and remedies of the Lender described in any Loan Document are cumulative and are
        not alternative to or exclusive of any other rights or remedies which the Lender otherwise may
        have. The partial or complete exercise of any right or remedy shall not preclude any other further
        exercise of such or any other right or remedy.

        X. WAIVERS AND JUDICIAL PROCEEDINGS

                   10.1   Waivers

                        Except as expressly provided for herein, the Borrower hereby waives setoff,
        counterclaim, demand, presentment, protest, all defenses with respect to any and all instruments
        and all notices and demands of any description, and the pleading of any statute of limitations as a
        defense to any demand under any Loan Document. The Borrower hereby waive any and all
        defenses and counterclaims it may have or could interpose in any action or procedure brought by
        the Lender to obtain an order of court recognizing the assignment of, or Lien of the Lender in and


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        to, any Collateral, whether or not payable by a Medicaid/Medicare Account Debtor. With respect
        to any action hereunder, the Lender conclusively may rely upon, and shall incur no liability to
        Borrower in acting upon, any request or other communication that the Lender reasonably believes
        to have been given or made by a person authorized on the Borrower’s behalf, whether or not such
        person is listed on the incumbency certificate delivered pursuant to Section 4.1. In each such case,
        Borrower hereby waive the right to dispute the Lender’s action based upon such request or other
        communication, absent manifest error.

                   10.2   Delay; No Waiver or Defaults

                        No course of action or dealing, renewal, release or extension of any provisions of
        any Loan Document, or single or partial exercise of any such provision, or delay, failure or
        omission on the Lender’s part in enforcing any such provision shall affect the liability of the
        Borrower or operate as a waiver of such provision or affect the liability of the Borrower or preclude
        any other or further exercise of such provision. No waiver by any party to any Loan Document of
        any one or more defaults by any other party in the performance of any of the provisions of any
        Loan Document shall operate or be construed as a waiver of any future default, whether of a like
        or different nature, and each such waiver shall be limited solely to the express terms and provisions
        of such waiver. Notwithstanding any other provision of any Loan Document, by completing the
        Closing under this Agreement and/or by making Advances, the Lender does not waive any breach
        of any representation or warranty of under any Loan Document, and all of the Lender’s claims and
        rights resulting from any such breach or misrepresentation are specifically reserved.

                   10.3   Jury Waiver

                   EACH PARTY TO THIS AGREEMENT HEREBY EXPRESSLY WAIVES ANY
        RIGHT TO TRIAL BY JURY OF ANY CLAIM OR CAUSE OF ACTION ARISING UNDER
        THE LOAN DOCUMENTS OR IN ANY WAY CONNECTED WITH OR INCIDENTAL TO
        THE DEALINGS OF THE PARTIES WITH RESPECT TO THE LOAN DOCUMENTS OR THE
        TRANSACTIONS CONTEMPLATED THEREBY, WHETHER NOW EXISTING OR
        HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT, TORT OR
        OTHERWISE. EACH PARTY HEREBY AGREES AND CONSENTS THAT ANY SUCH
        CLAIM OR CAUSE OF ACTION SHALL BE DECIDED BY COURT TRIAL WITHOUT A
        JURY, AND THAT ANY PARTY TO THIS AGREEMENT MAY FILE AN ORIGINAL
        COUNTERPART OR A COPY OF THIS SECTION WITH ANY COURT AS WRITTEN
        EVIDENCE OF THE CONSENTS OF THE PARTIES TO THE WAIVER OF THEIR
        RESPECTIVE RIGHTS TO TRIAL BY JURY.

                   10.4   Cooperation in Discovery and Litigation

                        In any litigation, arbitration or other dispute resolution proceeding relating to any
        Loan Document, the Borrower waives any and all defenses, objections and counterclaims they
        may have or could interpose with respect to (i) any of its directors, officers, employees or agents
        being deemed to be employees or managing agents of Borrower for purposes of all applicable Law
        or court rules regarding the production of witnesses by notice for testimony (whether in a
        deposition, at trial or otherwise); (ii) the Lender’s counsel examining any such individuals as if
        under cross-examination and using any discovery deposition of any of them as if it were an


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        evidence deposition, and/or (iii) using all commercially reasonable efforts to produce in any such
        dispute resolution proceeding, at the time and in the manner requested by the Lender, all Persons,
        documents (whether in tangible, electronic or other form) and/or other things under its control and
        relating to the dispute.

        XI. EFFECTIVE DATE AND TERMINATION

                   11.1   Effectiveness and Termination

                          (a)    Termination by the Lender. Subject to the Lender’s right to terminate and
                          cease making Advances upon the occurrence and during the continuance of an
                          Event of Default, this Agreement shall continue in full force and effect until the full
                          performance and indefeasible payment in cash of all Obligations (other than
                          indemnity obligations with respect to which no claim has been made), unless
                          terminated sooner as provided in this Section 11.1.

                          (b)     Termination by Borrower. Borrower may terminate this Agreement at any
                          time upon not less than thirty (30) calendar days’ prior written notice to the Lender
                          and upon full performance and indefeasible payment in full in cash of all
                          Obligations (other than indemnity obligations with respect to which no claim has
                          been made) on or prior to such 30th calendar day after receipt by the Lender of such
                          written notice. Borrower may elect to terminate this Agreement in its entirety only.
                          No section of this Agreement or type of Loan available hereunder may be
                          terminated singly.

                          (c)      Effectiveness of Termination. All of the Obligations (other than indemnity
                          obligations with respect to which no claim has been made) shall be immediately
                          due and payable upon the Termination Date. All undertakings, agreements,
                          covenants, warranties and representations of Borrower contained in the Loan
                          Documents shall survive any such termination and the Lender shall retain its Liens
                          in the Collateral and the Lender shall retain all of its rights and remedies under the
                          Loan Documents notwithstanding such termination until all Obligations have been
                          irrevocably discharged or paid, in full, in immediately available funds, including,
                          without limitation, all Obligations under Section 3.4 and the terms of any fee letter
                          resulting from such termination. Notwithstanding the foregoing or the payment in
                          full of the Obligations, the Lender shall not be required to terminate its Liens in the
                          Collateral unless, with respect to any loss or damage the Lender may incur as a
                          result of dishonored checks or other items of payment received by the Lender from
                          Borrower or any Account Debtor and applied to the Obligations, the Lender shall,
                          at its option, (i) have received a written agreement satisfactory to the Lender,
                          executed by the Borrower and, if the Borrower’s financial condition at that time is
                          weaker than it is as of the date hereof, by any Person whose loans or other advances
                          to Borrower are used in whole or in part to satisfy the Obligations, indemnifying
                          Lender from any such loss or damage, or (ii) have retained cash Collateral or other
                          Collateral for such period of time as the Lender, in its discretion, may deem
                          necessary to protect the Lender from any such loss or damage.



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                   11.2   Survival

                         All obligations, covenants, agreements, representations, warranties, waivers and
        indemnities made by Borrower in any Loan Document shall survive the execution and delivery of
        the Loan Documents, the Closing, the making of the Advances and any termination of this
        Agreement until all Obligations (other than indemnity obligations with respect to which no claim
        has been made) are fully performed and indefeasibly paid in full in cash. Notwithstanding the
        foregoing sentence of this Section 11.2, the obligations and provisions of Sections 3.6, 10.1, 10.4,
        13.1, 13.3, 13.4, 13.7 and 13.10 shall survive termination of the Loan Documents and any payment,
        in full or in part, of the then-outstanding Obligations.

        XII.       ASSIGNMENTS AND PARTICIPATIONS

                   12.1   Assignments

                       The Lender may at any time assign its rights and obligations hereunder and under
        all other Loan Documents to an assignee approved by the Bankruptcy Court.

        XIII. MISCELLANEOUS

                   13.1   Governing Law; Jurisdiction; Service of Process; Venue

                        The Loan Documents shall be governed by and construed in accordance with the
        internal substantive laws of the State of Texas without giving effect to its choice of law provisions.
        So long as the Bankruptcy Case is pending, any judicial proceeding against Borrower with respect
        to the Obligations, any Loan Documents or any related agreement shall be brought in the
        Bankruptcy Court, and thereafter, any judicial proceeding shall be brought in any federal or state
        court of competent jurisdiction located in the State of Texas. By execution and delivery of each
        Loan Document to which it is a party, Borrower and the Lender (i) accepts the non-exclusive
        jurisdiction of the aforesaid courts and irrevocably agrees to be bound by any judgment rendered
        thereby; (ii) waives personal service of process; (iii) agrees that service of process upon it may be
        made by certified or registered mail, return receipt requested, pursuant to Section 13.5; (iv) waives
        any objection to jurisdiction and venue of any action instituted hereunder and agrees not to assert
        any defense based on lack of jurisdiction, venue or convenience, and (v) agrees that this loan was
        made in Texas, that the Lender has accepted in Texas the Loan Documents executed by the
        Borrower and has disbursed Advances under the Loan Documents in Texas. Nothing shall affect
        the right of the Lender to serve process in any manner permitted by law. All parties acknowledge
        that they participated in the negotiation and drafting of this Agreement and that, accordingly, no
        party shall move or petition a court construing this Agreement to construe it more stringently
        against one party than against any other.

                   13.2   Binding Effect of Loan Documents

                       The Loan Documents shall inure to the benefit of the Lender, its assignees,
        Participants and all future holders of the Obligations and/or any of the Collateral, and each of its
        respective successors and assigns. Each Loan Document shall be binding upon the Persons other
        than the Lender that are parties thereto and their respective successors and assigns, and no such
        Person may assign, delegate or transfer any Loan Document or any of its rights or obligations

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        thereunder without the prior written consent of the Lender. No rights are intended to be created
        under any Loan Document for the benefit of any Person who is not a party to such Loan Document.
        Nothing contained in any Loan Document shall be construed as a delegation to the Lender of any
        other Person’s duty of performance. BORROWER ACKNOWLEDGES AND AGREES THAT
        THE LENDER AT ANY TIME AND FROM TIME TO TIME MAY (I) DIVIDE AND
        RESTATE ANY NOTE, AND/OR (II) SELL, ASSIGN OR GRANT PARTICIPATING
        INTERESTS IN OR TRANSFER ALL OR ANY PART OF ITS RIGHTS OR OBLIGATIONS
        UNDER ANY LOAN DOCUMENT, THE OBLIGATIONS AND/OR THE COLLATERAL TO
        OTHER PERSONS (EACH SUCH TRANSFEREE, ASSIGNEE OR PURCHASER, A
        “TRANSFEREE”), subject to Bankruptcy Court approval, if applicable.

                   13.3   Revival of Obligations

                        To the extent that any payment made or received with respect to the Obligations is
        subsequently invalidated, determined to be fraudulent or preferential, set aside or required to be
        repaid to a trustee, debtor in possession, receiver, custodian or any other Person under any Debtor
        Relief Law, common law or equitable cause or any other law, then the Obligations intended to be
        satisfied by such payment (whether or not previously terminated) shall be revived and shall
        continue as if such payment had not been received by the Lender. Any payments received with
        respect to such revived Obligations shall be credited and applied in such manner and order, as the
        Lender shall decide in its discretion.

                   13.4   Indemnity

                         The Borrower shall indemnify the Lender, its Affiliates and its respective managers,
        members, officers, employee, Affiliates, agents, representatives, successors, assigns, accountants
        and attorneys (collectively, the “Indemnified Persons”) from and against any and all liability,
        obligations, losses, damages, penalties, actions, judgments, suits, reasonable out-of-pocket costs,
        expenses and disbursements of any kind of nature whatsoever (including, without limitation,
        reasonable fees and disbursements of counsel, expert witness fees, and reasonable in-house
        documentation and diligence fees and reasonable legal expenses) which may be imposed on,
        incurred by or asserted against any Indemnified Person with respect to or arising out of, or in any
        way relating to any litigation, proceeding or investigation instituted or conducted by any Person
        with respect to any aspect of, or any transaction contemplated by or referred to in, or any matter
        related to, any Loan Document or any agreement, document or transaction contemplated thereby,
        whether or not such Indemnified Person is a party thereto, except to the extent that any of the
        foregoing (i) arises out of the gross negligence or willful misconduct of any Indemnified Person
        or (ii) arises out of a dispute between or among any Indemnified Persons. No Indemnified Person
        shall have any liability (whether direct or indirect, in contract, tort or otherwise) to the Borrower
        or any of its affiliates, subsidiaries or any shareholders or creditors of the foregoing for or in
        connection with the transactions contemplated hereby, except to the extent such liability is found
        in a final non-appealable judgment by a court of competent jurisdiction to have resulted solely
        from such Indemnified Person’s gross negligence or willful misconduct. In no event, however,
        shall any Indemnified Person be liable on any theory of liability for any special, indirect,
        consequential or punitive damages. If any Indemnified Person uses in-house counsel for any
        purpose for which the Borrower is responsible to pay or indemnify, the Borrower expressly agrees
        that its indemnification obligations include reasonable charges for such work commensurate with

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        the fees that would otherwise be charged by outside legal counsel selected by Indemnified Person
        in its discretion for the work performed. The Lender agrees to give the Borrower reasonable notice
        of any event of which the Lender becomes aware for which indemnification may be required under
        this Section 13.4, and the Lender may elect (but is not obligated) to direct the defense thereof,
        provided that the selection of counsel shall be subject to Borrower’s consent which consent shall
        not be unreasonably withheld or delayed. Any Indemnified Person may in its reasonable
        discretion, take such actions, as it deems necessary and appropriate to investigate, defend or settle
        any event or take other remedial or corrective actions with respect thereto as may be necessary for
        the protection of such Indemnified Person or the Collateral. Notwithstanding the foregoing, if any
        insurer agrees to undertake the defense of an event (an “Insured Event”), the Lender agrees not
        to exercise its right to select counsel to defend the event if that would cause Borrower’s insurer to
        deny coverage; provided, however, that the Lender reserves the right to retain counsel to represent
        any Indemnified Person with respect to an Insured Event at its sole cost and expense. To the extent
        that the Lender obtains recovery from a third party other than an Indemnified Person of any of the
        amounts that Borrower has paid to the Lender pursuant to the indemnity set forth in this
        Section 13.4, then Lender shall promptly pay to such Borrower the amount of such recovery.

                   13.5   Notice

                        Any notice or request under any Loan Document shall be given to any party to this
        Agreement at such party’s address set forth beneath its signature on the signature page to this
        Agreement, or at such other address as such party may hereafter specify in a notice given in the
        manner required under this Section 13.5. Any notice or request hereunder shall be given only by,
        and shall be deemed to have been received upon: (i) registered or certified mail, return receipt
        requested, on the date on which such received as indicated in such return receipt, (ii) delivery by
        a nationally recognized overnight courier, one (1) Business Day after deposit with such courier, or
        (iii) pdf or other electronic transmission, in each case upon telephone or further electronic
        communication from the recipient acknowledging receipt (whether automatic or manual from
        recipient), as applicable. Any notice or request under any Loan Document or otherwise pursuant
        to any applicable law which is given to one Borrower will be deemed to be notice (or, if applicable,
        a request) to Borrower.

                   13.6   Severability; Captions; Counterparts; Facsimile Signatures

                        If any provision of any Loan Document is adjudicated to be invalid under applicable
        Laws, such provision shall be inapplicable to the extent of such invalidity without affecting the
        validity or enforceability of the remainder of the Loan Documents which shall be given effect so
        far as possible. The captions in the Loan Documents are intended for convenience and reference
        only and shall not affect the meaning or interpretation of the Loan Documents. The Loan
        Documents may be executed in one or more counterparts (which taken together, as applicable,
        shall constitute one and the same instrument) and by facsimile, pdf or other transmission, and such
        facsimile signatures shall be considered original executed counterparts. Each party to this
        Agreement agrees that it will be bound by its own electronic signature and that it accepts the
        electronic signature of each other party.




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                   13.7   Expenses

                        The Borrower shall pay, whether or not the Closing occurs, all reasonable usual and
        customary costs and expenses incurred by the Lender and/or its Affiliates, including, without
        limitation reasonable, documentation and diligence fees and expenses, all search, audit, appraisal,
        recording reasonable professional and filing fees and expenses and all other actual out-of-pocket
        charges and expenses (including, without limitation, UCC and judgment and tax lien searches and
        UCC filings and fees for post-Closing UCC and judgment and tax lien searches and audit
        expenses), and reasonable attorneys’ fees and expenses, incurred (i) in any effort to enforce, protect
        or collect payment of any Obligation or to enforce any Loan Document or any related agreement,
        document or instruments; (ii) in connection with entering into, negotiating, preparing, reviewing
        and executing the Loan Documents and/or any related agreements, documents or instruments; (iii)
        arising in any way out of administration of the Obligations; (iv) in connection with instituting,
        maintaining, preserving, enforcing and/or foreclosing on the Lender’s Liens in any of the
        Collateral or securities pledged under the Loan Documents, whether through judicial proceedings
        or otherwise; (v) in defending or prosecuting any actions, claims or proceedings arising out of or
        relating to the Lender’s transactions with the Borrower; (vi) in seeking, obtaining or receiving any
        advice with respect to its rights and obligations under any Loan Document and any related
        agreement, document or instrument; (vii) in connection with any modification, restatement,
        supplement, amendment, waiver or extension of any Loan Document and/or any related
        agreement, document or instrument, and/or (viii) in connection with all actions, visits, audits and
        inspections undertaken by the Lender or its Affiliates pursuant to the Loan Documents, subject to
        the provisions of Section 6.7. In addition, the Borrower shall pay the Lender a wire fee of $25.00
        with respect to each domestic wire transfer of funds by the Lender to or for the benefit of Borrower.
        All of the foregoing shall be charged to Borrower’s account and shall be part of the Obligations.
        If the Lender or any of its Affiliates uses in-house counsel for any purpose under any Loan
        Document for which Borrower are responsible to pay or indemnify, Borrower expressly agree that
        its Obligations include reasonable charges for such work commensurate with the fees that would
        otherwise be charged by outside legal counsel selected by the Lender or such Affiliate in its
        discretion for the work performed. Without limiting the foregoing, Borrower shall pay all taxes
        (other than taxes based upon or measured by the Lender’s income or revenues or any personal
        property tax), if any, in connection with the transactions contemplated by this Agreement and the
        Loan Documents and the filing and/or recording of any documents and/or financing statements.

                   13.8   Entire Agreement

                        This Agreement and the other Loan Documents to which Borrower are a party
        constitute the entire agreement between the Borrower and the Lender with respect to the subject
        matter hereof and thereof, and supersede all prior agreements and understandings, if any, relating
        to the subject matter hereof or thereof. Any promises, representations, warranties or guarantees
        not herein contained and hereafter made shall have no force and effect unless in writing signed by
        the Borrower and the Lender, provided, however, additional covenants, representations, warranties
        and guarantees will be enforceable if executed by the party against whom enforcement is sought.
        No provision of this Agreement may be changed, modified, amended, restated, waived,
        supplemented, discharged, canceled or terminated orally or by any course of dealing or in any
        other manner other than by an agreement in writing signed by the Lender and Borrower. Each
        party hereto acknowledges that it has been advised by counsel in connection with the negotiation

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        and execution of this Agreement and is not relying upon oral representations or statements
        inconsistent with the terms and provisions hereof. Any schedule may be amended from time to
        time by the Borrower with the consent of the Lender, which consent shall not be unreasonably
        withheld if the revised schedule does not evidence any violation of the covenants in Articles VI or
        VII.

                   13.9   The Lender Approvals

                        Any approval, consent, waiver or satisfaction of the Lender with respect to any
        matter that is subject of any Loan Document (i) shall not be effective unless it is in writing and (ii)
        unless expressly provided herein to the contrary, may be granted or withheld by the Lender in its
        sole discretion.

                   13.10 Sale of Ineligible Receivables.

                        Notwithstanding anything to the contrary in this Agreement, with respect to
        Ineligible Receivables, the Lender hereby consents and authorizes the Borrower to sell such
        receivables free and clear of any lien(s) or claim(s) by the Lender (each such sale, an “Ineligible
        Receivables Sale”), provided that such sale must be on terms and conditions reasonably acceptable
        to Lender and that such sale must result in Net Proceeds in an aggregate amount equal to or
        exceeding One Million Five Hundred Thousand Dollars ($1,500,000). Promptly upon receipt of
        an offer to purchase Ineligible Receivables, Borrower shall send such offer to Lender. Prior to the
        entry into any agreements relating to an Ineligible Receivables Sale, Borrower must obtain written
        consent from Lender (for which email shall suffice) which consent shall not be unreasonably
        withheld and, to the extent required by the Bankruptcy Code, approval by the Bankruptcy Court.

                       In the event, and on each occasion that, any Net Proceeds are received by or on
        behalf of Borrower in respect of any Ineligible Receivables Sale, twenty percent (20%) of such
        Net Proceeds shall be promptly distributed to the Lender and the remaining eighty percent (80%)
        of such Net Proceeds shall become unencumbered working capital of the Borrowers. Any Net
        Proceeds received by Lender as a result of an Ineligible Receivables Sale shall be used to pay down
        the Pre-Petition Obligations until such time as the Pre-Petition Obligations have been paid in full
        at which point such Net Proceeds shall be used to pay down the Obligations.

                   13.11 USA Patriot Act

                        The Borrower shall not (a) be or become subject at any time to any law, regulation,
        or list of any government agency (including, without limitation, the U.S. Office of Foreign Asset
        Control list) that prohibits or limits the Lender from making any advance or extension of credit to
        Borrower or from otherwise conducting business with the Borrower, or (b) fail to provide
        documentary and other evidence of Borrower’s or its corporate officers’ identities as may be
        requested by the Lender at any time to enable the Lender to verify the Borrower’s identity or to
        comply with any applicable Laws, including, without limitation, Section 326 of the USA Patriot
        Act of 2001, 31 U.S.C. § 5318. The Lender hereby notifies Borrower that pursuant to the
        requirements of the USA Patriot Act, it is required to obtain, verify and record certain information
        and documentation that identifies the Borrower, which information includes the name and address



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        of Borrower and such other information that will allow the Lender to identify Borrower in
        accordance with the USA Patriot Act.


                        [SIGNATURES APPEAR ON THE FOLLOWING PAGES]




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                      IN WITNESS WHEREOF, each of the parties has duly executed this Superpriority
        Debtor-in-Possession Credit and Security Agreement as of the date first written above.

        LION STAR NACOGDOCHES HOSPITAL, LLC,
        a Texas limited liabilitiy company


        By:
        Name: S. Sean Fowler
        Title: CEO

        Address for Notice:
        Lion Star Nacogdoches Hospital, LLC
        1204 North Mound Street
        Nacogdoches, TX 75961
        Attention: Sean Fowler, Chief Executive Officer

        Telephone: (949) 235-5914
        Email: ssfowler2019@outlook.com

        With copy to (which shall not constitute notice):

        Address for Notice:
        Lion Star Group, LLC
        5351 N. Eagle View Drive
        Lehi, UT 84043
        Attention: Sean Fowler, Chief Executive Officer

        Reed, Claymon, Meeker & Hargett, PLLC
        5608 Parkcrest Drive, Suite 200
        Austin, TX 78731
        Attention: Kevin Reed, Esq

        Telephone: (512) 660-5962
        Email: kreed@rcmhlaw.com




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        LENDER:

        eCAPITAL HEALTHCARE CORP.,
        a Delaware corporation,
        f/k/a CNH FINANCE FUND I, L.P.
        a Delaware Limited Partnership


        By:
        Name: Timothy Peters
        Title: Authorized Signatory

        Address for Notice:
        eCapital Healthcare Corp.
        20807 Biscayne Blvd, Suite 203
        Aventura, FL 33180
        Attention: Legal Department

        Telephone: (203) 266-3210
        Email: EHCLegal@ecapital.com

        With copy to (which shall not constitute notice):

        Kincaid, Frame & Associates Co., LPA
        6151 Wilson Mills Road, Suite 310
        Highland Heights, OH 44143
        Attention: Alexander Frame

        Telephone: (440) 352-1000
        Email: aframe@kincaidframe.com

        And

        Foley & Lardner LLP
        500 Woodward Avenue, Suite 2700
        Detroit, Michigan, 48226
        Attention: Jake Gordon

        Telephone: (248) 943-6484
        Email: jake.gordon@foley.com




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        ANNEX I



        Financial and Loan Covenants

                                                EXHIBITS

        Exhibit A          -       Borrowing Certificate

        Exhibit B          -       Compliance Certificate

        Exhibit C          -       Budget

                                                SCHEDULES

        Schedule 2.4       -       Borrower’s Account for Funding Wires

        Schedule 2.5       -       Borrower’s Deposit Accounts

        Schedule 5.3       -       Organizational Information

        Schedule 5.4       -       Real Property Owned or Leased

        Schedule 5.6       -       Litigation

        Schedule 5.16      -       Insurance

        Schedule 5.17A     -       Corporate Names

        Schedule 5.17B     -       Business and Collateral Locations

        Schedule 5.20      -       Exceptions to Healthcare Law Compliance Representations

        Schedule 5.23      -       Material Contracts

        Schedule 5.24      -       Third-Party Payor Billing Numbers

        Schedule 7.3       -       Liens




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                                                             ANNEX I

                                         FINANCIAL AND LOAN COVENANTS

        1.         Current Ratio

                At the end of each month commencing with December 2023, Borrower’s Current Ratio
        shall not be less than 1.00 to 1.00.

                “Current Ratio” shall mean Borrower’s ratio of current assets (determined in accordance
        with GAAP), to current liabilities (also determined in accordance with GAAP). For this purpose,
        the outstanding balance of the Revolving Facility shall be deemed to be a current liability.

        2.         Budget Covenant

                   The Budget Covenant as defined in the Interim Financing Order.

        3.         Loan Turnover Rate

                At the end of each calendar month commencing with December 2023, the amount
        calculated by dividing (a) the average outstanding principal balance of the Revolving Facility for
        the applicable Test Period1 by (b) the result achieved by dividing (i) the sum of all collections
        received in the Controlled Deposit Account during the applicable Test Period with respect to all
        of Borrower’s Accounts by (ii) the number of days in such Test Period, shall not be greater than
        50.

               For purposes of the covenants set forth in this Annex I, capitalized terms shall have the
        following meanings set forth below, or if not set forth below, the meanings set forth in Article I.



                            .




        1
            “Test Period” shall mean, on any date, the most recently ended three consecutive calendar months.

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                                                  EXHIBIT A

                                       BORROWING CERTIFICATE
                                      Dated as of _______________, 2023


        The undersigned hereby certifies to eCapital Healthcare Corp., a Delaware corporation, f/k/a CNH
        Finance Fund I, L.P. (the “Lender”) that:

                1.       I am certifying the following facts and making and delivering this Borrowing Base
        Certificate pursuant to that certain Superpriority Debtor-in-Possession Credit and Security
        Agreement, dated as of [                 ], 2023 (as the same may be, amended, restated,
        supplemented, or otherwise modified from time to time, the “Credit Agreement”) between LION
        STAR NACOGDOCHES HOSPITAL, LLC, a Texas limited liability company (collectively, the
        “Borrower”) and the Lender. Capitalized terms used in this certificate have the same meaning as
        set forth in the Credit Agreement.

               2.      All information contained in this Borrowing Base Certificate is true, correct, and
        complete as of the date hereof. All representations and warranties made by the Borrower in the
        Credit Agreement are true and correct on and as of the date hereof as if such representations and
        warranties had been made as of the date hereof.

                3.    No Event of Default has occurred and is continuing or will exist after giving effect
        to the Advance requested hereby.

                4.      The Borrower has performed and complied with all agreements and conditions
        required under Article IV of the Credit Agreement to be performed or complied with by it on or
        prior to the funding of the Advance requested hereby.

                5.      There have been no modifications to reimbursement rates or other contractual
        arrangements that would adversely affect the valuation or collectability of the Accounts. There
        are no offsets, setoffs, counterclaims, disputes or defenses of any kind from any Account Debtor
        against any Account classified as an Eligible Receivable. All Accounts classified as Eligible
        Receivables and Ineligible Receivables in this Borrowing Base Certificate are properly so
        classified.

               6.      The Borrower has directed all Account Debtors to deliver all payments on the
        Accounts to the proper Controlled Deposit Account (including any Lockbox Account) as specified
        in the Credit Agreement and has identified such Controlled Deposit Account as the account to
        which all payments are to be sent on all invoices for Accounts with Dates of Service after the date
        of the Credit Agreement. All Accounts reflected in the Borrower's most recently submitted
        Accounts Receivable Aging Report are the subject of properly and validly billed invoices for
        services provided and goods sold by the Borrower in the ordinary course of business. The aging
        buckets in this Borrowing Base Certificate reflect the number of days the Accounts have been


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        outstanding subsequent to its respective Dates of Service. All collections on Accounts have been
        applied to the proper invoices resulting in accurate aging totals for each aging bucket. There are
        no known duplicate or fictitious claims or invoices included in the Accounts. The Borrower has
        not diverted or permitted to be diverted any such payments on Accounts to a deposit account other
        than the proper Controlled Deposit Account as required by Section 2.5 of the Credit Agreement.
        No collections on Accounts have been received that have not been applied to reduce the Accounts.

                7.      All Accounts are owned by the undersigned, free and clear of all liens, security
        interests, claims, charges, or trusts, legal or equitable, now existing or which might arise with the
        passage of time, other than Permitted Liens.

               8.      The Borrower has deposited all state and federal payroll withholding taxes required
        with respect to each payroll period through the most recent payroll period.

              9.       After the Lender makes the Advance requested hereby, the aggregate amount of the
        Loan will not exceed the Revolving Loan Limit.


        BORROWER:

        [__]


                       By: _________________________
                       Name:
                       Title:




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                                                      EXHIBIT B

                                          COMPLIANCE CERTIFICATE
                                         Dated as of _______________, 2023

               This Compliance Certificate is delivered by LION STAR NACOGDOCHES HOSPITAL,
        LLC, a Texas limited liability company (the “Borrower”), in accordance with the Superpriority
        Debtor-in-Possession Credit and Security Agreement dated as of [ ], 2023, between the
        Borrower and eCapital Healthcare Corp., a Delaware corporation, f/k/a CNH Finance Fund I, L.P.
        (the “Lender”) (as amended, supplemented or modified from time to time, the “Credit
        Agreement”). All capitalized terms not defined herein have the meanings given them in the Credit
        Agreement and other Loan Documents.

                   The undersigned hereby certifies that:

               (a)      The financial statements delivered with this certificate in accordance with
        Section 6.1 of the Credit Agreement fairly present in all material respects the results of operations
        and financial condition of Borrower as of the dates and the accounting periods covered by such
        financial statements;

               (b)    I have reviewed the terms of the Credit Agreement and have made, or caused to be
        made under my supervision, a review in reasonable detail of the transactions and financial
        condition of Borrower during the accounting period covered by such financial statements;

                (c)     Such review has not disclosed the existence during or at the end of such accounting
        period, and I have no knowledge of the existence as of the date hereof, of any condition or event
        that constitutes an Event of Default, except as set forth in Schedule 1 attached hereto, which
        includes a description of the nature and period of existence of such Event of Default and what
        action Borrower has taken, is undertaking and proposes to take with respect thereto;

                (e)    Except as noted on Schedule 2 attached hereto, the undersigned has no knowledge
        of any federal or state tax liens having been filed against Borrower or any Collateral;

                (f)    Except as noted on Schedule 3 attached hereto, the undersigned has no knowledge
        of any failure of Borrower to make required payments of withholding or other tax obligations
        during the accounting period to which the attached statements pertain or any subsequent period.

               (g)     Except as described in the Credit Agreement or the schedules thereto, or on
        Schedule 4 attached hereto, and the Bankruptcy Case and the disputed matters concerning the
        Lease as disclosed in the Bankruptcy Case, the undersigned has no knowledge of any current,
        pending or threatened:

                          (i)     litigation against Borrower;

                        (ii)    inquiries, investigations or proceedings concerning the business affairs,
        practices, licensing or reimbursement entitlements of Borrower, and


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                       (iii)  default by Borrower under any material contract to which it is a party,
        including, without limitation, any leases.

                (h)     The Borrower is in compliance with the financial and loan covenants contained in
        Annex I of the Credit Agreement, as demonstrated by the calculation of such covenants below,
        except as set forth below; in determining such compliance, the following calculations have been
        made: [See attached worksheets]. Such calculations and the certifications contained therein are
        true, correct and complete.

        BORROWER:

        LION STAR NACOGDOCHES HOSPITAL, LLC, a Texas limited liability company

                      By: _________________________
                      Name:
                      Title:




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                                     Schedules to Compliance Certificate

        Schedule 1 – Non-Compliance with Covenants

        Schedule 2 – Federal or State Tax Liens

        Schedule 3 – Unpaid Tax or Withholding Obligations

        Schedule 4 –Pending Litigation, Inquiries or Investigations; Defaults under Material Contracts

        Worksheet(s) for Financial or Other Covenant Calculations




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                      Current Ratio Worksheet (Attachment to Compliance Certificate)


          1. Current Assets as of the end of the most recent month:              $___________

          2. Current Liabilities as of the end of the most recent month:         $___________

          3. Ratio of Line 1 to Line 2:                                          ____________

          4. Minimum Current Ratio:                                                    1.0 to 1.0

          5. In compliance:                                                       YES - NO



                                    [To Be Supplemented Prior To Execution]




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                                         EXHIBIT C

                                            Budget

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                                 SCHEDULE 2.4

                      Borrower’s Account for Funding Wires

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                                 SCHEDULE 2.5

                           Borrower’s Deposit Accounts

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                                       SCHEDULE 5.3

                                 Organizational Information

 LION STAR NACOGDOCHES HOSPITAL, LLC, a limited liability company organized under
 the laws of the State of Texas.

 The Borrower has no subsidiaries.

 The number and class of equity securities issued and outstanding of Borrower and the record and
 beneficial owners thereof (including options, warrants and other rights to acquire any of the
 foregoing) are as follows:
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                                 SCHEDULE 5.4

                          Real Property Owned or Leased
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                                 SCHEDULE 5.6

                                    Litigation

                                  JUDGMENTS

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                                SCHEDULE 5.16

                                    Insurance


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                               SCHEDULE 5.17A

                                Corporate Names


 [TO COME
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                                SCHEDULE 5.17B

                         Business and Collateral Locations


 [__]
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                                 SCHEDULE 5.20

              Exceptions to Healthcare Law Compliance Representations

                       [To Be Supplemented Prior To Execution]
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                                SCHEDULE 5.23

                                Material Contracts

 [TO COME]

                      [To Be Supplemented Prior To Execution]
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                                 SCHEDULE 5.24

                         Third-Party Payor Billing Numbers

                      [To Be Supplemented Prior To Execution]
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                                 SCHEDULE 7.3

                                      Liens

                      [To Be Supplemented Prior To Execution]
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Lion Star Nacogdoches Hospital,     Lion Star Nacogdoches Hospital, LLC    Office of The United States Trustee
LLC                                 Attn: S. Sean Fowler, CEO              Earle Cabell Federal Building
First Day Service List              5608 Parkcrest Dr., Suite 200          1100 Commerce Street, Room 976
Client # 6429                       Austin, TX 78731                       Dallas, TX 75242


                                    Internal Revenue Service              Internal Revenue Service
SCG Capital Corp. (GE Finance)                                            Special Procedures Staff
                                    Centralized Insolvency Operations
74 West Park Place                                                        Mail Code 5020-DAL
                                    PO Box 21126                          1100 Commerce St., Room 9B8
Stamford, CT 06901
                                    Philadelphia, PA 19114-0326           Dallas, TX 75242


GE Capital                          Med One Capital Funding, LLC          Intuitive Surgical, Inc.
PO Box 641419                       10712 S 1300 East                     1020 Kifer Rd.
Pittsburgh, PA 15264                Sandy, UT 84094                       Sunnyvale, CA 94086



Hill-Rom Company, Inc.              US Med Equip                          Werfen USA LLC
1020 West County Road F             PO Box 4339                           PO Box 6214
St. Paul, MN 55126                  Houston, TX 77210                     Pittsburgh, PA 15251


                                    Nacogdoches Tax Assessor-Collector
Abio Med, Inc.                      Attn: Kim Morton
                                                                          Kenneth Jurist
PO Box 6214                         Nacogdoches County Court House
Boston, MA 02212                    101 W Main St., Suite 100
                                    Nacogdoches, TX 75961


AT&T                                Banner State Emergency Phy PA         Beckman Coulter, Inc.
                                    Attn: Mark McGrew
Attn: Abdi Abdulahi                                                       Attn: Kevin Thomas
                                    5000 Ambassador Caffery Pkwy
PO Box 105414                       Bldg. 15, Suite A                     Dept. CH 10164
Atlanta, GA 30348                   Lafayette, LA 70508                   Palatine, IL 60055


Biomerieux, Inc. - St. Louis        Biotronik, Inc.                       Cerner Health Services, Inc.
Attn: Kate Kohlschein               Attn: Angela Stanfield                Attn: Robert Gonzales
PO Box 500308                       PO Box 205421                         PO Box 959156
St. Louis, MO 63150                 Dallas, TX 75320                      St. Louis, MO 63195


EDF, Inc.                           Garlic Media Management LLC           Gjerset & Lorez, LLP
Attn: LaKendra Davis                Attn: Will Feldman                    Attn: Tammy Sullivan
PO Box 74007029                     1195 S Lipan St., Unit A              2801 Via Fortuna
Chicago, IL 60674                   Denver, CO 80223                      Austin, TX 78746

                                    Matheson Tri-Gas                      Medline Industries, Inc.
Gordon Food
                                    Attn: Rayanne Hayes                   Attn: Tina Ridley
Attn: Chris Pitcher
                                    Dept. 3028                            Dept. 1080
PO Box 88029
                                    PO Box 123028                         PO Box 121080
Chicago, IL 60680
                                    Dallas, TX 75312                      Dallas, TX 75312

Medtronic Xomed                     Medygate, Inc.                        SCC Soft Computer
Attn: Mike Maday                    Attn: Dariush Yaghoubi                Attn: Tarrah Veilleux
PO Box 848086                       447 S. Robertson Blvd., #204          5400 Tech Data Dr.
Dallas, TX 75284                    Beverly Hills, CA 90211               Clearwater, FL 33760
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SCI Solutions                         Stericycle, Inc.                         TRS Managed Services, LLC
Attn: Bernie Gay                      Attn: Rodney Dickens                     Attn: Caleb English, CFO
PO Box 735381                         PO Box 6575                              5001 Founders Way, Suite L10
Dallas, TX 75373                      Carol Stream, IL 60197                   Rogers, AR 72758


Wipfli, LLP                           Young's Professional Svc
Attn: David M. Hersch                 Attn: Brian Young
PO Box 3160                           200 Greenleaves Blvd., Suite 5
Milwaukee, WI 53201                   Mandeville, LA 70448


Nacogdoches County Hospital Dist.     Nacogdoches County Hospital Dist.        Nacogdoches Shopping Center, LLC
                                      c/o Deborah Williamson/P. Huffstickler
1018 N Mound St, Suite 105            112 E Pecan St., Suite 1800
                                                                               136 S Broadway
Nacogdoches, TX 75965                 San Antonio, TX 78205                    White Plains, NY 10605

Patton Brothers                       Healthcare Property Solutions, LLC       Cavitch, Familo & Durkin Co. LPA
Attn: Florence Patton                 33870 Crown Colony Dr.                   Attn: Harold O. Maxfield, Jr.
412 Bostwick St.                      Avon, OH 44011                           1300 E Ninth St., 20th Floor
Nacogdoches, TX 75965                                                          Cleveland, OH 44114


Brenda Bowman Motes                   Nacogdoches County Aging                 Ortho-Clinical Diagnostics, Inc.
105 Grandview Blvd.                   Committee, Inc.                          1001 US Highway 202
Montgomery, TX 77356                  1601 W Austin St.                        Raritan, NJ 08869
                                      Nacogdoches, TX 75964


Nacogdoches County Hospital Dist.     eCapital Healthcare Corp.                eCapital Healthcare Corp.
c/o Alexandria R. Rahn                c/o Foley & Lardner LLP                  20807 Biscayne Blvd
Dykema Gossett PLLC                   500 Woodward Avenue, Suite 2700,         Suite 203
1717 Main Street, Suite 4200          Detroit, MI 48226-3489                   Aventura, FL 33180
Dallas, TX 75201

Texas Comptroller                     Nacogdoches Central Appraisal District
PO Box 13528                          216 W Hospital St,
Austin, TX 78711                      Nacogdoches, TX 75961
